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                       EXHIBIT A-1
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                                       CONTRACT FOR
                                 GULF OF MEXICO
                           STRATEGIC PERFORMANCE UNIT
                             OFFSHORE WELL SERVICES

                                             BETWEEN

                        BP EXPLORATION AND PRODUCTION, INC.

                                                AND

                         HALLIBURTON ENERGY SERVICES, INC.




                                        BPM-09-00255




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                                                        Section 1 - Agreement




                                                     Section 1 - Agreement
                                                      Halliburton for GOM




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                                                           Section 1 - Agreement




                                                             AGREEMENT
                 This CONTRACT is made between the following PARTIES: BP EXPLORATION AND PRODUCTION,
                 INC., a company having its office at 501 WESTLAKE PARK BLVD., HOUSTON, TEXAS 77079
                 hereinafter called COMPANY and HALLIBURTON ENERGY SERVICES, INC. having its main or
                 registered office at 1401 MCKINNEY STREET, SUITE 2400, HOUSTON, TEXAS 77010 hereinafter
                 called CONTRACTOR. PARTY or PARTIES shall mean individually the COMPANY or CONTRACTOR or
                 collectively as both COMPANY and CONTRACTOR.

                 WHEREAS:

                 1)       COMPANY wishes that the WORK shall be carried out, all as described in the CONTRACT; and

                 2)       CONTRACTOR wishes to carry out the WORK in accordance with the terms and conditions of
                          this CONTRACT.

                 3)       CONTRACTOR represents that it has the requisite skills, experience and resources to carry out
                          the WORK to the reasonable satisfaction of COMPANY in accordance with the terms and
                          conditions specified herein,

                 NOW THEREFORE, the PARTIES hereto agree as follows:

                 1)       In this CONTRACT all capitalized words and expressions shall have the meanings assigned to
                          them in this AGREEMENT or elsewhere in the CONTRACT.

                         The following Sections shall form and be read and construed as the CONTRACT:

                          Section 1            Agreement

                          Section 2            General Conditions of Contract

                                               •     Appendix 1 : Special Conditions of Contract
                                               •     Appendix 2: Local Tax Provision

                           Section 3           Scope of Work (including Appendices)

                                               •     Appendix 1 : Supplier Performance Management
                                               •     Appendix 2: WORK ORDER Form
                                               •     Appendix 3: CHANGE ORDER Form
                                               •     Appendix 4: SUBCONTRACTORs I CONTRACTOR's Key Personnel
                                               •     Appendix 5: Description ofthe WORK
                                               •     Appendix 6: Functional and Technical Specifications
                                               •     Appendix 7: Technical Integrity

                          Section 4            Remuneration (including Appendices)

                                               •     Appendix 1 : Special Local Invoicing
                                               •     Appendix 2: Lost in Hole Charges
                                               •     Appendix 3: Sub-Sector Terms and Conditions
                                               •     Appendix 4: Schedule of Rates and Charges



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                                                             Section 1 - Agreement




      •                      Section 5

                             Section 6

                             Section 7
                                                  Integrity Management

                                                  Quality Assurance and Quality Control

                                                  Health, Safety, Security, and the Environment (including applicable
                                                  Appendices)

                                                  •     Appendix 1: Getting HSE Right (GHSER)
                                                  •     Appendix 2: BP's Golden Rules for Safety
                                                        Appendix 3: Substance Abuse Policy
                                                  •     Appendix 4: Scope Specific HSSE Issues
                                                  •     Appendix 5: Minimum HSSE Requirements

                             Section 8            Code of Conduct




                    2)       The Sections shall be read as one document, the contents of which, in the event of ambiguity or
                             contradiction between Sections, shall be given precedence in the order listed, with the exception
                             that the Special Local Conditions of Contract as stated in Appendix 1 to Section 2 - Special
                             Conditions of Contract shall take precedence over the General Conditions of Contract.

                    3)       In accordance with the terms and conditions of the CONTRACT, CONTRACTOR shall perform
                             and complete the WORK and COMPANY shall pay the CONTRACT PRICE.




      •             4)       The EFFECTIVE DATE OF THE CONTRACT shall be April 15, 2009. Notwithstanding the
                             EFFECTIVE DATE of the CONTRACT, the WORK is scheduled to commence on the date
                             specified in each individual WORK ORDER issued pursuant to the provisions of Section 3
                             ("COMMENCEMENT DATE") and shall continue until completed to the reasonable satisfaction
                             of COMPANY. Subject to the terms and conditions contained in Section 2 - General Conditions
                             of Contract, the CONTRACT duration shall be for a term of three (3) years from the EFFECTIVE
                             DATE OF THE CONTRACT. COMPANY shall have the option to extend this CONTRACT for up
                             to two (2) consecutive one year options following the expiration of the three (3) year term.

                    5)       This CONTRACT constitutes the entire agreement between the PARTIES hereto with respect to
                             the WORK and supersedes all prior negotiations, representations, or agreements related to the
                             CONTRACT, either written or oral. No amendments to the CONTRACT shall be effective unless
                             evidenced in writing and signed by the PARTIES to the CONTRACT.




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                                                     Section 1 - Agreement




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                                               Section 2 - General Conditions of Contract




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                                               Section 2 - General Conditions of Contract




                 FAIR NOTICE DISCLOSURE STATEMENT

                 BOTH PARTIES TO THIS CONTRACT ACKNOWLEDGE THAT THIS STATEMENT COMPLIES WITH
                 ANY REQUIREMENT TO EXPRESSLY STATE LIABILITY FOR NEGLIGENCE OF THE INDEMNITEE
                 (EXPRESS NEGLIGENCE RULE), IS CONSPICUOUS AND AFFORDS FAIR AND ADEQUATE NOTICE.
                 BOTH PARTIES TO THIS CONTRACT REPRESENT TO EACH OTHER THAT THEY HAVE CONSULTED
                 AN ATIORNEY CONCERNING THE CONTENTS OF THIS CONTRACT AND ARE SATISFIED THAT
                 THEY FULLY UNDERSTAND THEIR RIGHTS AND OBLIGATIONS HEREUNDER AND IF THEY HAVE
                 NOT CONSULTED AN A TIORNEY, CONFIRM THAT THEY WERE PROVIDED THE OPPORTUNITY AND
                 HAD THE ABILITY TO CONSULT AN A TIORNEY, BUT MADE A KNOWLEDGEABLE DECISION NOT
                 TO OBTAIN SUCH CONSULTATION.

                 1.       DEFINITIONS

                          The following definitions shall be used for the purpose of interpreting the CONTRACT. Further
                          definitions not contained in this Clause shall apply to the Section in which they are stated and
                          subsequent Sections.

                 1.1      "AFFILIATE" of a company means a person or entity directly or indirectly controlling, controlled
                          by, or under common control with such company. "Control" for this purpose shall, in the case of
                          a corporation with outstanding voting stock, require the direct or indirect ownership of, or power
                          to vote with respect to, outstanding shares of a corporation's capital stock constituting fifty per
                          cent (50%) or more of the votes of any class of such corporation's outstanding voting stock.

                 1.2      "CHANGE ORDER" shall mean the written instruction in the form similar to Section 3, Appendix
                          3 issued by COMPANY in accordance with the provisions of Clause 11 describing a change or
                          variation to the WORK or a specific WORK ORDER.

                 1.3      "COMPANY GROUP" shall mean COMPANY, its CO-VENTURERS, its and their respective
                          AFFILIATES and its and their respective directors, officers, and employees (including agency
                          personnel), but shall not include any member of CONTRACTOR GROUP.

                 1.4      "COMPANY REPRESENTATIVE" shall mean that person referred to in Clause 3.

                 1.5      "CONTRACT" shall have the meaning described in Section 1 - Agreement.

                 1.6      "CONTRACT PRICE" shall mean the price for the WORK calculated in accordance with Section
                          4 - Remuneration and where applicable as set forth in any WORK ORDER, as modified by any
                          CHANGE ORDERS, issued hereunder.

                 1.7      "CONTRACTOR GROUP" shall mean CONTRACTOR, its SUBCONTRACTORS their
                          subcontractors of any tier, its and their respective AFFILIATES or co-venturers and, its and their
                          respective directors, officers, and employees (including agency personnel), but shall not include
                          any member of COMPANY GROUP.

                 1.8      "CONTRACTOR REPRESENTATIVE" shall mean that person referred to in Clause 3.

                 1.9      "CO-VENTURERS" shall mean any co-venturers and I or Co-Lessees with COMPANY from time
                          to time having an interest in the exploration and production license under which the WORK is
                          being performed and the successors in interest of such CO-VENTURERS or the assignees of
                          any interest of such CO-VENTURERS as more fully defined in Appendix 1 to this Section 2.




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                                               Section 2 - General Conditions of Contract


                 1.10     "DEFECTS LIABILITY PERIOD" shall mean the period from the commencement of the WORK
                          up to ninety (90) days after completion of the WORK during which CONTRACTOR shall remain
                          liable for the correction of defects to the WORK or services as provided for under Clause 10.

                 1.11     "SERVICE COMPANY(IES)" shall mean any contractor(s) other than CONTRACTOR who have
                          entered into contract(s) with COMPANY and are engaged by COMPANY to provide services or
                          perform WORK at the WORKSITE or engaged by COMPANY to provide services or perform
                          work in connection with the WORK.

                 1.12     "SERVICE COMPANY GROUP" shall mean any SERVICE COMPANY, its sub-contractors of
                          any tier, its and their AFFILIATES, and its and their respective directors, officers and employees
                          (including agency personnel), but shall not include any member of COMPANY GROUP or
                          CONTRACTOR GROUP.

                 1.13     "SUBCONTRACT" shall mean any contract between CONTRACTOR and any party or between
                          such party and its SUBCONTRACTORs of any tier (other than COMPANY or any employees of
                          CONTRACTOR) for the performance of any part of the WORK.

                 1.14     "SUBCONTRACTOR" shall mean any party (other than CONTRACTOR) to a SUBCONTRACT.

                 1.15     "TECHNICAL INFORMATION" shall mean all such information provided by or caused to be
                          provided by COMPANY pursuant to the CONTRACT.

                 1.16     "WARRANTY PERIOD" in respect of equipment and products provided by CONTRACTOR
                          hereunder shall mean a period of 12 months from date of installation or 24 months from date of
                          shipment of any product, whichever first occurs, as provided for under Clause 29.

                 1.17     "WORK" shall mean all work, including each service to be rendered, related equipment or
                          materials supplied, or products provided pursuant to each WORK ORDER (as modified by any
                          CHANGE ORDER), that CONTRACTOR is required to carry out in accordance with the
                          provisions of the CONTRACT.

                 1.18     "WORK ORDER" shall mean the written instruction in a form similar to Section 3, Appendix 2
                          that will be issued by COMPANY in accordance with the provisions of the CONTRACT
                          describing the WORK required to be performed at a specific WORKSITE.

                 1.19     "WORKSITE" shall mean the lands, waters and other places on, under, in or through which the
                          WORK is to be performed including COMPANY owned, leased or operated premises, land
                          drilling and production sites, offshore installations, floating construction equipment, vessels
                          (including the area covered by approved anchor patterns) or places where equipment, materials
                          or supplies are being obtained, stored or used for the purposes of the CONTRACT.

                 2.       INTERPRETA TION

                 2.1      All instructions, notices, agreements, authorizations, approvals, and acknowledgements shall be
                          in writing. All such documentation together with all correspondence and other documents shall
                          be in the English language.

                          Nevertheless, if for any reason it is considered necessary by COMPANY to give an instruction to
                          CONTRACTOR orally in the first instance, CONTRACTOR shall comply with such instruction.
                          Any such oral instruction shall be confirmed in writing as soon as is possible under the
                          circumstances, provided that, if CONTRACTOR confirms in writing any such oral instruction




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                                               Section 2 - General Conditions of Contract


                          which is not contradicted in writing by COMPANY without undue delay, it shall be deemed to be
                          an instruction in writing by COMPANY.

                 2.2      Any reference to statute, statutory provision, or statutory instrument shall include any re-
                          enactment or amendment thereof for the time this CONTRACT is in force.

                 3.       COMPANY AND CONTRACTOR REPRESENTATIVES

                 3.1      General

                          (a)     COMPANY REPRESENTATIVE and CONTRACTOR REPRESENTATIVE are the
                                  persons named as such in Appendix 1 to this Section 2.

                          (b)     Such representatives, or delegates appOinted in accordance with the provisions of this
                                  Clause, shall be readily available to enable both COMPANY and CONTRACTOR to
                                  discharge their obligations underthe CONTRACT.

                          (c)     COMPANY REPRESENTATIVE and any person authorized by him shall have access at
                                  all reasonable times to the WORKSITE and CONTRACTOR shall afford every facility for
                                  and every assistance in obtaining the right of access.

                 3.2      COMPANY REPRESENTATIVE

                          (a)     COMPANY REPRESENTATIVE has the authority to commit COMPANY in all matters
                                  under the CONTRACT and, subject to any delegation of such authority, shall be
                                  responsible for issuing to and receiving from CONTRACTOR all notices, information,
                                  instructions and decisions.

                          (b)     By notice to CONTRACTOR, COMPANY REPRESENTATIVE may at any time delegate
                                  any of his authority to any nominated deputy. Such notice shall specify the precise
                                  authority of any such deputy and shall be sent to CONTRACTOR REPRESENTATIVE.

                          (c)     COMPANY may change COMPANY REPRESENTATIVE at any time and shall notify
                                  CONTRACTOR of any change.

                          (d)     Except as expressly stated in the CONTRACT, COMPANY REPRESENTATIVE has no
                                  powers to amend the CONTRACT or to relieve CONTRACTOR from any of its
                                  obligations under the CONTRACT.

                 3.3      CONTRACTOR REPRESENTATIVE

                          (a)     CONTRACTOR REPRESENTATIVE has the authority to commit CONTRACTOR to any
                                  course of action within the rights and obligations of CONTRACTOR under the
                                  CONTRACT and, subject to any delegation of such authority, shall be responsible for
                                  issuing to and receiving from COMPANY all notices, information, instructions and
                                  decisions.

                          (b)     CONTRACTOR REPRESENTATIVE may delegate any of his authority to any nominated
                                  deputy, the terms of such delegation being subject to the prior approval of COMPANY
                                  which shall not be unreasonably withheld or delayed.




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                          (c)     CONTRACTOR shall not change CONTRACTOR REPRESENTATIVE without cause or
                                  any nominated deputy without the prior approval of COMPANY which shall not
                                  unreasonably be withheld or delayed.

                          (d)     CONTRACTOR REPRESENTATIVE has no powers to amend the CONTRACT.

                 4.       CONTRACTOR's GENERAL OBLIGATIONS

                 4.1      CONTRACTOR shall in accordance with Section 3, carry out all of its obligations under the
                          CONTRACT and provide all management, supervision, personnel, materials and equipment,
                          (except materials and equipment specified to be provided by COMPANy), plant, consumables,
                          facilities and all other things whether of a temporary or permanent nature, so far as the necessity
                          for providing the same is expressed with reasonable clarity in the CONTRACT.

                 4.2      CONTRACTOR shall carry out all of its obligations under the CONTRACT and shall execute the
                          WORK with all due care and diligence and with the skill to be expected of a reputable contractor
                          experienced in the types of work to be carried out under the CONTRACT.

                 4.3      CONTRACTOR shall take full responsibility for the adequacy, stability, health, safety, and
                          environmental protection of all its operations and methods necessary for the performance of the
                          WORK and shall keep strictly to the provisions of Section 7 - Health, Safety, Security, and
                          Environment.

                 4.4      Except to the extent that it may be illegal or physically impossible or create a hazard to safety
                          CONTRACTOR shall comply with COMPANY's instructions and directions on all matters relating
                          to the WORK.

                 4.5      In order to ensure that performance and completion of the WORK are not delayed or impeded
                          CONTRACTOR shall be responsible for the timely provision of all matters referred to in Clause
                          4.1 and, where provided for elsewhere in the CONTRACT, for the timely request of COMPANY
                          provided materials, services, and facilities.

                 4.6      COMPANY reserves the right to let other contracts for work or services to be performed
                          coincidently with the WORK at the WORKSITE. CONTRACTOR shall afford COMPANY and
                          SERVICE COMPANY(lES) reasonable access and opportunity for the performance of their work
                          or contracts and shall cooperate fully with SERVICE COMPANY(IES).

                 4.7      CONTRACTOR shall be responsible for the programming of the WORK.

                 4.8      On completion of the WORK or any portion thereof and subject to any modifications set forth in
                          Section 3, Scope of Work, CONTRACTOR shall without delay clear and remove all equipment
                          and materials owned or in the custody and control of CONTRACTOR (other than equipment and
                          material addressed in Clause 4.9) including debriS, thereby leaving the WORKSITE in a clean,
                          tidy and safe condition consistent with the provisions of Section 7 - Health, Safety, Security, and
                          Environment. Nothing contained herein shall oblige CONTRACTOR to dispose of hazardous
                          waste unless expressly stated otherwise.          Notwithstanding the foregOing, nothing in this
                          CONTRACT shall obligate the CONTRACTOR to raise and recover any item of sunken
                          equipment whether lost overboard in transit or on location unless CONTRACTOR is required by
                          statute or regulation to raise and recover such item or where COMPANY requires such item to be
                          recovered as interfering with COMPANY's future operations at the location.

                 4.9      Surplus COMPANY material in the possession of CONTRACTOR on completion of the WORK
                          shall be disposed of by CONTRACTOR in accordance with the instructions of COMPANY




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                          REPRESENTATIVE which shall be the subject of a CHANGE ORDER in accordance with Clause
                          11.

                 5.       TRANSPORTATION

                          The responsibility and obligations of COMPANY with respect to the provIsion of onshore or
                          offshore transportation, where applicable, for CONTRACTOR provided personnel, equipment
                          and materials are as stated in Section 3 - Scope of Work.

                 6.       CONTRACTOR TO INFORM ITSELF

                 6.1      CONTRACTOR shall be deemed to the extent reasonably possible to have satisfied itself, before
                          entering into the CONTRACT, as to the extent and nature of the WORK including but not limited
                          to the services, personnel, materials and equipment, plant, consumables and facilities required
                          for the WORK, the correctness and sufficiency of the rates and prices entered in Section 4 -
                          Remuneration, general and local conditions, and all other matters which could affect progress or
                          performance of the WORK.

                 6.2      Any failure by CONTRACTOR to take account of matters, which affect the WORK, will not relieve
                          CONTRACTOR from its obligations under the CONTRACT.

                 6.3      CONTRACTOR shall check all TECHNICAL INFORMATION in accordance with good oilfield
                          practice and advise COMPANY of any errors or inconsistencies it finds. COMPANY shall resolve
                          those errors or inconsistencies as soon as reasonably possible and CONTRACTOR shall
                          thereafter be entitled to rely on all TECHNICAL INFORMATION fumished to CONTRACTOR by
                          COMPANY (as corrected by COMPANY if applicable).

                 6.4      The COMPANY shall without undue delay provide to CONTRACTOR all information affecting the
                          WORK which CONTRACTOR reasonably requires from COMPANY in order to properly perform
                          the WORK in accordance with the CONTRACT.

                 7.       CONTRACTOR TO INFORM COMPANY

                 7.1      CONTRACTOR shall notify COMPANY without undue delay of all things, which in the opinion of
                          CONTRACTOR appear to be deficiencies, omissions, contradictions, or ambiguities in the
                          CONTRACT or conflicts with applicable law. COMPANY shall review these items and issue the
                          necessary instructions before CONTRACTOR proceeds with any part of the WORK affected.
                          Subject to the provisions of Clause 11, COMPANY shall issue a CHANGE ORDER if
                          CONTRACTOR can show that it has suffered delay and/or incurred additional cost as a result of
                          any such instruction.

                 7.2      In addition to the requirements of Section 7 - Health, Safety, Security, and Environment,
                          CONTRACTOR shall notify COMPANY without delay of any health, safety and environmental
                          incidents and accidents that occur in connection with the carrying out of the WORK.
                          CONTRACTOR shall also notify COMPANY of any other incidents which occur which might
                          affect the carryi ng out of the WORK or the CONTRACT.

                 7.3      CONTRACTOR shall notify COMPANY immediately of any proposed or actual stoppages of
                          work, industrial disputes, or other matters affecting or likely to affect the carrying out or
                          completion of the WORK.

                          When requested by COMPANY, CONTRACTOR shall also supply to COMPANY other
                          information in connection with the WORK relating to industrial relations.



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                                               Section 2 - General Conditions of Contract


                 8.       ASSIGNMENTS AND SUBCONTRACTING

                 8.1      Assignment

                          (a)     COMPANY is entitled to assign the CONTRACT or any part of it or any benefit or interest
                                  in or under it to any CO-VENTURER or AFFILIATE of COMPANY. In addition,
                                  COMPANY may make any such assignment to any other third party but only with the
                                  prior agreement of CONTRACTOR which shall not unreasonably be withheld or delayed.

                          (b)     CONTRACTOR undertakes that, in the event of any assignment described above, it will
                                  execute without delay a formal assignment of interest in the CONTRACT to the relevant
                                  party, to be effective upon the written assumption by the assignee of all obligations of
                                  COMPANY under the CONTRACT.

                          (c)     CONTRACTOR shall not assign the CONTRACT or any benefit or interest therein,
                                  whether in whole or in part, except to a CONTRACTOR AFFILIATE without the prior
                                  approval of COMPANY, which approval shall not be unreasonably withheld or delayed.

                 8.2      Subcontracting

                          (a)     CONTRACTOR shall not subcontract the whole of the WORK. CONTRACTOR shall not
                                  subcontract any material part of the WORK without the prior approval of COMPANY
                                  which approval shall not unreasonably be withheld or delayed.

                          (b)     Before entering into any SUBCONTRACT as provided in 8.2 (a), COMPANY shall be
                                  given an adequate opportunity to review the form of SUBCONTRACT, the choice of
                                  SUBCONTRACTOR, the part of the WORK included in the SUBCONTRACT and any
                                  other relevant details requested by COMPANY.

                                  Where COMPANY will be required to reimburse to CONTRACTOR the sum paid to the
                                  SUBCONTRACTOR, any procedure for award of such SUBCONTRACTS included in the
                                  CONTRACT shall be followed and COMPANY shall be entitled to review all relevant
                                  aspects ofthe SUBCONTRACT.

                          (c)     No SUBCONTRACT shall bind or purport to bind COMPANY or the CO-VENTURERS.
                                  CONTRACTOR shall ensure that any SUBCONTRACTOR shall be bound by and
                                  observe the provisions of the CONTRACT in so far as they apply to the
                                  SUBCONTRACT.

                                  Each SUBCONTRACT shall expressly provide for CONTRACTOR's unconditional right
                                  of assignment of the SUBCONTRACT to COMPANY in the event that COMPANY
                                  terminates the CONTRACT or the WORK.

                          (d)     CONTRACTOR shall be responsible for all work, acts, omissions, and defaults of any
                                  SUBCONTRACTOR as fully as if they were work, acts, omissions, or defaults of
                                  CONTRACTOR.

                 9.       CONTRACTOR PERSONNEL

                 9.1      CONTRACTOR undertakes to provide sufficient personnel at all times to ensure performance
                          and completion ofthe WORK in accordance with the provisions of the CONTRACT.




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                                               Section 2 - General Conditions of Contract


                 9.2      All personnel employed on the WORK shall, for the work they are required to perform, be
                          competent, properly qualified, skilled and experienced in accordance with good industry practice.

                          CONTRACTOR shall verify all relevant qualifications of such personnel. This includes, but is not
                          limited to, CONTRACTOR's:

                           a)    Site based personnel,
                           b)    Shore base / shop personnel who prepare equipment and materials pre-job,
                           c)    QAlQC personnel,
                           d)    HSSE personnel,
                           e)    Logistics personnel,
                           f)    Technical support staff.

                 9.3      Where CONTRACTOR's key personnel are specified in the CONTRACT, they shall not be
                          replaced without prior COMPANY approval which shall not unreasonably be withheld or delayed.
                          Any replacement shall work with the person to be replaced for a reasonable handover period.

                 9.4      CONTRACTOR shall maintain full and up to date records of its personnel employed on the
                          WORK and register all periods worked offshore by its personnel and make records available to
                          COMPANY if or when required.

                 9.5      CONTRACTOR shall be solely responsible for and shall meet all costs incurred in connection
                          with the employment and administration of its personnel, local or otherwise, together with all
                          necessary and routine medical services to be provided for its personnel, and all other matters
                          relating thereto, including making all travel arrangements (reservations, onshore transport,
                          lodging, maintenance, etc) except as set out in Section 3 hereof, obtaining all necessary
                          passports and visas (and renewals thereof) and all to satiSfy the requirement of all applicable
                          laws, rules, regulations and decrees of any governmental or regulatory body having jurisdiction
                          over its WORK.

                 9.6      CONTRACTOR shall also be solely responsible for the timely payment of wages, salaries, and
                          allowances for its personnel including the withholding of any taxes required by any governmental
                          or regulatory body having jurisdiction over the WORK and/or the WORKSITE. CONTRACTOR
                          shall make and file all returns and reports in connection therewith and account thereafter to the
                          appropriate authorities.

                 9.7      Except as otherwise provided herein, CONTRACTOR shall be responsible for all matters and
                          costs associated with rest periods for its personnel including all crew changes which may take
                          place during the period of the WORK. CONTRACTOR is responsible for ensuring that all
                          personnel are properly rested in order to carry out the WORK in a safe, effiCient, and
                          environmentally responsible manner.

                 9.8      CONTRACTOR shall, as its own expense, provide its personnel with all necessary protective
                          clothing and safety equipment suitable for the working conditions. For duty offshore/onshore
                          such clothing/equipment shall be in accordance with statutory requirements.

                 9.9      CONTRACTOR shall ensure that such key personnel and supervisory personnel of
                          CONTRACTOR and SUBCONTRACTORs shall read, write, and speak fluent English.

                 9.10     CONTRACTOR shall be as responsible for any WORK performed by any CONTRACTOR
                          agency personnel and by any other person provided by CONTRACTOR in connection with the
                          WORK as if the WORK was performed by the CONTRACTOR's employees.




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                 9.11     CONTRACTOR shall ensure that all employees of CONTRACTOR and any SUBCONTRACTOR
                          engaged in the performance of the WORK comply with applicable laws including immigration
                          laws and where required are in possession of a valid work permit, travel permits, for the duration
                          of the CONTRACT. When requested, details of such work permits shall be submitted to
                          COMPANY.

                 9.12     COMPANY may verbally or in writing instruct CONTRACTOR to remove from the WORKSITE
                          any CONTRACTOR GROUP personnel engaged in any part of the WORK who in the
                          reasonable opinion of COMPANY is either:

                          (a)     incompetent or negligent in the performance of their duties; or

                          (b)     engaged in activities that are contrary or detrimental to the interests of COMPANY; or

                          (c)     not conforming with relevant safety procedures described in Section 7 - Health, Safety,
                                  Security, and Environment or persists in any conduct likely to be prejudicial to safety,
                                  health or the environment.

                          CONTRACTOR shall remove or lawfully secure such removal of any such person forthwith from
                          the WORKSITE. COMPANY shall state the reason for such removal in a subsequent written
                          instruction if requested by CONTRACTOR. CONTRACTOR shall provide a suitable replacement
                          for any such person within 24 hours or longer time as may be agreed by COMPANY.

                          Any person removed for any of the above reasons shall not be engaged again in the WORK or
                          on any other work of COMPANY without the prior informed approval of COMPANY

                 9.13     CONTRACTOR shall forthwith at its cost and expense replace any such person removed under
                          the provisions of Clause 9.12 hereof with such replacement being a person qualified and
                          capable of performing in an efficient manner the duties of any such person being replaced. This
                          Clause shall also apply to CONTRACTOR's and SUBCONTRACTOR's personnel leaving of
                          their own volition.

                 9.14     CONTRACTOR shall take all requisite precautions and use its best endeavors to prevent any
                          riotous or unlawful behavior by or amongst any of CONTRACTOR's personnel.

                 10.      DEFECTIVE PERFORMANCE

                 10.1     If at any time within the DEFECTS LIABILITY PERIOD and without prejudice to COMPANY's
                          other rights under Clause 23, where COMPANY has found that the WORK or part thereof or any
                          re-work performed by CONTRACTOR has not been performed in accordance with the
                          CONTRACT, COMPANY shall detail in writing such fault or defect ("DEFECTS"), the specific
                          nature of the DEFECTS and the Clause and Section of the CONTRACT that contains the
                          obligation that CONTRACTOR has failed to meet.

                 10.2     Starting on the date set out in COMPANY's notice under Clause 10.1 to CONTRACTOR (or if no
                          such date is specified, commencing immediately upon such notice becoming effective),
                          CONTRACTOR shall expeditiously take all necessary action to remedy the DEFECTS.
                          CONTRACTOR's obligations under this Clause shall continue until the DEFECTS have been
                          remedied in full compliance with the requirements of the CONTRACT.

                 10.3     Subject to Clause 10.4 and without prejudice to COMPANY's other rights under Clause 23, if
                          following receipt of COMPANY notification as set out in Clause 10.1, CONTRACTOR is unwilling
                          or unable to perform the work necessary to correct the DEFECTS in a time which is reasonable



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                          in all circumstances then COMPANY may decide that CONTRACTOR's failure to correct such
                          DEFECTS will be prejudicial to its interests. In such cases COMPANY may at its option either:

                          a)     at CONTRACTOR's expense, either re-perform the defective WORK or have the defective
                                 WORK remedied by others at best market rates available to COMPANY taking into
                                 account HSSE, technical and cost considerations. CONTRACTOR's liability in respect of
                                 this Clause 10.3(a) shall extend to the full amount of the incremental cost, meaning the
                                 amount by which the cost of procuring such alternative performance exceeds the
                                 CONTRACT PRICE, incurred by COMPANY in procuring alternative performance of the
                                 defective WORK as aforesaid; or

                          b)     terminate the CONTRACT or WORK ORDER as provided under Clause 23.1 (b)

                 10.4     For the purposes of Clause 10.2, 10.3 and 23.5, CONTRACTOR shall not be liable to
                          COMPANY for the costs of any items which are specified in the CONTRACT or WORK ORDER
                          as items to be provided by COMPANY or items which were previously provided by COMPANY.

                 10.5      CONTRACTOR's limit of financial liability expressed under Clause 10.3(a) shall be limited to a
                           sum equivalent to the costs incurred by COMPANY and in any event to a sum not greater than
                           thirty percent (30%) of the price of the element of the WORK or services in respect of which a
                           notice of DEFECTS has been issued pursuant to Clause 10.1 plus all reasonable and
                           documented third party mobilization (and de-mobilization, as applicable) costs necessary to re-
                           perform the WORK or services in question.

                 11.      CHANGES TO THE WORK

                 11.1     COMPANY has the right to issue instrudions in the form of a CHANGE ORDER to
                          CONTRACTOR at any time to make any variation or changes to the WORK which are within the
                          capability and resources of CONTRACTOR. CONTRACTOR shall proceed immediately as
                          instructed.

                 11.2     CONTRACTOR shall notify COMPANY if any CHANGE ORDER issued pursuant to Clause 11.1
                          will result in an adjustment to CONTRACT PRICE. Any adjustment to the CONTRACT PRICE
                          resulting from any CHANGE ORDER shall be valued at the appropriate rates and prices
                          included in the CONTRACT, or in the absence of any appropriate rates and prices, a fair
                          valuation shall be mutually agreed by COMPANY and CONTRACTOR.

                 11.3     Any additions or modifications to the schedule of rates defined in the remuneration section shall
                          be treated as contractual amendments requiring the approval of both PARTIES' authorized
                          representatives.

                 12.      FORCE MAJEURE

                 12.1     Neither COMPANY nor CONTRACTOR shall be responsible for any failure to fulfill any term or
                          condition of the CONTRACT (other than any obligation to make payment when due for WORK
                          already carried out) if and to the extent that fulfillment has been delayed or temporarily
                          prevented by a force majeure occurrence, as herein defined, which has been notified in
                          accordance with this Clause and which is beyond the control and without the fault or negligence
                          of the PARTY affected and which, by the exercise of reasonable diligence, the said PARTY is
                          unable to provide against.

                 12.2     For the purpose of this CONTRACT, force majeure as defined in Clause 12.1 shall be
                          considered to include, but not be limited to, the following:




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                          (a)     Riot, war, invasion, act of foreign enemies, hostilities (whether war be declared or not),
                                  acts of terrorism, civil war, rebellion, revolution. insurrection of military or usurped power;

                          (b)     Ionizing radiations or contamination by radioactivity from any nuclear fuel or from any
                                  nuclear waste from the combustion of nuclear fuel or radioactive, toxic, explosive or other
                                  hazardous properties of any explosive nuclear assembly or nuclear component thereof;

                          (c)     Earthquake, flood, fire, explosion, Acts of God and/or other natural physical disaster; but
                                  excluding weather conditions as such, regardless of severity, for which operational
                                  contingency plans exist;

                          (d)     Strikes at a national or regional level or industrial disputes at a national or regional level,
                                  or strikes or industrial disputes by labor not employed by the affected PARTY its
                                  subcontractors or its suppliers and which affect a substantial or essential portion of the
                                  WORK;

                          (e)     Maritime or aviation disasters;

                          (f)     Changes to any general or local Statute, Ordinance, Decree, or other Law or any
                                  regulation or bye-law of any local or other duly constituted authority or the introduction of
                                  any such Statute, Ordinance, Decree, Law, regulation, or bye-law.

                 12.3     In the event of a force majeure occurrence, the PARTY that is or may be delayed in performing
                          the CONTRACT shall notify the other PARTY without delay giving the full particulars thereof and
                          shall use all reasonable endeavors to remedy the situation without delay.

                 12.4    Save as otherwise expressly provided in the CONTRACT, no additional payments of whatever
                         nature shall be made in respect of a force majeure occurrence.

                 12.5     Following notification of a force majeure occurrence in accordance with Clause 12.3, the
                          PARTIES shall meet at appropriate intervals to agree on a mutually acceptable course of action
                          to minimize the impact and effects of such an occurrence to either PARTY.

                 12.6     In the event that a force majeure occurrence causes the WORK to be halted for a period longer
                          than thirty (30) days, the PARTIES shall meet and agree to:-

                          (a)    extend the term of the CONTRACT in accordance with Clause 11.1, with appropriate
                                 adjustments in remuneration to compensate for delayed completion, or

                          (b)    reschedule the WORK.

                         Failing agreement either PARTY shall be entitled to terminate the WORK ORDER or CONTRACT
                         in accordance with Clause 23.6.

                 13.      SUSPENSION

                 13.1     COMPANY shall have the right, by notice to CONTRACTOR, to suspend the WORK or any part
                          thereof to the extent detailed in the notice, for any of the following reasons;

                          (a)     subject only to Clause 13.3, in the event of some default on the part of CONTRACTOR;
                                  or




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                          (b)     in the event that suspension is necessary for the proper execution or safety of the
                                  \NORK, or persons or;

                          (c)     to suit the convenience of COMPANY

                 13.2     Upon receipt of any such notice, CONTRACTOR shall, unless instructed otherwise:

                          (a)     discontinue the WORK or the part of the WORK detailed in the notice, on the date and to
                                  the extent specified; and

                          (b)     properly protect and secure the WORK as required by COMPANY.

                 13.3      In the event of default on the part of CONTRACTOR and before the issue by COMPANY of a
                           notice to suspend the WORK or any part thereof COMPANY shall give notice of default to
                           CONTRACTOR giving details of such default. If CONTRACTOR, upon receipt of such notice,
                           does not commence and thereafter continuously proceed with action reasonably satisfactory to
                           COMPANY to remedy such default COMPANY may issue a notice of suspension in accordance
                           with the provisions of Clause 13.1.

                 13.4     Unless the suspension arises as a result of default on the part of CONTRACTOR,
                          CONTRACTOR shall be reimbursed in accordance with the provisions of Section 4 -
                          Remuneration or, in the absence of such provisions, in accordance with Clause 11.

                 13.5     COMPANY may, by further notice, instruct CONTRACTOR to resume the WORK to the extent
                          specified.

                 13.6     In the event of any suspension, COMPANY and CONTRACTOR shall meet at not more than 7
                          day intervals with a view to agreeing upon a mutually acceptable course of action during the
                          suspension.

                 13.7     If the period of any suspension not arising as a result of default on the part of CONTRACTOR
                          exceeds thirty (30) days hereto, CONTRACTOR may serve a notice on COMPANY requiring
                          permission within fourteen (14) days from the receipt of such notice to proceed with the WORK
                          or that part thereof subject to suspension. If within the said fourteen (14) days COMPANY does
                          not grant such permission CONTRACTOR, by a further notice, may (but is not bound to) elect to
                          treat the suspension as either:

                          (a)     where it affects part of the WORK, an omission of such part under Clause 11; or

                          (b)     where it affects the whole ofthe WORK, termination in accordance with Clause 23.1 (a).

                 14.      TERMS OF PAYMENT

                 14.1     For the performance and completion of the WORK, COMPANY shall payor cause to be paid to
                          CONTRACTOR the amounts provided in Section 4 - Remuneration at the times and in the
                          manner specified in Section 4 - Remuneration and in this Clause.

                 14.2     Except where it is expressly provided that COMPANY shall carry out an obligation under the
                          CONTRACT at its own cost, all things to be supplied or performed by CONTRACTOR under the
                          CONTRACT shall be deemed to be included in the rates and prices included in Section 4 -
                          Remuneration. All obligations of CONTRACTOR pursuant to the provision of Clause 10 shall be
                          performed by CONTRACTOR at its sole cost and expense.




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                 14.3     CONTRACTOR shall invoice COMPANY for WORK performed in accordance with the provisions
                          stated in Appendix 1 to Section 4 - Remuneration. All invoices will be submitted no later than
                          ninety (90) days after the completion of the whole of the WORK or such longer period as
                          mutually agreed.

                 14.4     To the extent payments to be made under the CONTRACT attract any national and/or local
                          government, federal or state sales and/or service type tax, the invoicing provisions for such sales
                          and/or taxes shall be as stated in Appendix 1 to Section 4 - Remuneration.

                 14.5     COMPANY shall pay CONTRACTOR's invoice(s) within the period, in the currency, in the
                          manner, and at the address stated in Appendix 1 to Section 4 - Remuneration.

                 14.6     CONTRACTOR shall submit all documentation              reasonably required     by COMPANY to
                          substantiate all invoices.

                 14.7     If COMPANY disputes any items on any invoice in whole or in part or if the invoice is prepared or
                          submitted incorrectly in any respect, COMPANY shall promptly notify CONTRACTOR of the
                          reasons and request CONTRACTOR to issue a credit note for the disputed part pending
                          resolution of the dispute or whole of the invoice as applicable. Upon receipt of such credit note,
                          COMPANY shall be obliged to pay the undisputed part of a disputed invoice.

                          If any other dispute connected with the CONTRACT exists between the PARTIES, COMPANY
                          may withhold from any money which becomes payable under the CONTRACT the amount which
                          is the subject of the dispute. COMPANY shall not be entitled to withhold monies due to
                          CONTRACTOR under any other contracts with COMPANY as set off against disputes under the
                          CONTRACT, nor shall it be entitled to withhold monies due under the CONTRACT as set off
                          against disputes under any other contract.

                          On settlement of any dispute CONTRACTOR shall submit an invoice for sums due and
                          COMPANY shall make the appropriate payment in accordance with the provisions of this Clause
                          14.

                 14.8     Neither the presentation nor payment nor non-payment of an individual invoice shall constitute a
                          settlement of a dispute, an accord and satisfaction, a remedy of account stated, or otherwise
                          waive or affect the rights ofthe PARTIES hereunder.

                          In particular, COMPANY may correct or modify any sum previously paid in any or all of the
                          following circumstances:

                          (a)     any such sum was incorrect;

                          (b)     any such sum was not properly payable to CONTRACTOR:

                          (c)    any WORK in respect of which payment has been made and which does not comply with
                                 the terms of the CONTRACT.

                 14.9     If COMPANY, at any time, incurs costs which, under the provIsions of the CONTRACT,
                          COMPANY is entitled to recover from CONTRACTOR, COMPANY may invoice CONTRACTOR
                          for such costs, provided always that COMPANY may deduct the amount of such costs from any
                          amount due, or that may become due to CONTRACTOR under the CONTRACT.

                          CONTRACTOR shall pay COMPANY within thirty (30) days of receipt of invoice any undisputed
                          sums outstanding after such deduction.



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                 14.10    For the purposes of Clause 14.9. and elsewhere in the CONTRACT, wherever one PARTY is
                          entitled to recover from the other PARTY any costs incurred then the amount of such costs shall
                          be the amount of all claims, loss, damages, charges, disbursements, costs (including amounts
                          paid to third parties), overheads and expenses directly resulting from the matter in question, but
                          no element of profit.

                 15.      TAXES

                 15.1     CONTRACTOR shall co-operate with COMPANY and at the request of COMPANY,
                          CONTRACTOR or its permitted assigns shall use its best efforts to supply and shall procure any
                          SUBCONTRACTOR or supplier hereunder to supply to COMPANY such information (including
                          documentary information) in connection with its activities or its SUBCONTRACTORs' or
                          suppliers' activities hereunder as may be required by COMPANY for any of the following
                          purposes:

                           (a)    to enable COMPANY to comply with the lawful demand or requirement for such
                                  information by appropriate taxing authority having jurisdiction over the area in which the
                                  WORK is to be performed to ensure that all requirements of the applicable law are being
                                  complied with by CONTRACTOR.

                           (b)    to enable COMPANY to conduct, defend, negotiate or settle any claim arising out of, or
                                  in connection with, such activities, whether or not such claim shall have become the
                                  subject of arbitration or judicial proceedings,

                           (c)    to enable COMPANY to make any application (including, but without limitation, any claim
                                  for any allowances or relief) or representation in connection with, or to contest any
                                  assessment on, or liability of COMPANY to any taxes,

                           COMPANY's request for such information and documents shall allow CONTRACTOR a
                           reasonable time to prepare, provide, and submit that information requested.

                 15.2     The obligations of CONTRACTOR set forth above shall exist for a period of six (6) years
                          commencing with the date of agreement by COMPANY of CONTRACTOR's final statement of
                          account under the CONTRACT, and CONTRACTOR shall retain and shall procure any
                          SUBCONTRACTOR or supplier hereunder to retain, all information and documents in
                          connection with its activities under or pursuant to the CONTRACT as shall enable
                          CONTRACTOR to comply with its above obligations.

                 15.3     Except as specifically addressed elsewhere in CONTRACT including without limitation Appendix
                          2, CONTRACTOR shall assume full and exclusive liability for payment, and shall procure that its
                          SUBCONTRACTORs shall assume full and exclusive liability for payment of all taxes properly
                          and lawfully assessed or imposed on CONTRACTOR or its SUBCONTRACTORs by any
                          competent Government or regulatory authority having jurisdiction over the WORKSITE and any
                          other areas where the WORK is to be performed in connection with the carrying out of the
                          WORK.

                          Notwithstanding the foregoing, the CONTRACTOR's liability for any claims or liability of the
                          COMPANY in respect of taxes is subject to the following: If the COMPANY receives any
                          demand or request for payment of any levies, charges, taxes or contributions of the type
                          referenced in this Clause 15.3 for which it would seek indemnity or reimbursement from
                          CONTRACTOR, the COMPANY shall forthwith notify the CONTRACTOR in writing of such
                          demand or request. The COMPANY shall consult with the CONTRACTOR on its response to
                          such demand or request and the COMPANY shall use its reasonable endeavors to appeal
                          against such demand or request.



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                 15.4     CONTRACTOR shall indemnify and keep indemnified COMPANY against all liabilities
                          incurred as a consequence of breach by CONTRACTOR or any SUBCONTRACTOR or
                          supplier of any of the obligations under Clauses 15.1,15.2 and 15.3 hereof and all actions,
                          proceedings, claims, damages, charges, costs and expenses whatsoever in relation
                          thereto.

                 15.5     Except as specifically addressed in Appendix 2 to Section 2, Local Tax Provision, or elsewhere
                          in this CONTRACT, CONTRACTOR is considered to have taken into account in the CONTRACT
                          PRICE all taxes, levies or contributions having effect on the EFFECTIVE DATE.

                 15.6     If, on or after the EFFECTIVE DATE, there shall be any change in the level or in the incidence,
                          or any new incidence or abolition, of any tax applicable to the WORKSITE, levy or contribution
                          excluding any tax on profits or gains, which are by law payable by CONTRACTOR or any
                          SUBCONTRACTOR or supplier hereunder in respect of its employees working wholly on the
                          WORK or in respect of CONTRACTOR's or any SUBCONTRACTORs or supplier's activities
                          under the CONTRACT or any SUBCONTRACT or purchase order hereunder, the net amount of
                          such change or new incidence or abolition shall constitute an addition to, or deduction from, the
                          sums payable to CONTRACTOR under the CONTRACT.

                 15.7     CONTRACTOR shall submit to COMPANY with its monthly statements full details of any
                          addition or deduction to be made pursuant to the above, and all payments after submission of
                          such details shall take account of the additions or deductions to which such details shall relate.

                 15.8     CONTRACTOR shall insert provisions into each SUBCONTRACT or purchase order hereunder
                          imposing on each SUBCONTRACTOR or supplier obligations, which will enable CONTRACTOR
                          to comply with its obligations under Clauses 15.1 to 15.6 hereof. The net amount due to, or
                          from, any SUBCONTRACTOR or supplier hereunder as a result of any change, new incidence
                          or abolition arising from the provisions of Clause 15.6 hereof sha II be paid to, or recovered from
                          CONTRACTOR by COMPANY as though such increase or decrease had directly affected
                          CONTRACTOR.

                 15.9     CONTRACTOR, its SUBCONTRACTORs and suppliers or its and their permitted assigns shall
                          comply with laws and regulations concerning all COMPANY's branch office registration
                          requirements, local taxes and levies including maintaining the proper accounting records, filing
                          and properly paying all fiscal dues on its or their activities.                CONTRACTOR, its
                          SUBCONTRACTOR's and suppliers or its and their permitted assigns shall declare in a timely
                          manner all custom duties, local sales tax if any and satisfying all indirect taxes that may be due
                          hereunder.

                 15.10    In the event that CONTRACTOR benefits from a deduction in taxes paid in CONTRACTOR's
                          country of fiscal residence by way of receiving a tax credit, offset, deduction or otherwise in
                          respect of any tax withheld from payments due under the CONTRACT and which is borne or
                          paid for by COMPANY on behalf of CONTRACTOR, its SUBCONTRACTOR or its or their
                          personnel, such reimbursement of the aforesaid tax savings shall be made to the COMPANY at
                          the amount of net savings and after the payment of tax deduction is made by the fiscal authority
                          to CONTRACTOR.

                 15.11    For the purposes of this Clause only, "tax" shall mean and include any tax, duty or charge and
                          any penalty or interest thereon and any other costs and charges whatsoever assessed or
                          imposed by any competent Government or regulatory authority having jurisdiction over the
                          WORKSITE and any other areas where the WORK is to be performed.




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                 16.      OWNERSHIP

                 16.1     COMPANY shall retain title to COMPANY provided items and information, including but not
                          limited to, TECHNICAL INFORMATION and materials and equipment.

                 16.2     All equipment, materials and supplies provided by CONTRACTOR for permanent incorporation
                          into the WORK shall become and be clearly identified as the property of COMPANY upon
                          delivery to the WORKSITE or payment by COMPANY whichever is the earlier. Risk of loss and
                          title to this property passes to COMPANY at this time.

                          CONTRACTOR shall ensure that all CONTRACTOR provided items are free from all liens and/or
                          retention of title claims from any third party.

                 16.3     Title

                          (a) Title in any equipment, materials and supplies provided by CONTRACTOR which do not
                              comply with the requirements of the CONTRACT and which are rejected by COMPANY,
                              shall re-vest immediately in CONTRACTOR.

                          (b) Title in items provided by CONTRACTOR for which no payment has been made by
                              COMPANY and which are no longer required for the purposes of the CONTRACT, shall re-
                              vest in CONTRACTOR.

                 16.4     Where designs, drawings, reports, sketches and other documents and data to be provided by
                          CONTRACTOR hereunder are created and stored electronically, CONTRACTOR shall provide
                          to COMPANY such designs, drawings, reports, sketches and other documents and data on a
                          CD-ROM (2 copies minimum) or other mutually agreed electronic media compatible with
                          COMPANY's systems at the times specified in Section 3 - Scope of Work or if no times
                          specified, when reasonably required by COMPANY. If required by COMPANY, files will be
                          provided in original format (i.e. Word, Excel, CAD, etc.) and if mutually agreed for specific work
                          in a PDF Format. COMPANY and CONTRACTOR shall mutually agree upon the system
                          compatibility requirement applicable to the WORK.

                 16.5     Without prejudice to CONTRACTOR's right to compensation hereunder, title to all data, test
                          results, charts, and reports of whatever nature in respect of COMPANY's wells including
                          information on wellbore, production, reservoir, geology and formations encountered in the well
                          that have been created by CONTRACTOR in the performance of the WORK shall vest in
                          COMPANY with effect from the date of creation. Upon completion, suspension or abandonment
                          of each well or if earlier upon completion of CONTRACTOR's WORK in connection with that
                          well, CONTRACTOR shall issue to COMPANY all such documents in its possession.

                 17.      PATENTS AND OTHER PROPRIETARY RIGHTS

                 17.1     Neither PARTY shall have the right of use other than for the purposes of performing WORK
                          pursuant to the CONTRACT, whether directly or indirectly, of any patent, copyright, proprietary
                          right or confidential know how, trademark or process provided by the other PARTY.

                 17.2     Where any potential patent or registrable right in any country in the world results from:

                           (a)    developments by the CONTRACTOR which are based wholly on data, eqUipment,
                                  processes, substances and the lik.e in the possession of the CONTRACTOR or its
                                  AFFILIATES at the EFFECTIVE DATE or otherwise produced outside of the CONTRACT
                                  or,



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                           (b)   enhancements of or in the existing intellectual property rights of the CONTRACTOR or its
                                 AFFILIATES

                           such rights shall vest in the CONTRACTOR and COMPANY agrees to take such action as may
                           be reasonably requested by CONTRACTOR, including execution of assignments, to enable
                           CONTRACTOR to perfect such rights and to obtain the full benefit of this Clause.

                 17.3     Where any potential patent or registrable right in any country in the world results from:

                           (a)   developments by the COMPANY or its AFFILIATES or CO-VENTURERS which are
                                 based wholly on data, equipment, processes, substances and the like in the possession of
                                 the COMPANY at the EFFECTIVE DATE or otherwise produced outside the CONTRACT
                                 or,

                           (b)   enhancements of or in the existing intellectual property rights of the COMPANY or its
                                 AFFILIATES or CO-VENTURERS,

                           such rights shall vest in the COMPANY and CONTRACTOR agrees to take such action as may
                           be reasonably requested by COMPANY, including execution of assignments, to enable
                           COMPANY to perfect such rights and to obtain the full benefit of this Clause.

                 17.4     Except as otherwise provided in Clauses 17.2 and 17.3, during the term of the CONTRACT, and
                          in the course of performance of the CONTRACT, in an effort to address and provide solutions for
                          problems that are specifically related to the performance of the CONTRACT, employees of
                          COMPANY and/or CONTRACTOR may conceive or make new inventions, ideas, or discoveries
                          that may be protected by patent or copyright or maintained as a trade secret (hereinafter
                          "Intellectual Property"). Subject to the obligation of the respective employees of COMPANY or
                          CONTRACTOR to assign their interest in such Intellectual Property to the employing party,
                          COMPANY and CONTRACTOR agree that the right, title, and interest in and to any such
                          Intellectual Property shall be allocated as set forth below:

                           (a)   COMPANY shall own all Intellectual Property conceived or made during the term of the
                                 CONTRACT solely by any COMPANY employee(s).

                           (b)   CONTRACTOR shall own all Intellectual Property conceived or made during the term of
                                 the CONTRACT solely by any CONTRACTOR employee(s).

                           (c)   COMPANY and CONTRACTOR shall each have an equal, undivided interest in the right,
                                 title and interest in and to any Intellectual Property that is jointly conceived or made during
                                 the performance of the CONTRACT by any COMPANY employee(s) along with any
                                 CONTRACTOR employee(s).

                                 i)      In the event that either PARTY believes that a patent application should be filed
                                         on such a joint invention, they shall then attempt in good faith to agree upon filing
                                         a patent application on the same.

                                 ii)     In the event that either PARTY does not wish to share equally in payment of the
                                         costs for preparing, filing and prosecuting such jOintly owned application, the
                                         PARTY paying such costs shall be the assignee of that patent application and
                                         subsequent patent or patents issuing therefrom, if any, and the other, non-paying
                                         PARTY and its affiliates shall have an irrevocable, royalty-free license, without the
                                         right to sublicense, to practice but not sell or lease the subject joint invention to
                                         third parties. Both COMPANY and CONTRACTOR agree to co-operate fully in
                                         the preparation, filing and prosecution of subsequent judicial or administrative


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                                         proceedings involving such and to pay its share of all necessary fees to maintain
                                         any jointly owned application or patent assigned to it in force throughout its full
                                         term; provided, however, that a PARTY may elect to notify the other PARTY that
                                         it intends to discontinue payment of such fees and thereafter promptly assign
                                         such patent to the other PARTY, retaining no interest therein in exchange for an
                                         irrevocable, royalty free license for the remainder of the term of each such patent.

                           (d)   CONTRACTOR agrees to grant the COMPANY and its AFFILIATES a non-exclusive,
                                 royalty free, irrevocable, non-sublicensable, non-transferable, worldwide license to use
                                 any patent or other registrable right vesting in CONTRACTOR pursuant to clause 17.4(b)
                                 above, but which was solely conceived and developed on COMPANY owned or operated
                                 wells and for which COMPANY engaged the services of CONTRACTOR. COMPANY
                                 agrees to grant the CONTRACTOR and its AFFILIATES a non-exclusive, royalty free,
                                 irrevocable, non-sublicensable, non-transferable, worldwide license to use any patent or
                                 other registrable right vesting in COMPANY pursuant to clause 17.4(a) above but which
                                 was solely conceived and developed during the provision of services by CONTRACTOR
                                 to COMPANY.

                 17.5     Both COMPANY and CONTRACTOR shall, on request, disclose promptly to the other all
                          inventions, ideas, and discoveries which it or its employees may conceive or make to address
                          and provide solutions for problems that are specifically related to the performance of WORK
                          pursuant of the CONTRACT.

                 17.6     Subject to Clause 17.7 below, COMPANY and CONTRACTOR may decide to jointly develop
                          Intellectual Property which mayor may not be related to the WORK, in which case COMPANY
                          and CONTRACTOR shall enter into a separate technology collaboration agreement (unless an
                          agreement has been previously entered into) addressing each PARTY's obligations with respect
                          to joint development costs, ownership and licensing rights of any registrable item or idea arising
                          out of or invented during the term of that agreement as a direct or indirect result of joint
                          cooperation between COMPANY and CONTRACTOR.

                 17.7     The technology collaboration of the PARTIES described in Clauses 17.6 above shall be
                          preceded by a mutually acceptable confidentiality agreement, and neither PARTY shall acquire
                          any Intellectual Property rights unless a separate technology collaboration agreement is fully
                          agreed and executed.

                 17.8     CONTRACTOR shall save, indemnify, release, defend and hold harmless COMPANY
                          GROUP from all claims, losses, damages, costs (including legal costs), expenses, and
                          liabilities of every kind and nature for, or arising out of, any alleged infringement of any
                          patent or proprietary or protected right, arising out of or in connection with the
                          performance of the obligations of CONTRACTOR under CONTRACT except where such
                          infringement necessarily arises from the TECHNICAL INFORMATION and/or COMPANY's
                          instructions. However, CONTRACTOR shall, when specifically requested, use its
                          reasonable endeavors to identify any infringement in the TECHNICAL INFORMATION
                          and/or COMPANY's instructions of any patent or proprietary or protected right, and
                          should CONTRACTOR become aware of such infringement or possible infringement then
                          the CONTRACTOR shall inform COMPANY immediately.

                 17.9     COMPANY shall save, indemnify, release, defend and hold harmless the CONTRACTOR
                          GROUP from all claims, losses, damages, costs (including legal costs), expenses, and
                          liabilities of every kind and nature for, or arising out of, any alleged infringement of any
                          patent or proprietary or protected right arising out of or in connection with the
                          performance of the obligations of the COMPANY under the CONTRACT or the
                          COMPANY's instructions to CONTRACTOR or the use by the CONTRACTOR of
                          TECHNICAL INFORMATION or materials or equipment supplied by the COMPANY.



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                          However, COMPANY shall, when specifically requested, use its reasonable endeavors to
                          identify any infringement in the CONTRACTOR furnished information, and should
                          COMPANY become aware of such infringement or possible infringement, then the
                          COMPANY shall inform CONTRACTOR immediately.

                 18.      LAWS AND REGULATIONS

                 18.1     CONTRACTOR shall conduct its operations in accordance with all applicable laws, rules,
                          regulations and decrees of any governmental or regulatory body having jurisdiction over the
                          WORK andlor the WORKSITE; provided that nothing in the CONTRACT is intended or should
                          be construed to require CONTRACTOR to act or fail to act if such action or failure to act would
                          be inconsistent with or penalized by (1) the laws and regulations of CONTRACTOR's or
                          COMPANY's country of incorporation and lor (2) the laws and regulations of the country of
                          incorporation of any direct, indirect or ultimate parent company of CONTRACTOR or
                          COMPANY.

                 18.2     CONTRACTOR shall obtain all licenses, permits, temporary permits and authorizations required
                          by the applicable laws, rules and regulations for the performance of the WORK, save to the
                          extent that the same can only be legally obtained by COMPANY.

                 18.3     Notwithstanding Clause 15.6, should changes in any applicable laws, rules and regulations
                          made after the EFFECTIVE DATE, result in increases or decreases in the cost to
                          CONTRACTOR of performing the WORK, then except where there is provision contained within
                          Section 4 - Remuneration, the PARTIES shall mutually agree to the appropriate changes
                          necessary to the CONTRACT PRICE.

                 18.4     CONTRACTOR shall endeavor to ensure that neither it nor any other entity or person in
                          CONTRACTOR GROUP has: a) given any commissions, payments, gifts of substantial value,
                          kickbacks, lavish or extensive entertainment, or other things of value to any officer, director,
                          employee, agent, or representative of COMPANY, or any family member thereof, or received
                          same from any vendor, supplier, or contractor in connection with this CONTRACT or b) paid any
                          fee, commission, rebate, or anything of value to or for the benefit of any official or functionary of
                          the govemment having jurisdiction over the WORKSITE and acknowledges that the giving or
                          receiving of any such payments, gifts, kickbacks, extensive entertainment or anything of value is
                          strictly in violation of COMPANY's corporate policy and may result in the cancellation of this
                          CONTRACT and other contracts. CONTRACTOR shall notify COMPANY's security department
                          of any such solicitation at the following corporate number in the USA 1-800-225-6141 or in the
                          UK 0 (20) 7 496 4496.

                          CONTRACTOR's compliance with the provisions of this Clause 18.4 is subject to audit by
                          COMPANY.

                 19.      INDEMNITIES

                 19.1     Personal Injury or Property Damage suffered by CONTRACTOR GROUP

                          CONTRACTOR shall be responsible for and shall save, indemnify, release, defend and
                          hold harmless COMPANY GROUP and SERVICE COMPANY GROUP from and against all
                          claims, losses, damages, costs (including legal costs) expenses and liabilities in respect
                          of:

                          (a)     except as otherwise provided herein, loss of or damage to property or equipment
                                  of CONTRACTOR GROUP not including any equipment provided by any member
                                  of SERVICE COMPANY GROUP whether owned, hired, leased or otherwise



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                                  provided by CONTRACTOR GROUP arising from or relating to the performance of
                                  the CONTRACT located at the WORKSITE including ingress, egress, loading, and
                                  unloading of personnel or cargo;

                          (b)     personal injury including death or disease to any person employed by
                                  CONTRACTOR GROUP arising from or relating to the performance of the
                                  CONTRACT including ingress, egress, loading, and unloading of personnel or
                                  cargo.

                 19.2     Personal Injury or Property Damage suffered by COMPANY GROUP

                          COMPANY shall be responsible for and shall save, indemnify, release, defend and hold
                          harmless CONTRACTOR GROUP from and against any claims, losses, damages, costs
                          (including legal costs) expenses, and liabilities in respect of:

                          (a)     loss of or damage to property or equipment of COMPANY GROUP whether owned,
                                  hired, leased or otherwise provided by COMPANY GROUP, not including any
                                  equipment provided by any member of SERVICE COMPANY GROUP arising from
                                  or related to the performance of CONTRACT located at the WORKSITE including
                                  ingress, egress, loading, and unloading of personnel or cargo;

                          (b)     personal injury including death or disease to any person employed by COMPANY
                                  GROUP arising from or relating to the performance of the CONTRACT including
                                  ingress, egress, loading, and unloading of personnel or cargo.

                 19.3     Loss, Damage, Injury or Death suffered by Third Parties

                          (a)      Subject to Clause 19.4(a), CONTRACTOR shall be responsible for and shall
                                   release, save, indemnify, defend and hold harmless COMPANY GROUP and
                                   SERVICE COMPANY GROUP from and against all claims, losses, damages, costs
                                   (including legal costs) expenses and liabilities in respect of personal injury
                                   including death or disease or loss of or damage to the property or equipment of
                                   any Third Party to the extent that any such injury, loss or damage is caused by
                                   the negligence or breach of duty (whether statutory or otherwise) of
                                   CONTRACTOR GROUP. For the purpose of this Clause, "Third Party" shall mean
                                   any party which is not a member of COMPANY GROUP or CONTRACTOR GROUP.

                          (b)      Subject to Clause 19.4(b), COMPANY shall be responsible for and shall release,
                                   save, indemnify, defend and hold harmless CONTRACTOR GROUP from and
                                   against any claims, losses, damages, costs (including legal costs) expenses and
                                   liabilities in respect of personal injury including death or disease or loss of or
                                   damage to the property or equipment of any Third Party to the extent that any
                                   such injury, loss or damage is caused by the negligence or breach of duty
                                   (whether statutory or otherwise) of COMPANY GROUP. For the purposes of this
                                   Clause, "Third Party" shall mean any party which is not a member of
                                   CONTRACTOR GROUP or COMPANY GROUP.

                 19.4     Pollution

                          (a)      Notwithstanding the provIsions of Clause 19.3(a) and except as provided by
                                   Clause 19.1(a), Clause 19.1(b) and Clause 19.4(b) COMPANY shall save,
                                   indemnify, release, defend and hold harmless CONTRACTOR GROUP from and
                                   against any claim of whatsoever nature arising from pollution and/or
                                   contamination including without limitation such pollution or contamination from



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                                   the reservoir or from the property or equipment of COMPANY GROUP arising
                                   from or related to the performance of the CONTRACT.

                          (b)      Notwithstanding the provisions of Clause 19.3(b) and except as provided by
                                   Clause 19.2(a) and Clause 19.2(b) CONTRACTOR shall save, indemnify, release,
                                   defend and hold harmless COMPANY GROUP and SERVICE COMPANY GROUP
                                   from and against any claim of whatsoever nature arising from pollution occurring
                                   on the premises of CONTRACTOR GROUP or originating from the property or
                                   equipment of CONTRACTOR GROUP located above the surface of the land or
                                   water arising from or relating to the performance of the CONTRACT.

                 19.5     CONTRACTOR's Tools and Equipment

                          Without limiting CONTRACTOR GROUP's obligation to furnish equipment which IS In
                          good working order and notwithstanding the provisions of Clause 19.1(a), COMPANY
                          shall be responsible for and shall reimburse CONTRACTOR GROUP in respect of loss of
                          or damage to property, materials or equipment (tools) or component part thereof, of
                          CONTRACTOR GROUP's tools and equipment which occurs whilst in-hole below the
                          rotary table other than normal wear and tear. COMPANY's liability for such loss or
                          damage shall, subject to the provisions contained in Section 4 - Remuneration and its
                          appendices, be either the actual repair or replacement cost, whichever is the lesser, as
                          substantiated by CONTRACTOR to COMPANY REPRESENTATIVE.

                          Notwithstanding the reasons for any loss or damage to CONTRACTOR's equipment,
                          nothing herein contained shall absolve CONTRACTOR from its obligation to provide such
                          equipment as and when reasonably required by COMPANY

                 19.6     Other COMPANY Responsibilities

                          Subject to Clauses 19.1 and 19.4(b), but notwithstanding anything contained elsewhere in
                          the CONTRACT to the contrary, COMPANY shall save, indemnify, release, defend and hold
                          harmless CONTRACTOR GROUP against all claims, losses, damages, costs (including
                          legal costs) expenses and liabilities resulting from:

                          (a)     loss or damage to any well or hole (including the cost to re-drill);

                          (b)     blowout, fire, explosion, cratering, or any uncontrolled well condition (including
                                  the costs to control a wild well and the removal of debris);

                          (c)     damage to any reservoir, aquifer, geological formation or underground strata or
                                  the loss of oil or gas therefrom;

                          (d)     the use of radioactive sources in relation to the WORK or any contamination
                                  resulting therefrom (including retrieval andlor containment, clean up and lor
                                  containment of contamination from naturally occurring radioactive materials).

                 19.7     Indemnities in their Entirety

                          All exclusions, releases of liabilities and indemnities given under this Clause (save for
                          those under Clauses 19.3(a) and 19.3(b» and Clause 21 shall apply irrespective of cause
                          and notwithstanding the negligence or breach of duty (whether statutory or otherwise) of
                          the indemnified PARTY or any other entity or party and shall apply whether or not the
                          claim, liability, damage, or expense in question is:



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                          (a)   predicated on sole, joint or concurrent fault, negligence (whether active, passive or
                                gross), strict liability, statutory duty, contractual indemnity or otherwise at law, or

                          (b)   sought directly or indirectly by way of recovery, indemnification, or contribution by
                                any person or entity against COMPANY GROUP, SERVICE COMPANY GROUP, or
                                CONTRACTOR GROUP as the case may be.

                 19.8     Claims

                          If either PARTY becomes aware of any incident likely to give rise to a claim under the
                          above indemnities, they shall notify the other and both PARTIES shall co-operate fully in
                          investigating the incident.

                 19.9     It is the intent of the PARTIES hereto that the releases of liability and indemnities
                          furnished by CONTRACTOR in this Clause and in Clause 21 and the releases of liability
                          and indemnities given by SERVICE COMPANY in COMPANY contracts shall apply:

                          (a)    save as provided below for the benefit of the SERVICE COMPANY GROUP in the
                                 case of the releases of liability and indemnities furnished by CONTRACTOR; and,

                          (b)    for the benefit of CONTRACTOR GROUP in the case of the releases of liability and
                                 indemnities given by the SERVICE COMPANY in COMPANY contracts.

                          The releases of liability, indemnities, defense, save and hold harmless provisions given
                          by CONTRACTOR in Clauses 19 and 21 herein in favor of SERVICE COMPANY GROUP
                          shall be provided by CONTRACTOR on the express understanding that they shall apply in
                          favor only of such SERVICE COMPANY(IES) who have provided substantially similar
                          reciprocal releases of liability, indemnities, defense, save and hold harmless provisions
                          in favor of CONTRACTOR GROUP in their respective contracts with COMPANY. The
                          releases of liability, indemnities, defense, save and hold harmless provisions provided by
                          CONTRACTOR in Clauses 19 and 21 herein in favor of SERVICE COMPANY GROUP shall
                          become effective from such time and for such duration as such SERVICE COMPANY(IES)
                          become bound by substantially similar reciprocal releases of liability, indemnities,
                          defense, save and hold harmless provisions in favor of CONTRACTOR GROUP in their
                          respective contracts with COMPANY.

                          In fulfillment of this objective, COMPANY shall use its reasonable endeavors to ensure
                          that in its respective contracts with SERVICE COMPANY(IES), the releases of liability,
                          indemnities, defense, save and hold harmless provisions contained in such contracts in
                          favor of CONTRACTOR GROUP shall be substantially similar to the releases of liability,
                          indemnities, defense, save and hold harmless provisions given by CONTRACTOR in
                          Clauses 19 and 21 herein in favor of SERVICE COMPANY GROUP.

                          In the event that COMPANY is unable to fully fulfill the foregoing objective, COMPANY
                          shall, without delay, notify CONTRACTOR in writing with details of the additional risk
                          being assumed by CONTRACTOR, as soon as is reasonably practicable thereafter and the
                          PARTIES further undertake to meet to discuss ways of minimizing the impact of such a
                          notification within the overall requirements of the CONTRACT. Failure by COMPANY to
                          issue such written notification as required herein will constitute a material breach of the
                          terms of the CONTRACT.

                          In the event that COMPANY advises CONTRACTOR that one of more SERVICE
                          COMPANY(IES) have declined to provide substantially similar releases of liability,
                          indemnities, defense, save and hold harmless provisions in favor of CONTRACTOR



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                          GROUP in their respective contracts with COMPANY, the PARTIES shall meet to discuss
                          and agree ways of minimizing the impact of such additional risks as may be identified by
                          either PARTY which may include: alternative working practices or arrangements to
                          minimize the impact of such risks; a separate mutual hold harmless agreement applicable
                          at the WORKSITE or additional compensation to enable CONTRACTOR to insure against
                          such additional risks.

                          Notwithstanding the foregoing, the failure of one of more SERVICE COMPANY(IES) to
                          provide substantially similar releases of liability, indemnities, defense, save and hold
                          harmless provisions in favor of CONTRACTOR GROUP in its respective contracts with
                          COMPANY as envisaged herein shall cause such SERVICE COMPANY(IES) to be
                          considered a Third Party for the purpose of Clause 19.3 herein.

                 19.10     CONTRACTOR and COMPANY expressly acknowledge that the indemnities and releases
                           of liability contained in this CONTRACT require assumption of liability for the negligence
                           of the other party. In the event this CONTRACT is subject to the indemnity limitations in
                           Chapter 127 of the Texas Civil Practices and Remedies Code (or any successor statute),
                           and so long as such limitations are in force, each party covenants and agrees to support
                           the mutual indemnity and release obligations contained in Clauses 19.1 and 19.2 above,
                           by carrying equal amounts of insurance (or qualified self-insurance) of the types and in
                           the amounts not less than those specified in Appendix 1 for the benefit of the other party
                           as indemnitee.

                 20.      INSURANCE BY CONTRACTOR

                 20.1     CONTRACTOR shall arrange as a minimum the insurances set out in the CONTRACT and
                          ensure that they are in full force and effect throughout the life of the CONTRACT.

                          All such insurances shall be placed with reputable and substantial insurers, reasonably
                          satisfactory to COMPANY.

                          All insurances (including insurances provided by SUBCONTRACTORs), other than
                          Employers Liability Insurance I Workmen's Compensation only, shall to the extent of the
                          liabilities assumed and indemnities offered by CONTRACTOR under the CONTRACT,
                          include COMPANY, CO-VENTURERS and its and their respective AFFILIATES as
                          additional assureds.

                          All insurances shall, to the extent of the liabilities assumed and indemnities offered by
                          CONTRACTOR under the CONTRACT, be endorsed to provide that underwriters waive
                          any rights of recourse, including in particular subrogation rights against COMPANY, CO-
                          VENTURERS, SERVICE COMPANY(IES), and its and their respective AFFILIATES in
                          relation to the CONTRACT.

                          Such insurances shall also where pOSSible, provide that COMPANY shall be given not
                          less than thirty (30) days notice of cancellation of or material change to cover. The
                          provisions of this Clause 20 shall in no way limit the liability of CONTRACTOR under the
                          CONTRACT.

                          COMPANY's insurances in respect of the operations under the CONTRACT shall, to the
                          extent of the liabilities assumed and indemnities offered by COMPANY under the
                          CONTRACT, contain waivers of subrogation in favor of CONTRACTOR GROUP.

                          Notwithstanding the above paragraph, the provision that CONTRACTOR's underwriters
                          waive any right of recourse against SERVICE COMPANY(IES) and their AFFILIATES,



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                          including in particular subrogation rights against the SERVICE COMPANY(IES) and their
                          AFFILIATES, in relation to the CONTRACT, are given with the express understanding that
                          they shall only apply where such SERVICE COMPANY(IES)' underwriters have provided
                          reciprocal waivers of rights of recourse including subrogation rights against
                          CONTRACTOR GROUP and only from such time as such SERVICE COMPANY(IES)'
                          underwriters become bound by such reciprocal waivers of rights of recourse including
                          subrogation rights and only for the duration they remain bound by such reciprocal
                          waivers.

                 20.2     The following insurance policies and coverages are required:

                          (a)       Workers' Compensation Insurance satisfying the legal requirements of each state
                                    and/or location in which WORK is to be performed, including an Alternative Employer
                                    endorsement (when applicable) with minimum limits in accordance with applicable
                                    legislation to meet CONTRACTOR's obligation for the payment of statutory benefits to
                                    its workers as set forth and required by applicable law in the area of operation or area
                                    in which CONTRACTOR may become obligated to pay benefits, and Employer's
                                    Liability Insurance with minimum limits of $1 ,000,000 per occurrence.

                          (b)       Commercial General Liability Insurance, including bodily injury and property damage,
                                    with minimum limits not less than S1 000000.00 per occurrence. The Commercial
                                    General Liability policy shall include the following coverages as they apply to the
                                    WORK to be performed; each with minimum limits not less than $1,000,000.00 per
                                    occurrence.

                                    i)            Independent Contractors' and Contractual Liability coverage required for all
                                                  WORK, without exception;

                                    ii)           Products Liability/Completed Operations coverage required for any WORK
                                                  that results in a finished product or that involves or results in the
                                                  construction, erection, or installation of structures, buildings, or equipment;

                                    iii)          Explosion, collapse, and underground hazards coverage required for any
                                                  WORK involving excavation, blasting, use of explosives, or construction,
                                                  erection, or installation of buildings, structures, or equipment; and

                                    iv)           Deletion of non-owned watercraft exclusion if any WORK is performed on
                                                  or over navigable waters or involves maritime workers or vessels.

                          (c)              Automobile Liability Insurance with minimum limits not less than $1,000,000.00, and
                                           including bodily injury, property damage, and auto liability, for all owned, hired, and
                                           non-owned vehicles that will be used in the performance of WORK under this
                                           CONTRACT.

                          (d)              In the event any of the WORK to be performed under this CONTRACT involves
                                           maritime workers or the provision of vessels by CONTRACTOR or is performed on
                                           or over navigable waters, CONTRACTOR shall or shall require the owner or operator
                                           of vessels to obtain the following additional coverage:

                                    i)            Workers' Compensation Insurance in accordance with applicable legislation
                                                  to meet CONTRACTOR's obligation for the payment of statutory benefits to
                                                  its workers as set forth and required by applicable law in the area of
                                                  operation or area in which CONTRACTOR may become obligated to pay




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                                              benefits including the following endorsements and Employer's Liability
                                              Insurance with minimum limits of $1,000,000 per occurrence.

                                                     Maritime coverage B and coverage for maritime employer's liability,
                                                     including Jones Act, transportation, wages, and maintenance and cure;

                                                     United States Longshore and Harbor Workers Compensation Act
                                                     endorsement and Outer Continental Shelf Lands Act endorsement; and

                                                     "In rem" endorsement treating "in rem" claims as claims against the
                                                     insured.

                                    ii)       Protection and Indemnity insurance on each vessel owned or chartered by
                                              CONTRACTOR with minimum limits of $2,000,000, or an amount equal to
                                              the declared value of each vessel owned or hired by CONTRACTOR,
                                              whichever is greater, and including coverage for collision and tower's liability,
                                              third party bodily injury and property damage liability, and pollution liability.

                                    iii)      Hull and Machinery insurance on each vessel owned or chartered by
                                              CONTRACTOR in the amount of the declared value of the vessels owned or
                                              hired by CONTRACTOR

                                    iv)       All primary and excess Protection and Indemnity and Hull and Machinery
                                              insurance shall be endorsed to provide full coverage to COMPANY GROUP
                                              as additional insured without limiting coverage to liability "as owner" of the
                                              vessel and to delete any "as owner" clause and any other language
                                              purporting to limit coverage to liability of an insured "as owner" of the vessel.
                                              For clarification purposes, the reference to "full coverage to COMPANY
                                              GROUP as an additional insured" is intended to limit coverage to COMPANY
                                              GROUP only to and to the extent of the liabilities assumed by
                                              CONTRACTOR under this CONTRACT.

                                    v)       Excess or Umbrella liability insurance with minimum limits not less than
                                             $1,000,000.00 inclusive of and, following the terms and conditions at least as
                                             broad as underlying coverage.

                 20.3     CONTRACTOR shall supply COMPANY with evidence of such insurance on demand in the form
                          of certificates of insurance on industry standard forms.

                 20.4     CONTRACTOR shall ensure that SUBCONTRACTORs are insured to appropriate levels as may
                          be relevant to their work.

                 21.      CONSEQUENTIAL LOSS

                          For the purposes of this Clause 21, the expression "Consequential Loss" shall mean
                          consequential loss or damages under applicable law and/or any indirect, special,
                          incidental, punitive, or consequential losses or damages, including without limitation loss
                          of production, loss of product, loss of use, loss of business and business interruption and
                          loss of revenue, profit or anticipated profit whether direct or indirect arising from or
                          related to the performance of the CONTRACT and whether or not such losses were
                          foreseeable at the time of entering into the CONTRACT except to the extent such
                          consequential, indirect, and/or special damages, loss of profits, loss of production, or
                          loss of use are part of a Third Party claim for which a party is seeking contribution or
                          indemnification pursuant to this CONTRACT. For the purpose of this Clause, "Third Party"


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                          shall mean any party which is not a member of COMPANY GROUP or CONTRACTOR
                          GROUP and "Third Party claim" shall mean any claim raised by a Third Party not claiming,
                          directly or indirectly, by or through any member of COMPANY GROUP or CONTRACTOR
                          GROUP.

                          Notwithstanding any provisions to the contrary elsewhere in the CONTRACT and except
                          to the extent of any agreed liquidated damages or any termination fees provided for in the
                          CONTRACT, COMPANY shall save, indemnify, release, defend and hold harmless
                          CONTRACTOR GROUP from COMPANY GROUP's own Consequential Loss and
                          CONTRACTOR shall save, indemnify, release, defend and hold harmless COMPANY
                          GROUP and SERVICE COMPANY GROUP from CONTRACTOR GROUP's own
                          Consequential Loss. CONTRACTOR's obligation with respect to SERVICE COMPANY
                          GROUP shall be subject to the provisions of Clause 19.9.

                 22.      CONFIDENTIALITY

                 22.1     CONTRACTOR shall at no time without the prior agreement of COMPANY either:

                          (a)     make any publicity releases or announcements concerning the subject matter of the
                                  CONTRACT: or

                          (b)     publish or permit to be published either alone or in conjunction with any other person any
                                  articles, photographs or other illustrations relating to the WORK hereunder, or
                                  COMPANY's business generally, without prior reference to and approval in writing from
                                  COMPANY. Such consent shall only apply to each specific application and relate only to
                                  that application. The accuracy of any information which was not supplied directly by
                                  COMPANY shall be the absolute responsibility of CONTRACTOR; or

                          (c)     except as may be necessary to enable CONTRACTOR to perform its obligations under
                                  the CONTRACT, use, reproduce, copy, disclose to, place at the disposal of or use on
                                  behalf of any third party or enable any third party to use, peruse or copy any information
                                  including, but not limited to, drawings, data, and computer software which;

                                  (i)     is provided to CONTRACTOR by or on behalf of COMPANY, the CO-
                                          VENTURERS or its ortheir AFFILIATES in or in relation to the CONTRACT; or

                                  (ii)    vest in COMPANY in accordance with the CONTRACT; or

                                  (iii)   CONTRACTOR prepares in connection with the WORK.

                          In the event CONTRACTOR discloses any information to any third party under the provisions of
                          Clause 22.1 (b), CONTRACTOR shall be responsible for ensuring that such third party keeps any
                          such information confidential and complies with all requirements of this Clause 22.1.

                 22.2     The provisions of Clause 22.1 shall not apply to information which:

                          (a)     is or becomes part of the public domain; or

                          (b)     was in the possession of CONTRACTOR prior to award of the CONTRACT and which
                                  was not subject to any obligation of confidentiality owed to COMPANY; or

                          (c)     was received from a third party whose possession is lawful and who is under no
                                  obligation not to disclose; or



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                          (d)     is required to be disclosed in order to comply with the requirements of any law, rule or
                                  regulation of any governmental or regulatory body having jurisdiction over the WORK or
                                  CONTRACTOR, or of any relevant stock exchange; or

                          (e)     is used or disclosed by CONTRACTOR five (5) years, or such other period specified in
                                  Appendix 1 to Section 2, after the completion of the WORK.

                          (f)     was owned exclusively, developed exclusively or developed independently by
                                  CONTRACTOR and does not mention COMPANY or WORK in any respect.

                 22.3     CONTRACTOR shall ensure that the provisions of this Clause are incorporated in any
                          SUBCONTRACT and that the officers, employees, and agents of CONTRACTOR and of the
                          SUBCONTRACTORs comply with the same.

                 22.4     All information provided by CONTRACTOR which CONTRACTOR wishes to remain confidential
                          shall be clearly marked as being confidential but no markings shall be required for
                          CONTRACTOR's pricing information and trade secrets. COMPANY shall nevertheless be
                          entitled, subject to CONTRACTOR's consent which shall not be unreasonably withheld or
                          delayed, to use and disclose any such confidential information to third parties to the extent
                          necessary for the execution and maintenance of the project in connection with which the WORK
                          is to be performed and in relation to any statutory or other legal requirement.

                          With the above exceptions COMPANY will take all reasonable measures to protect the
                          confidentiality of such information.

                 23.      TERMINATION

                 23.1     COMPANY shall have the right by giving notice to terminate all or any part of the WORK or the
                          CONTRACT at such time or times as COMPANY may consider necessary for any or all of the
                          following reasons:

                          (a)     to suit the convenience of COMPANY;

                          (b)     in the event of i) a default on the part of the CONTRACTOR; or ii) any DEFECTS in the
                                  WORK, subject to the provisions of Clause 10; and

                          (c)     in the event of CONTRACTOR becoming bankrupt or making a composition or
                                  arrangement with its creditors or a winding-up order of CONTRACTOR being made or
                                  (except for the purposes of amalgamation or reconstruction) a resolution for its voluntary
                                  winding-up passed or a provisional liquidator, receiver, administrator or manager of its
                                  business or undertaking appointed or presenting a petition or having a petition presented
                                  applying for an administration order to be made, or possession being taken by or on
                                  behalf of the holders of any debenture secured by a floating charge of any property
                                  comprised in or subject to the floating charge, or any equivalent act or thing should be
                                  done or suffered under any applicable law.

                 23.2     In the event of default on the part of CONTRACTOR and before the issue by COMPANY of an
                          order of termination of all or any part of the WORK or the CONTRACT, COMPANY shall give
                          notice of default to CONTRACTOR giving the details of such default. If CONTRACTOR upon
                          receipt of such notice does not commence and thereafter continuously proceed with action
                          satisfactory to COMPANY to remedy such default COMPANY may issue a notice of termination
                          in accordance with the provisions of Clause 23.1 .




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                 23.3     In the event of COMPANY giving CONTRACTOR notice of termination of all or any part of the
                          WORK or the CONTRACT, such notice shall become effective on the date specified therein (or in
                          the absence of any specified date at the date of receipt of the notice) whereupon CONTRACTOR
                          shall immediately:

                          (a)     cease performance of the WORK or such part thereof as may be specified in the notice
                                  and may remove its equipment from WORKSITE;

                          (b)     allow COMPANY or its nominee full right of access to take over the WORK or the
                                  relevant part of the WORK;

                          (c)     assign to COMPANY, or its nominee, to the extent desired by COMPANY all or the
                                  relevant parts of the rights, titles, liabilities, and SUBCONTRACTS relating to the WORK
                                  which CONTRACTOR may have acquired or entered into.

                 23.4     In the event of termination under Clause 23.1 (a) CONTRACTOR shall be entitled to payment as
                          set out in Section 4 - Remuneration for the part of the WORK performed in accordance with the
                          CONTRACT together with such other payments and fees as may be set out in that Section or
                          such reasonable costs as agreed between the PARTIES at the time of termination.

                 23.5     In the event of termination of part or all of the WORK or the CONTRACT in accordance with
                          Clause 23.1 (b) or Clause 23.1 (c) the following conditions shall apply:

                          (a)     CONTRACTOR shall cease to be entitled to receive any money or monies on account of
                                  the CONTRACT until the costs of completion and all other costs arising as a result of
                                  CONTRACTOR's default or other events giving rise to the termination have been finally
                                  ascertained;

                          (b)     thereafter and subject to any deductions that may be made under the provisions of the
                                  CONTRACT, CONTRACTOR shall be entitled to payment only as set out in Section 4 -
                                  Remuneration for the part of the WORK completed in accordance with the CONTRACT
                                  up to date of termination and;

                          (c)     any additional costs reasonably incurred by COMPANY as a direct result of such
                                  termination shall be recoverable from CONTRACTOR. CONTRACTOR's liability in
                                  respect of the foregoing shall be limited to thirty percent (30%) of the price of the specific
                                  element of the WORK leading to the notice of tennination plus all reasonable and
                                  documented third party mobilization (and de-mobilization, as applicable) costs necessary
                                  to re-perform the WORK or services in question or to remedy the default.

                 23.6     In the event that a single period of force majeure continues longer than thirty (30) days unless
                          the PARTIES have agreed alternative arrangements as described in Clause 12.6, then either
                          PARTY shall be entitled to terminate the WORK ORDER or CONTRACT by giving the other
                          PARTY ten (10) days written notice of termination and the PARTIES will have no additional
                          obligations to each other as a result of said termination.

                 24.      AUDIT

                 24.1     During the course of the WORK and for a period ending twenty-four (24) months after the date of
                          its termination, or final payment, whichever occurs last, COMPANY or its duly authorized
                          representative shall have the right to audit at all reasonable times and, upon request, take copies
                          of all of CONTRACTOR's records (written or electronic fonn or media), books, personnel
                          records, accounts, correspondence, memoranda, receipts, vouchers and other papers of every
                          kind relating to;


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                          (a)    all invoiced charges made by CONTRACTOR on COMPANY, and

                          (b)    any provision of this CONTRACT under which the CONTRACTOR has obligations, the
                                 performance of which is capable of being verified by audit including without limitation
                                 COMPANY ethical conduct expectations expressed in Section 8 - Code of Conduct.

                          In this respect, COMPANY shall not generally be entitled to investigate the make up of rates and
                          lump sums included in the CONTRACT except to the extent necessary for the proper evaluation
                          of any CHANGE ORDERS, CONTRACTOR shall also have the right to exclude any trade
                          secrets, formulas or processes from such audit by COMPANY nor will COMPANY be allowed
                          access to CONTRACTOR's proprietary or trade secret information unless otherwise specifically
                          agreed between the PARTIES.

                  24.2    CONTRACTOR shall co-operate fully with COMPANY and/or its representatives in the carrying
                          out of any audit required by COMPANY. COMPANY will conduct any audit in a manner, which
                          will keep to a reasonable minimum any inconvenience to CONTRACTOR.

                          In the event that such audit or audits reveal any error or discrepancy of any nature whatever,
                          such error or discrepancy will be promptly corrected and any amount owing or due to either
                          COMPANY or CONTRACTOR, will be promptly paid by the other PARTY. COMPANY shall
                          have this right to audit CONTRACTOR's accounts and records only after delivery of written
                          notice to CONTRACTOR in accordance with the provisions for notices set forth above.

                  24.3    CONTRACTOR shall obtain equivalent rights of audit to those specified above from all
                          SUBCONTRACTORs and will cause such rights to extend to COMPANY

                 25.      LIENS

                 25.1     CONTRACTOR shall not claim any lien, charge or the like on the WORK or on any property of
                          COMPANY in the possession of CONTRACTOR or at the WORKSITE.

                 25.2     Without prejudice to any other provisions of this Clause, CONTRACTOR shall save,
                          indemnify, release, defend and hold harmless COMPANY from and against all liens,
                          attachments, charges or claims by any of its SUBCONTRACTORs or persons alleging to
                          be SUBCONTRACTORs in connection with or arising out of the CONTRACT.

                 25.3     CONTRACTOR shall immediately notify COMPANY of any possible lien, attachment, charge or
                          claim which may affect the WORK or any part thereof.

                 25.4     If at any time there is evidence of any lien, attachment, charge or claim to which, if
                          established, COMPANY or its property might be subjected, whether made by any persons
                          against CONTRACTOR or made by any of its SUBCONTRACTORs or person alleging to be
                          a SUBCONTRACTOR against COMPANY, then COMPANY shall have the right to withhold
                          and/or set off or otherwise recover from CONTRACTOR such sum of money as will fully
                          indemnify COMPANY against any such lien, attachment, charge or claim.

                 25.5     Before taking any action in accordance with Clause 25.4, COMPANY shall give to
                          CONTRACTOR a reasonable opportunity to demonstrate that the purported lien, attachment,
                          charge or claim is either unenforceable or is covered by the provisions of an enforceable policy of
                          insurance.

                 25.6     For the purpose of this Clause reference to COMPANY shall include the CO-VENTURERS and
                          its and their AFFILIATES.



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                 26.      BUSINESS ETHICS

                 26.1     CONTRACTOR shall perform the WORK for COMPANY's exclusive benefit. This obligation
                          shall be applicable to CONTRACTOR's agents and employees; they must provide the diligence
                          and care required to prevent any action or condition which might result in a conflict with
                          COMPANY's interests. CONTRACTOR's efforts shall include, but not be limited to, the
                          establishment of measures to prevent its personnel from giving or receiving gifts, payments,
                          loans, or any other inducement, for any purpose whatsoever from any person, finrn, corporation
                          or other body in connection with the performance of the CONTRACT.

                 26.2     COMPANY's Code of Conduct is entitled "Our commitment to integrity" (hereafter referred to as
                          the "BP Code of Conduct"). A copy of the BP Code of Conduct can be obtained using the web
                          link highlighted Section 8 - Code of Conduct. COMPANY requires CONTRACTOR and each
                          SUBCONTRACTOR to carefully review the BP Code of Conduct.                 In connection with
                          CONTRACTOR's and each SUBCONTRACTOR's performance of this CONTRACT,
                          CONTRACTOR and each SUBCONTRACTOR undertakes and agrees to act consistently with
                          the BP Code of Conduct, and with any updated or amended version of the BP Code of Conduct
                          provided to CONTRACTOR from time to time, and to adhere to the principles set out within it.
                          CONTRACTOR accepts and acknowledges that compliance with ethical practices is a core
                          business value of COMPANY and accordingly any failure on the part of CONTRACTOR or any
                          SUBCONTRACTOR to act in a manner consistent with the BP Code of Conduct shall be
                          considered a material breach of this CONTRACT. CONTRACTOR and all SUBCONTRACTORs
                          shall ensure that their personnel are made aware of the BP Code of Conduct.

                 27.      GENERAL LEGAL PROVISIONS

                 27.1     Waiver

                          None of the terms and conditions of the CONTRACT shall be considered to be waived by either
                          COMPANY or CONTRACTOR unless a written waiver is given by one PARTY to the other. No
                          failure on the part of either party to enforce any of the tenrns and conditions of the CONTRACT
                          shall constitute a waiver of such terms.

                 27.2     Retention of Rights

                          Subject to the provisions of Clauses 19, 21, 27.10, 29, and 33 unless otherwise specifically
                          stated in the CONTRACT, both COMPANY and CONTRACTOR shall retain all rights and
                          remedies, both under the CONTRACT and at Law, which either may have against the other.

                          CONTRACTOR shall not be relieved from any liability or obligation under the CONTRACT by any
                          review, approval, authorization, acknowledgement orthe like, by COMPANY.

                 27.3     CONTRACTOR's AFFILIATES

                          Any limitation of liability given by COMPANY to CONTRACTOR under the CONTRACT shall
                          include the AFFILIATES of CONTRACTOR.

                 27.4     Independence of CONTRACTOR




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                          CONTRACTOR shall act as an independent contractor with respect to the WORK and shall
                          exercise control, supervision, management, and direction as to the method and manner of
                          obtaining the results required by COMPANY.

                          In all cases where CONTRACTOR's EMPLOYEES (defined to include CONTRACTOR's and its
                          SUBCONTRACTOR's direct, borrowed, special, or statutory employees) are performing work in
                          or offshore the State of Louisiana or are otherwise covered by the Louisiana Workers'
                          Compensation Act, La. RS. 23:1021 et seq., COMPANY and CONTRACTOR agree that all
                          WORK and operations performed by CONTRACTOR and CONTRACTOR's EMPLOYEES
                          pursuant to this CONTRACT are an integral part of and are essential to the ability of COMPANY
                          to generate COMPANY's goods, products, and services for the purpose of La. RS. 23:1061 (A)
                          (1). Furthermore, COMPANY and CONTRACTOR agree that COMPANY is the statutory
                          employer of CONTRACTOR's EMPLOYEES for purposes of La. RS. 23:1061 (A) (3) and that
                          COMPANY shall be entitled to the protections afforded a statutory employer under Louisiana law.
                          Irrespective of COMPANY's status as the statutory or special employer (as defined in La. RS.
                          23:1031 (C» of CONTRACTOR's EMPLOYEES, CONTRACTOR shall remain primarily
                          responsible for the payment of Louisiana workers' compensation and medical benefits to its
                          employees, and shall not be entitled to seek contribution for any such payments from COMPANY
                          or any member of COMPANY GROUP, and CONTRACTOR further agrees that it will indemnify
                          COMPANY and any member of COMPANY GROUP for any such payments and that
                          CONTRACTOR will be obligated to release, defend, and indemnify COMPANY GROUP for any
                          personal injury , death, disease or property damage claims relating to CONTRACTOR's
                          EMPLOYEES pursuant to the provisions of Clause 19.1 of this CONTRACT even if any such
                          employee of CONTRACTOR is also held to be an employee (whether a statutory, special or
                          borrowed employee, or otherwise) of COMPANY or any member of COMPANY GROUP.

                 27.5     Governing Law and Language

                          This CONTRACT shall be construed and enforced in accordance with the GENERAL MARITIME
                          LAW of the United States wherever permissible; otherwise, the laws of the State of Texas shall
                          apply, excepting therefrom any conflicts of laws rules which might provide for the application of
                          the laws of another jurisdiction. Subject to Clause 28, the PARTIES agree to submit any dispute
                          arising hereunder to the jurisdiction of the courts of the State of Texas and further agree that
                          venue for the resolution of any such dispute shall be found in Harris County, Texas.

                 27.6     Notices

                          All notices in respect of the CONTRACT shall be given in writing and delivered by hand, by
                          telefax or by first class post to the relevant address specified in Appendix 1 hereto and copied to
                          such other office or offices of the PARTIES as shall from time to time be nominated by them in
                          writing to the other.

                          Such notices shall be effective:

                          (a)       if delivered by hand, at the time of delivery;

                          (b)       if sent by telefax, on the first working day at the recipient address following the date of
                                    sending;

                          (c)       if sent by first class post, 48 hours after the time of posting.

                 27.7     Status of COMPANY

                          COMPANY enters into the CONTRACT either:


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                          a)      for itself and as agent for and on behalf of its other CO-VENTURERS; or

                          b)      as agent for and on behalf of an AFFILIATE and the CO-VENTURERS of that
                                  AFFILIATE (in which case this CONTRACT other than this Clause 27.7 shall be
                                  interpreted as though all references to "COMPANY" were references to that AFFILIATE).

                          Notwithstanding a) above:

                          (c)     CONTRACTOR agrees to look only to COMPANY for the due performance of the
                                  CONTRACT and nothing contained in the CONTRACT will impose any liability upon, or
                                  entitle CONTRACTOR to commence any proceedings against any CO-VENTURER
                                  other than COMPANY;

                          (d)     COMPANY is entitled to enforce the CONTRACT on behalf of all CO-VENTURERS as
                                  well as for itself. For that purpose COMPANY may commence proceedings in its own
                                  name to enforce all obligations and liabilities of CONTRACTOR and to make any claim
                                  which any CO-VENTURER may have against CONTRACTOR.

                          Notwithstanding b) above:

                          (e)     CONTRACTOR agrees to look only to the AFFILATE of COMPANY for the due
                                  performance of the CONTRACT and nothing contained in the CONTRACT will impose
                                  any liability upon, or entitle CONTRACTOR to commence any proceedings against
                                  COMPANY or CO-VENTURER of an AFFILIATE other than the AFFILIATE;

                          (f)     the AFFILATE of COMPANY is entitled to enforce the CONTRACT on behalf of
                                  COMPANY and all CO-VENTURERS of that AFFILIATE as well as for itself. For that
                                  purpose the AFFILIATE may commence proceedings in its own name to enforce all
                                  obligations and liabilities of CONTRACTOR and to make any claim which COMPANY or
                                  CO-VENTURER of that AFFILIATE may have against CONTRACTOR.

                 27.8     Entire Agreement

                          The CONTRACT constitutes the entire agreement between the PARTIES hereto with respect to
                          the WORK and supersedes all prior negotiations, representations, or agreements related to the
                          CONTRACT, either written or oral. No amendments to the CONTRACT shall be effective unless
                          evidenced in writing and signed by the PARTIES to the CONTRACT.

                 27.9     Mitigation of Loss

                          Both COMPANY and CONTRACTOR shall take all reasonable steps to mitigate any loss
                          resulting from any breach of CONTRACT by the other PARTY.

                 27.10    Extent of Exclusion or Limitation of Liability

                          Any exclusion or limitation of liability under the CONTRACT shall exclude or limit such liability not
                          only in contract but also in tort or otherwise at law.

                 27.11    Invalidity and Severability

                          If any provision of this CONTRACT shall be found by any court or administrative body of
                          competent jurisdiction to be invalid or unenforceable, the invalidity or unenforceability of such
                          provision shall not affect the other provisions of this CONTRACT and all provisions not affected



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                          by such invalidity or unenforceability shall remain in full force and effect. COMPANY and
                          CONTRACTOR hereby agree to attempt to substitute, for any invalid or unenforceable provision,
                          a valid or enforceable provision which achieves to the greatest possible extent. the economic,
                          legal, and commercial objectives of the invalid or unenforceable provision.

                 27.12    CONTRACTS (RIGHTS OF THIRD PARTIES) ACT

                          (a)     Subject to Clause 27.12 (c), the PARTIES intend that no provision of the CONTRACT
                                  shall confer any benefit on, nor be enforceable by any person who is not a party to the
                                  CONTRACT.

                          (b)     For the purpose of this Clause 27.12, "Third Party" shall mean any member of
                                  COMPANY GROUP (other than COMPANy) or CONTRACTOR GROUP (other than
                                  CONTRACTOR) or in respect only of the provisions of Clauses 19, 20 and 21 hereof, the
                                  SERVICE COMPANY GROUP.

                          (c)     Subject to the remaining provisions of the CONTRACT,

                                  i)      Clause 17.7, Clause 17.8, Clause 19, Clause 20 and Clause 21 are intended to be
                                          enforceable by a Third Party; and

                                  ii)     Clause 27.3 is intended to be enforceable by the AFFILIATES of CONTRACTOR.

                          (d)     Notwithstanding Clause 27.12 (c), the CONTRACT may be rescinded, amended or
                                  varied by the PARTIES to the CONTRACT without notice to or the consent of any Third
                                  Party even if, as a result, that Third Party's right to enforce a term of this CONTRACT
                                  may be varied or extinguished.

                          (e)     The rights of any Third Party under Clause 27.12 (c) shall be subject to the following:

                                  i)     any claim, or reliance on any term of the CONTRACT by a Third Party against a
                                         party to the CONTRACT shall be notified in writing in accordance with the
                                         requirements of Clauses 19.8 and 27.6 by such Third Party to each party to the
                                         CONTRACT as soon as such Third Party becomes aware that an event is likely to
                                         give rise to such a claim and such notification shall contain the following
                                         information as a minimum:

                                         - details of the occurrence giving rise to the claim; and

                                         - the right relied upon by the Third Party under the CONTRACT,

                                  ii)    the provisions of Clause 28 shall apply in respect of any claim by a Third Party in
                                         that the relevant PARTIES agree to resolve any dispute between them in a prompt
                                         and amicable manner by adopting the provisions of Clause 28.

                                  iii)   the Third Party's written agreement to submit irrevocably to the jurisdiction of the
                                         State of Texas in respect of all matters relating to such rights.

                          (f)     In enforcing any right to which it is entitled and the provisions of this CONTRACT, the
                                  remedies of a Third Party shall be limited to damages.

                          (g)     A Third Party shall not be entitled to assign any benefit or right conferred on it under this
                                  CONTRACT.



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                 28.       RESOLUTION OF DISPUTES

                 28.1    In the event of a commercial dispute between the PARTIES arising out of or relating to this
                         CONTRACT, or the breach thereof, the PARTIES shall submit the dispute to non-binding
                         mediation and shall make a good-faith effort to resolve the dispute through the mediation process.
                         No suit may be filed relating to a commercial dispute arising pursuant to this CONTRACT until the
                         mediation requirements of this provision have been fulfilled. If such a suit is filed, the PARTIES
                         shall again submit the dispute to non-binding mediation prior to the trial of the suit. Each party
                         shall pay its costs of mediation. Expressly excluded from the requirements of this Clause 28 are
                         claims, suits, or disputes arising out of or relating to tort suits, indemnity, insurance, or assumption
                         of liability issues or provisions.


                 28.2    Whilst any matter or matters are in dispute, CONTRACTOR shall proceed with the execution and
                         completion of the WORK and both CONTRACTOR and COMPANY shall comply with all the
                         provisions of the CONTRACT.



                 29.      WARRANTY

                 29.1    CONTRACTOR warrants and guarantees that:

                         (a)   it shall exercise all reasonable skill, care and diligence in the performance of the
                               WORK and shall carry out the WORK in accordance with the requirements of the
                               CONTRACT and to internationally recognized good oilfield practices and standards;

                         (b)   it shall exercise diligence to ensure the completeness and safe transportation of all
                               acquired information including well logs, test and other information ("DATA"), arising
                               out of the performance of the WORK. CONTRACTOR does not warrant the accuracy
                               of DATA transmitted by electronic process, and CONTRACTOR will not be
                               responsible for accidental or intentional interception of such DATA by third parties;

                         (c)   any equipment and/or related spare parts provided or supplied by CONTRACTOR or
                               its SUBCONTRACTORs for the account of COMPANY: (i) shall meet the detailed
                               specification set forth in the CONTRACT; or (ii) where no detailed specification is
                               provided by COMPANY, shall be of good quality and workmanship and fit for the
                               intended purpose where a specific purpose is defined in the CONTRACT or, where no
                               specific purpose is defined, in fulfillment of the application for which it was designed.
                               CONTRACTOR warrants that all equipment and/or related spare parts provided or
                               supplied by CONTRACTOR or its SUBCONTRACTOR's and suppliers shall be free
                               from defects in material and/or workmanship during the WARRANTY PERIOD;

                         (d)   consumable materials and/or products provided or supplied by CONTRACTOR for the
                               account of COMPANY under the terms of the CONTRACT shall meet the detailed
                               specification as defined in this CONTRACT and where no such specification is
                               defined, shall conform to (1) where applicable, recognized industry standards or (2)
                               the standard grade and quality of products in the region.

                 29.2    The warranties and guarantees provided under Clause 29.1 shall not apply to:

                         (a)       consumable materials and/or products that have been modified and/or subjected
                                   to improper handling, storage, installation, operation or maintenance by any party
                                   other than CONTRACTOR and/or its SUBCONTRACTOR's and suppliers;




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                         (b)       equipment, spare parts, consumable materials, and/or products provided by
                                   COMPANY and free issued to CONTRACTOR in connection with the WORK;

                         (c)       samples which are provided by CONTRACTOR to COMPANY as examples or
                                   illustrations only of the general properties of CONTRACTOR's products and/or
                                   workmanship; and

                         (d)       damage to the equipment, materials and/or products caused by improper use by
                                   any party other than CONTRACTOR and/or its SUBCONTRACTOR's and suppliers
                                   by way of abrasive materials, corrosion due to aggressive fluids, lightning,
                                   improper voltage supply, mishandling or misapplication and the like.

                 29.3     CONTRACTOR may give COMPANY the benefit of its judgment based on its experience
                          interpreting information and making recommendations, either written or oral, as to DATA
                          or amount of material or type of oilfield service to be provided by CONTRACTOR, or the
                          manner of performance or in prediction of results. Notwithstanding the foregOing, all
                          such recommendations and/or predictions shall be received by COMPANY as opinions
                          only, and no warranty expressed or implied shall be inferred by COMPANY from such
                          recommendations and or in view of the impracticability of obtaining first-hand knowledge
                          of the many variable conditions, the reliance on inferences, measurements and
                          assumptions which are not infallible, and/or the necessity of relying on facts and
                          supporting oilfield services provided by others.

                 29.4     Save as expressly provided herein all warranties, conditions or other terms implied by
                          applicable law or otherwise are excluded to the fullest extent permitted by law (including
                          without limitation, implied warranties of merchantability and/or fitness for a particular
                          purpose) and, for the avoidance of doubt, no warranty condition or other term is given
                          that DATA resulting from the performance of the WORK will be fit for any particular
                          purpose (including without limitation, implied warranties of merchantability and/or fitness
                          for a particular purpose).

                 29.5     CONTRACTOR shall ensure that similar warranty undertakings are included in all
                          purchase orders with vendors and contracts entered into with its SUBCONTRACTORs
                          and/or suppliers who supply consumable materials/products and/or equipment and spare
                          parts in respect of the WORK. The foregoing obligation shall not apply to purchase
                          orders with vendors and contracts entered into with SUBCONTRACTORs and J or
                          suppliers in those instances where CONTRACTOR and COMPANY have agreed to use a
                          specific vendor and/or supplier and CONTRACTOR has obtained COMPANY's advance
                          written approval to modify the foregoing warranty undertakings.

                 29.6     In the event that any equipment and/or related spare parts or consumable materials
                          provided or supplied by CONTRACTOR do not conform to the warranties set forth in
                          Clause 29.1, COMPANY shall notify CONTRACTOR promptly upon the failure of such
                          warranty, and in any event during the WARRANTY PERIOD, specifying the nature and
                          extent of the failure in question. Upon receipt of such notice, CONTRACTOR shall
                          expeditiously proceed to repair or replace, at CONTRACTOR's sole cost, the equipment
                          and/or related spare parts or consumable materials in question.

                 30.      ACCESS TO LOCATIONS

                          COMPANY shall secure for CONTRACTOR and its SUBCONTRACTOR's rights of access to
                          and from the WORKSITES. COMPANY shall use its best endeavors to advise CONTRACTOR
                          of any limitations, restriction or conditions which may affect such access and CONTRACTOR
                          shall abide by such limitations, restrictions, and conditions as aforesaid.



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                 31.      HEALTH, SAFETY, ENVIRONMENT AND THE WELFARE OF PERSONNEL

                 31.1     COMPANY places prime importance on health, safety, security, and environmental (HSSE)
                          issues and requires that CONTRACTOR, SUBCONTRACTORs, and their subcontractors
                          subscribe to and actively pursue the highest standards of HSSE performance. CONTRACTOR
                          shall observe and comply with COMPANY Health, Safety, Security, and Environment Policy,
                          Regulations and Procedures as amended from time to time, copies of which will be provided by
                          COMPANY REPRESENTATIVE. CONTRACTOR shall familiarize itself with the following
                          documents:

                          a)     Getting HSE Right (gHSEr)
                          b)     BP's Golden Rules for Safety
                          c)     Drilling and Wells Operations Policy
                          d)     Specific local HSSE policies as defined in Appendix 5 to Section 7

                          It shall be the responsibility of CONTRACTOR to ensure that its personnel comply with said
                          policy, regulations, and procedures.

                 31.2     CONTRACTOR's personnel may be required by COMPANY to attend site induction for Health,
                          Safety and Environmental Policy, Regulations and Procedures before entering a WORKSITE
                          where any part of the WORK is to be performed and it shall be CONTRACTOR's responsibility to
                          establish with COMPANY which personnel must be inducted and to ensure their attendance.

                 31.3     CONTRACTOR shall ensure that its personnel are aware of and carry out their own obligations
                          with regard to health, safety, and environment including the strict obligation to report unsafe
                          working conditions, hazards, dangerous incidents, accidents, and environmental issues.

                 31.4     CONTRACTOR shall ensure that its personnel:

                          (a)    observe and comply with all relevant statutory obligations regarding health and safety at
                                 work, environmental protection and all applicable safety regulations and requirements;

                          (b)    are fully conversant with and comply with the working conditions, safety regulations and
                                 policies at all locations where the WORK is to be performed;

                          (c)    are familiar with all local safety instructions, regulations and policies applicable to the
                                 WORKSITE where the WORK is to be performed and comply with same;

                          (d)    endeavor to advise CONTRACTOR supervisor of any pre-existing medical disability or
                                 condition which may adversely effect their own health and safety or the health and safety
                                 of others;

                          (e)    endeavor to advise CONTRACTOR of over the counter drug warnings for medication they
                                 are taking and shall endeavor to ensure that personnel immediately advise
                                 CONTRACTOR supervisor where such usage may impact the individual's ability to
                                 perform safely.

                 31.5     CONTRACTOR's personnel shall obey and comply with all reasonable instructions or order
                          given to them by COMPANY REPRESENTATIVE or any officer of COMPANY in all matters
                          relating to health, safety, and the environment.

                 31.6      If requested by COMPANY and prior to mobilization of CONTRACTOR's personnel to the
                           WORKSITE, CONTRACTOR shall submit to COMPANY a certificate of a fully registered



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                           medical practitioner indicating medical fitness for duty at the WORKSITE. Cost associated with
                           the supply of this medical certificate shall be borne by COMPANY unless specifically addressed
                           in Section 3, Scope of Work.

                 31.7      WORK provided by CONTRACTOR personnel shall be conducted in accordance with the
                           prevailing health, safety, and environmental protection requirements in force in the WORKSITE
                           and in full accordance with statutory and local requirements.

                 31.8      CONTRACTOR shall endeavor to ensure that its personnel and recommendations for
                           performing the WORK are in accordance with World Health Organization recommendations.

                 31.9      If CONTRACTOR's personnel are required by COMPANY to work offshore or at remote sites
                           and are required to be evacuated to a medical facility for medical treatment, the costs of
                           evacuating CONTRACTOR's personnel to COMPANY's onshore supply base shall be borne by
                           COMPANY. In the event that medical evacuation was for a pre-existing medical condition that
                           was not disclosed by CONTRACTOR to COMPANY, the costs of evacuating CONTRACTOR's
                           personnel to COMPANY's onshore supply base shall be borne by CONTRACTOR COMPANY
                           reserves the right to recover on a cost recoverable basis within the scope of CONTRACTOR's
                           insurances for medical evacuations. All other transportation and medical treatment costs shall
                           be borne by CONTRACTOR

                 31.10     CONTRACTOR shall impose on its SUBCONTRACTORs the same obligations as are described
                           in this Clause 31 and shall ensure that its SUBCONTRACTORs comply therewith.

                 31.11     For the purposes of this Clause 31, all obligations of CONTRACTOR shall include its
                           SUBCONTRACTOR, AFFILIATES, its and their employees, servants, and agents.

                 31.12     CONTRACTOR shall observe and comply with the provisions of Section 7 - Health, Safety,
                           Security, and Environment and failure to meet these requirements or to satiSfy COMPANY with
                           regard to the control of HSSE risks in respect of the CONTRACT will be regarded as due cause
                           for termination of the CONTRACT without notice and without financial penalty to COMPANY in
                           accordance with the provisions of Clause 23.1.

                 31.13     Nothing contained herein will affectthe application of Clause 19 and 21 of the CONTRACT.

                 32.      PERFORMANCE MANAGEMENT

                 32.1     CONTRACTOR and COMPANY agree that there are certain Key Performance Indicators (KPI),
                          measures which are set out in Section 3 - Scope of Work. The successful closeout of COMPANY
                          and CONTRACTOR's corrective actions to remedy performance gaps shall be mutually agreed.

                 32.2     For the measures referred to in Clause 32.1 above, well specific targets and objectives, together
                          with any agreed deliverables, timescales or milestones will be mutually agreed between
                          CONTRACTOR and COMPANY prior to commencement of any well and shall be fully
                          documented.

                 32.3     CONTRACTOR shall participate in COMPANY's Supplier Performance Management (SPM)
                          system. This process shall include, but not be limited to, the work scope review, risk review,
                          mutual setting of KPls and objectives, the timely completion of any agreed scorecards or
                          measurement tools and the agreement of annual Performance Contracts where appropriate.
                          The second phase shall include a post-job evaluation and submittal I approval. Data and
                          associated scorecards gathered will be used to support reviews outlined in Clause 32.4.




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                 32.4     Performance Review Process (PRM) - PRMs shall be held on a quarterly baSiS, or other
                          frequency as mutually agreed, the COMPANY's REPRESENTATIVE, sector Team (if
                          applicable), CONTRACTOR's management team, and CONTRACTOR's REPRESENTATIVE,
                          shall meet formally to discuss the previous quarter's performance and identify any performance
                          gaps and opportunities for improvement. This PRM shall also be an opportunity to discuss the
                          next period to determine risks to delivery of work programs or projects. The focus shall be on
                          information sharing and identifying key risks, then agreement on a risk management and action
                          plan for the next period. Previous quarter's performance shall be formally agreed at this meeting
                          and recorded for future reference. Progress of follow up actions from the PRM will be recorded
                          and monitored on a monthly CAR (Corrective Action Reporting) register maintained by the
                          CONTRACTOR.

                 32.5     If requested by COMPANY, a performance contract shall be mutually agreed upon for the
                          projected WORK scope prior to WORK commencement. This performance contract shall
                          include sections to address, but not limited to, HSSE, People, Cost, Quality, Delivery, and
                          Innovation. Each section will have measurable targets and reflect KPls referenced in Clause
                          32.1.

                 32.6     CONTRACTOR's Safety Management System (SMS) shall be reviewed by COMPANY prior to
                          award. Any gaps identified during this review will be reported to CONTRACTOR as compulsory
                          improvement actions. CONTRACTOR will develop an SMS gap closure plan and the mutually
                          agreed upon actions and completion dates shall be monitored and updated via the scorecard
                          and PRM process. Failure to successfully complete the actions or close the gaps by the agreed
                          due dates shall be deemed to be a failure of the CONTRACTOR to perform the services and
                          COMPANY shall have the right to suspend the WORK in accordance with Clause 13 or
                          terminate the WORK or the CONTRACT in accordance with Clause 23. The SMS gap closure
                          plan shall be maintained by CONTRACTOR and updated after each interim SMS evaluation has
                          been completed

                 32.7     If requested by COMPANY, CONTRACTOR's Environmental Management System (EMS) shall
                          be reviewed by COMPANY prior to award. CONTRACTOR will develop an EMS gap closure
                          plan and the mutually agreed upon actions and completion dates shall be monitored and
                          updated via the scorecard and PRM process. Failure to successfully complete the actions or
                          close the gaps by the agreed due dates shall be deemed to be a failure of the CONTRACTOR to
                          perform the services and COMPANY shall have the right to suspend the WORK in accordance
                          with Clause 13 or terminate the WORK or the CONTRACT in accordance with Clause 23. The
                          EMS gap closure plan shall be maintained by CONTRACTOR and updated after each interim
                          EMS evaluation has been completed.

                 33.      AGGREGA TE OF LIABILITY

                          CONTRACTOR's cumulative liability hereunder in respect of liabilities incurred pursuant to
                          Clause 10.3 and 23.5 shall not exceed in aggregate (i) fifty percent (50%) of the CONTRACT
                          PRICE where all WORK to be performed under the CONTRACT is set forth in Section 3, Scope
                          of Work independent of WORK ORDERS or, (ii) where WORK ORDERS are issued, fifty percent
                          (50%) of the price of all WORK to be performed under the individual WORK ORDER.

                 34.      CONTINUING OBLIGATIONS

                          In the event of termination or expiration of this CONTRACT. for any reason, any provision which
                          by its own express terms reflects an intent that it shall continue to apply beyond the term of this
                          CONTRACT shall continue in full force and effect, including without limitation Clauses 19, 21,22,
                          and 24.




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                 35.     ANTI-CORRUPTION UNDERTAKINGS

                 35.1      CONTRACTOR and COMPANY each agree and undertake one to the other that in connection
                           with the CONTRACT and the transactions contemplated by this CONTRACT, they will each
                           respectively comply with all applicable laws, rules, regulations, decrees and/or official
                           governmental orders of the United Kingdom and the United States of America relating to anti-
                           bribery and anti-money laundering.

                 35.2      CONTRACTOR agrees, undertakes and confirms that it. and each of its AFFILIATES, and its
                           and their respective directors, officers, employees, agents and every other person acting on its
                           or their behalf, has not, in connection with the transactions contemplated by this CONTRACT or
                           in connection with any other business transactions involving COMPANY in the United States of
                           America, made, offered or promised to mak.e, and will not make, offer, or promise to make, any
                           payment or other transfer of anything of value, including without limitation the provision of any
                           service, gift or entertainment, directly or indirectly,

                           a) to any government official (including directors, officers and employees of government-
                              owned and government-controlled companies and public international organizations);
                           b) to any director, officer or employee of COMPANY or of BP pic or any of its other
                              subsidiaries;
                           c) to any political party, official of a political party, or candidate for public office;
                           d) to an agent or intermediary for payment to any of the foregoing; or
                           e) to any other person or entity

                           for the purpose of obtaining or influencing the award of or carrying out this CONTRACT if and to
                           the extent that to do so is or would be either in violation of or inconsistent in any material way
                           with the anti-bribery or anti-money laundering laws of any relevant jurisdiction, including, without
                           limitation, the U.S. Foreign Corrupt Practices Act, the U.K. Anti-Terrorism, Crime and Security
                           Act 2001 and successor legislation, the applicable country legislation implementing the OECD
                           Convention on Combating Bribery of Foreign Public Officials in International Business
                           Transactions and/or the anti-corruption laws of the United States of America.

                           For the purposes of this Clause 35, the term "government official" shall mean any director,
                           Officer, or employee of any government or any department, agency or instrumentality thereof,
                           and/or of any enterprise in which a government owns an interest, and/or of any public
                           international organization.   This term also includes any person acting in any official,
                           administrative or judicial capacity for or on behalf of any such government or department,
                           agency, instrumentality, company, or public international organization.

                 35.3      CONTRACTOR agrees and undertakes that in connection with this CONTRACT and in
                           connection with any other business transactions involving COMPANY in the United States of
                           America, CONTRACTOR and each of its AFFILIATES shall:

                           (a) have and will apply, in respect of its dealings with COMPANY under this CONTRACT,
                               effective disclosure controls and procedures;

                           (b) have and will maintain books, records, and accounts which, in reasonable detail, accurately
                               and fairly reflect the transactions undertak.en and the disposition of assets; and

                           (c) have and will maintain an internal accounting controls system that is sufficient to ensure the
                               proper authorization, recording and reporting of all transactions and to provide reasonable
                               assurance that violations of the anticorruption laws of the applicable jurisdictions will be
                               prevented, detected and deterred.

                 35.4     In the event that COMPANY has any reasonable basis for a good faith belief that


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                          CONTRACTOR and/or any of its AFFILIATES may not be in compliance in any material way
                          with the undertakings and/or requirements set forth in sub-clauses 35.1, 35.2 and/or 35.3,
                          COMPANY shall advise CONTRACTOR in writing of its good faith belief and CONTRACTOR
                          shall cooperate fully with any and all enquiries undertaken by or on behalf of COMPANY in
                          connection therewith, including the provision by CONTRACTOR of personnel and supporting
                          documents and affidavits if reasonably deemed necessary by COMPANY (provided, however,
                          that CONTRACTOR may withhold from any such request for disclosure any investigative
                          personnel working under the direction of the CONTRACTOR'S legal department and documents
                          which are subject to legal privilege).

                 35.5     Subject to the requirements of sub-clause 35.4, and without prejudice to any other rights or
                          remedies the COMPANY may have hereunder or at law (including, as applicable, the right to
                          damages for breach of contract), COMPANY shall have the right to terminate this CONTRACT
                          with immediate effect if COMPANY reasonably believes in good faith that any of the foregoing
                          agreements, undertakings or requirements set forth in this Clause 35 have not been complied
                          with or fulfilled by CONTRACTOR or any of its AFFILIATES; PROVIDED, HOWEVER, that
                          COMPANY shall have provided CONTRACTOR with written notice of its intention to terminate
                          the CONTRACT under the provisions of this Clause 35 together with the reasons therefore and
                          that CONTRACTOR has been unable within fifteen (15) business days of delivery of such notice
                          to provide COMPANY with evidence which demonstrates, to the reasonable satisfaction of the
                          COMPANY, that CONTRACTOR and its AFFILIATES have not failed to comply with or fulfill any
                          of the foregoing agreements, undertakings or requirements.

                 35.6     All payments by COMPANY to CONTRACTOR shall be made in accordance with the terms of
                          payment specified in the CONTRACT. In the absence of any such specific payment instructions
                          elsewhere in the CONTRACT, payments by COMPANY to CONTRACTOR shall only be made
                          by check or wire transfer to a bank account, details of which shall be provided by
                          CONTRACTOR to COMPANY in writing.

                 35.7     Any dispute arising hereunder as the result of COMPANY exercising its rights under sub-clause
                          35.5 hereof shall be settled in accordance with the provisions of CLAUSE 28 - SETTLEMENT
                          OF DISPUTES.

                 35.8    CONTRACTOR shall take all reasonable measures to apply the provisions of this CLAUSE 35 in
                         its contracts with SUB-CONTRACTORS in order to give effect to the agreements, undertakings,
                         and requirements set forth in this CLAUSE 35.

                 36.     SPECIAL CONDITIONS

                         Any additional special conditions applicable to the CONTRACT shall be as listed in Appendix 1
                         hereto and shall be numbered consecutively with these General Conditions of CONTRACT.




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                                              Appendix 1 - Special Conditions of Contract


                                              Appendix 1 - Special Conditions of Contract

                 In the event of any ambiguity or contradiction between the General Conditions of Contract and the Special
                 Conditions of Contract, the latter shall take precedence.


                 Section1          Agreement
                 Clause 4          The EFFECTIVE DATE of the CONTRACT is April 15, 2009
                 Clause 4          The scheduled COMMENCEMENT DATE of the WORK is - Will be specified as the
                                   date of each WORK ORDER
                 Clause 5          The duration of the CONTRACT is three (3) years from the EFFECTIVE DATE of the
                                   CONTRACT. COMPANY shall have the option to extend the CONTRACT for up to
                                   two (2) consecutive one-year options following the expiration of the three (3) year term.


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                 Clause 1.9        "CO-VENTURERS" shall mean - Not Applicable
                 Clause 3.1 (a)    COMPANY REPRESENTATIVE is Mr. Sundaram Srinivasan
                                                             Manager - GOM PSCM Drilling and Wells
                                                                       (281) 504-4277 (OFFICE PHONE)
                                                                       (281) 366-7130 (FAX)
                                                                       sundaram.srinivasan@bQ.com
                 Clause 3.1 (a)    CONTRACTOR REPRESENTATIVE is MervSwan
                                                                Vice-President, BP Account
                                                                            (281) 575-3020 (OFFICE PHONE)
                                                                            (281) 935-9238 (CELL PHONE)
                                                                            merv.swan@halliburton.com
                 Clause 27.6       The addresses for the service of notices are:


                                   i) COMPANY:            BP Exploration and Production, Inc.
                                                          200 Westlake Park Boulevard
                                                          Westlake 4
                                                          Houston, Texas 77079
                                                          A TIN: Sundaram Srinivasan

                                   ii) CONTRACTOR:        Halliburton Energy Services, Inc.
                                                          1401 McKinney Street, Suite 2400
                                                          Houston, Texas 77010
                                                          A TIN: Merv Swan




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                                                   Appendix 2 - Local Tax Provisions



                                                     Appendix 2 - Local Tax Provisions

                 CONTRACTOR agrees to defend, indemnify, and hold harmless COMPANY, jointly and severally, from
                 and against, and to accept full and exclusive liability for, the payment of its legally due contributions or
                 taxes for unemployment insurance, old age retirement benefits, annuities, wage and income taxes,
                 business and occupation taxes, now or hereafter imposed by the Government of the United States or any
                 State or political subdivision thereof, however measured.

                 CONTRACTOR agrees to be responsible for and indemnify, and hold harmless COMPANY, jointly and
                 severally, from any liability for contract, inventory, ad valorem, business and occupational, or other taxes
                 which are imposed upon CONTRACTOR for the performance of this CONTRACT or the ownership or use
                 of any property employed by CONTRACTOR in the performance of this CONTRACT.




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                                                     Section 3 - Scope of Work




                                               Section 3 - Scope of Work




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                                                        Section 3 - Scope of Work



                 1.0    GENERAL

                        1.1   CONTRACTOR has been selected for the performance of the WORK on the understanding
                              that it is qualified in the class of work involved and that CONTRACTOR shall exercise all
                              reasonable skill, care, and diligence in the performance of the WORK and shall carry out the
                              WORK in accordance with the requirements of the CONTRACT and to internationally
                              recognized good oilfield practices and standards.


                        1.2   The WORK which is to be provided by CONTRACTOR shall comprise but not necessarily be
                              limited to, the provision of management, engineering, supervision, labor, plant, equipment,
                              and materials to support COMPANY's operations, all as generally described herein.


                 2.0    THE WORK

                        2.1   COMPANY may from time to time request CONTRACTOR to carry out certain work or
                              services, or provide supplies, equipment, or materials in accordance with the terms of the
                              CONTRACT as more specifically defined in each job request issued by COMPANY ("WORK
                              ORDER"). A WORK ORDER shall mean any of the following document types issued
                              pursuant to this CONTRACT either on paper or electronic form.

                              2.1.1   WORK ORDER Template, as set forth by example in Section 3, Appendix 2 - WORK
                                      ORDER. Other written forms of this template are acceptable so long as it provides
                                      sufficient detail. including as a minimum:

                                            •     identification of CONTRACTOR
                                            •     reference to the CONTRACT number
                                            •     the date of the WORK ORDER
                                            •     details of the WORK to be performed
                                            •     any other terms the PARTIES deem appropriate

                              2.1.2   Specific direction I instruction to CONTRACTOR to proceed with WORK via e-mail,
                                      or an otherwise electronically transmitted Microsoft Word or Excel document with the
                                      same minimum requirements as noted in Clause 2.1.1 herein above. Said direction I
                                      instruction to CONTRACTOR shall require electronic acknowledgement of receipt as
                                      well as acceptance from CONTRACTOR in order to be deemed to be a WORK
                                      ORDER.

                              2.1.3   Pursuant to a verbal request by COMPANY to initiate WORK under this CONTRACT,
                                      a request by CONTRACTOR to proceed with WORK shall be presented to
                                      COMPANY via e-mail, or an otherwise electronically transmitted Microsoft Word or
                                      Excel document with the same minimum requirements as noted in Clause 2.1.1
                                      herein above. Said request made by CONTRACTOR shall require electronic
                                      acknowledgement of receipt as well as acceptance from COMPANY in order to be
                                      deemed to be a WORK ORDER.

                              2.1.4   Purchase Orders for the procurement of materials that includes sufficient details,
                                      including as a minimum:

                                            •     identification of CONTRACTOR
                                            •     reference to the CONTRACT number
                                            •     the date of the Purchase Order
                                            •     details of the materials to be procured
                                            •     any other terms the PARTIES deem appropriate




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                              2.1.5   Nothing contained in a WORK ORDER, in any acceptable format, shall be construed
                                      as an Amendment to the terms of the CONTRACT. Accordingly, WORK ORDERS,
                                      in any acceptable format, shall NOT be used to add new services, equipment, or
                                      materials to the CONTRACT, all of which may only be added to the CONTRACT by
                                      formal Amendment.


                        2.2   It is agreed and understood that COMPANY is not obligated to request WORK hereunder,
                              and that CONTRACTOR is not obligated to accept any WORK ORDER issued by COMPANY
                              hereunder; however, COMPANY and CONTRACTOR agree that the following general
                              provisions shall at all times apply to and control all WORK which may be conducted or
                              carried out by CONTRACTOR for COMPANY under any WORK ORDER until such WORK
                              ORDER is cancelled. With respect to WORK performed under this CONTRACT, the
                              Schedule of Rates and Charges in Section 4 - Remuneration, shall apply.

                              CONTRACTOR shall use reasonable commercial efforts during the term of the CONTRACT
                              or any WORK ORDER, to ensure that the costs of the final completion of the WORK shall not
                              exceed the estimate. In the event that the WORK is performed on an unsupervised basis,
                              e.g., rental tools, COMPANY and CONTRACTOR will jointly monitor costs for expenditure
                              tracking.    If CONTRACTOR determines that the estimate is likely to be exceeded,
                              CONTRACTOR shall promptly notify COMPANY of the same and provide an estimate of the
                              additional cost. Such notification shall constitute a request for a CHANGE ORDER to revise
                              the original estimate. Upon receipt of such notice, COMPANY shall promptly (1) issue a
                              CHANGE ORDER revising the original estimate before such estimate is exceeded or (2)
                              release CONTRACTOR's personnel and equipment.                   However, in no event shall
                              CONTRACTOR make or incur total expenditures and charges for the WORK in excess of
                              such estimates unless and until a written request is approved by COMPANY.


                        2.3   From time to time COMPANY may clarify, modify, expand, or reduce the scope of the WORK
                              ORDER by a CHANGE ORDER. CONTRACTOR will comply with instructions in such
                              CHANGE ORDER. A CHANGE ORDER shall mean any of the following document types
                              issued pursuant to this CONTRACT either on paper or electronic form.

                              2.3.1   CHANGE ORDER Template, as set forth by example in Section 3, Appendix 3 -
                                      CHANGE ORDER Other written forms of this template are acceptable so long as
                                      they provide sufficient detail, including as a minimum:

                                            •    identification of CONTRACTOR
                                            •    reference to the CONTRACT number
                                            •    reference to the WORK ORDER number
                                            •    the date of the CHANGE ORDER
                                            •    details of the changes to the WORK to be performed
                                            •    any other terms the PARTIES deem appropriate

                              2.3.2   Specific direction / instruction to CONTRACTOR to change the WORK ORDER via
                                      e-mail, or an otherwise electronically transmitted Microsoft Word or Excel document
                                      with the same minimum requirements as noted in Clause 2.3.1 herein above. Said
                                      direction I instruction to CONTRACTOR shall require electronic acknowledgement of
                                      receipt as well as acceptance from CONTRACTOR in order to be deemed to be a
                                      CHANGE ORDER

                              2.3.3   Pursuant to a verbal request by COMPANY to change the WORK ORDER under this
                                      CONTRACT, a request by CONTRACTOR to proceed with WORK shall be
                                      presented to COMPANY via e-mail, or an otherwise electronically transmitted
                                      Microsoft Word or Excel document with the same minimum requirements as noted in



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                                      Clause 2.3.1 herein above. Said request made by CONTRACTOR shall require
                                      electronic acknowledgement of receipt as well as acceptance from COMPANY in
                                      order to be deemed to be a CHANGE ORDER.

                              2.3.4   Nothing contained in a CHANGE ORDER, in any acceptable fonmat, shall be
                                      construed as an Amendment to the terms of the CONTRACT. Accordingly,
                                      CHANGE ORDERs, in any acceptable format, shall NOT be used to add new
                                      services, equipment, or materials, to the CONTRACT, all of which may only be
                                      added to the CONTRACT by formal Amendment.


                        2.4   The provision, utilization, and management of the WORK shall be the sole responsibility of
                              CONTRACTOR always accepting that CONTRACTOR shall meet the Scope of Work. The
                              WORK shall be provided in accordance with the service specific requirements contained in
                              this Section 3.


                        2.5   CONTRACTOR shall liaise with, and ascertain from COMPANY, all forward programming
                              and planning infonmation for COMPANY's well operations to enable CONTRACTOR to
                              provide all the resources required to meet its obligations under the CONTRACT.
                              CONTRACTOR shall be solely responsible for ensuring that personnel, equipment, and all
                              other items are provided so that no disruption occurs to the well operation.


                        2.6   CONTRACTOR shall seek out expertise from within CONTRACTOR's organization,
                              COMPANY's organization, and from Third Parties to enable CONTRACTOR to maximize
                              operating performance. Said involvement of Third Parties for purposes of this Clause shall
                              not be for COMPANY's account or reimbursable under the provisions of Section 4 -
                              Remuneration.


                        2.7   CONTRACTOR shall pro-actively monitor, evaluate, and promote the use of new technology
                              to improve cost effectiveness and add value to the WORK.


                        2.8   COMPANY is committed to making its technology and knowledge of 'best practices' available
                              to CONTRACTOR. It is expected that CONTRACTOR will avail itself of this opportunity to
                              use COMPANY data and knowledge in the course of the CONTRACT. Likewise, it is
                              expected that CONTRACTOR will provide to COMPANY its knowledge of industry best
                              practices and technology.


                        2.9   CONTRACTOR shall provide an organization to plan, monitor, and optimize the performance
                              of the WORK in full compliance with the requirements of COMPANY. This shall include, but
                              not be limited to, the management of CONTRACTOR's and SUBCONTRACTOR's health,
                              safety, security, environment, quality assurance, and legal obligations.


                        2.10 CONTRACTOR shall ensure optimal utilization of equipment, in that, equipment shall be
                             back loaded at the earliest opportunity if no longer required. CONTRACTOR shall render all
                             assistance to COMPANY in this regard. Nevertheless, equipment and f or materials shall
                             only be shipped and back loaded with the prior consent of COMPANY. The effectiveness
                             and benefits of the actions taken may be measured as part of the Performance Management
                             System.


                 3.0    PERSONNEL



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                        3.1   CONTRACTOR shall provide fully trained, competent personnel to perform the WORK in
                              accordance with the applicable WORK ORDER. The number of personnel required will be
                              determined by operational and engineering need as agreed by COMPANY and
                              CONTRACTOR. To ensure continuity and operational learning(s), personnel assigned to a
                              WORKSITE shall not be replaced without COMPANY's approval which shall not be
                              unreasonably withheld.


                        3.2   CONTRACTOR may be required to provide co-located engineering or technical support in
                              COMPANY's local offices. "Co-located" support is defined as those personnel working on
                              COMPANY operations and located in one or more of COMPANY's various local offices.
                              CONTRACTOR staff designated for such positions will be pre-qualified and approved by
                              COMPANY. Such CONTRACTOR staff is expected to perform as members of multi-
                              discipline COMPANY teams, with shared accountability for team performance.


                        3.3   CONTRACTOR will supply a nominated Account Manager who is accountable for the
                              performance of all personnel provided by CONTRACTOR. The Account Manager is
                              expected to provide a single point of contact for contractual issues, HSSE performance, and
                              for issues relating to compliance with the Scope of Work contained herein.


                        3.4   CONTRACTOR, with approval from COMPANY, will develop and deploy a program to
                              maximize savings at the WORKSITE by employing multi-skilled personnel and thereby
                              reducing the number of personnel required to an absolute minimum. Such reductions shall
                              not at any time compromise safety, efficiency, or quality.


                        3.5   Additional personnel may be provided as required by CONTRACTOR and or COMPANY for
                              operational or other reasons. The requirement for such additional personnel must be agreed
                              to in advance and shall be affected by a CHANGE ORDER at rates as specified in Section 4
                              - Remuneration.


                        3.6   A Personnel Plan may be requested from time to time for various activities (e.g., large
                              development projects). These Personnel Plans may include - but not be limited to - number
                              of personnel by category required to discharge all duties needed to complete the WORK;
                              organization charts; manner in which any applicable local content requirements will be
                              satisfied; and other items that may be specified.


                        3.7   Personnel shall be trained appropriately for the duties for which they will be responsible.
                              Specifically, this requirement shall include, as applicable, all statutory and COMPANY
                              requirements relating to WORKSITE safety, survival, and well control.          In addition,
                              supervisors shall be capable of performing Behavioral Safety Audits on CONTRACTOR
                              tools, processes, and equipment. All applicable CONTRACTOR personnel shall participate
                              in COMPANY sponsored initiatives and must comply with safety training requirements as
                              defined or required by COMPANY.


                 4.0    EQUIPMENT




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                        4.1   CONTRACTOR shall provide all equipment necessary to perform the WORK.
                              CONTRACTOR shall be fully responsible for implementation of the techniques and
                              equipment used which must be entirely consistent with good oilfield practice and meet all
                              COMPANY standards as stated herein.


                        4.2   CONTRACTOR shall be required to mobilize and demobilize its tools and equipment in
                              accordance with the specific requirements of each operation. Unless agreed to in advance
                              by COMPANY, CONTRACTOR shall provide adequate back up tools, equipment, spares and
                              consumables to ensure that service disruption is minimized due to tool or equipment failures.


                        4.3   Upon receipt of a WORK ORDER, or CHANGE ORDER to a WORK ORDER from
                              COMPANY, CONTRACTOR shall provide, or procure the requested tools, equipment,
                              spares, or materials, to be available for transport by the specified time.      Where
                              CONTRACTOR cannot supply such tools or equipment from its own inventory, it shall notify
                              COMPANY, and upon receipt of COMPANY's written approval, shall procure same through a
                              Third Party and supply to COMPANY at the rates contained in this CONTRACT.


                        4.4   CONTRACTOR shall develop and maintain an up to date inventory and utilization report in
                              Microsoft Excel or other acceptable format for:

                              4.4.1   all CONTRACTOR owned tools and equipment used during all or a portion of the
                                      CONTRACT term.

                              4.4.2   all COMPANY owned equipment used during all or a portion of the CONTRACT
                                      term, inclusive of those items being held on consignment for future use and their
                                      respective Purchase Order value.

                              4.4.3   all materials consumed during the then current invoice period and collectively
                                      throughout the entire term of the CONTRACT.

                              4.4.4   In addition, CONTRACTOR shall make the above referenced inventory and
                                      utilization reports available for inspection by COMPANY as and when requested.

                              4.4.5   Further, this inventory and utilization report must be maintained on a well by well
                                      baSiS, and must be submitted to COMPANY when invoicing for services. Failure to
                                      provide the specifics of inventory and utilization shall be deemed to be a breach of
                                      Section 2 - General Conditions of Contract, Clause 14.6.


                        4.5   CONTRACTOR shall be responsible at its own cost for stock control, maintenance, and
                              servicing of its equipment, and shall use best efforts to ensure that sufficient spares are
                              available for maintenance requirements and to meet contingency requirements.


                        4.6   COMPANY shall have the right to inspect CONTRACTOR's equipment, materials, and
                              supplies at any time to observe their condition and to ensure that no deficiencies exist. Such
                              inspection by COMPANY shall not imply any acceptance of the condition of the said
                              equipment, materials, and supplies by COMPANY and CONTRACTOR shall not be relieved
                              of its obligations under this CONTRACT by any such inspection.


                        4.7   CONTRACTOR shall provide equipment that meets the requirements outlined in Section 6 -
                              Quality Assurance and Quality Control (QA/QC) and Section 3, Appendix 7 - Technical
                              Integrity herein.



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                        4.8   All tools, material, and equipment used for the execution of the WORK shall be fit for purpose
                              and maintained in accordance with manufacturers' recommendations. In addition, a full
                              history record and certification shall be maintained in accordance with CONTRACTOR's
                              existing preventive maintenance and quality management systems.


                        4.9   CONTRACTOR shall create and implement a 'Total Quality Management' process or use an
                              existing approach for the process of recording and reporting the history of tools and
                              equipment from procurement to end use.

                              Features of the system shall include:

                              4.9.1   Capable of Audit.

                              4.9.2   Record full traceability from mill material test reports and test certificates, through
                                      manufacture, procurement, and subsequent service life.

                              4.9.3   Ability to manage and control stock levels.

                              4.9.4   Identifies items under repair as potential stock.

                              4.9.5   Ability to reserve or allocate items in stock for specific well service I completion
                                      requirements and subsequently complete transfer and amend stock level.

                              4.9.6   Record and display tools and equipment in specific generic groupings, Le., packers,
                                      safety valves etc., for ease of reviewing availability.

                              4.9.7   Ability to record tool or equipment history by well.

                              4.9.8   Show the well file as the final reconciliation for well costs with a summary statement
                                      showing all items consumed and associated service costs. The final reconciliation
                                      shall be submitted with CONTRACTOR's invoice to COMPANY.


                        4.10 All work shall be conducted under agreed procedures and fully in accordance with
                             COMPANY Technical Integrity requirements.


                 5.0    TRANSPORTATION OF EQUIPMENT AND MATERIALS

                        5.1   If the WORK includes marine transportation of equipment and materials, CONTRACTOR
                              shall be required to give not less than the SPU-specific minimum notice time for offshore
                              transportation requirements. COMPANY's decision as to the availability of vessel and I or
                              helicopter transportation at any particular time shall be final.


                        5.2   In supplying equipment and materials to COMPANY's designated supply base,
                              CONTRACTOR shall take due consideration of the magnitude and urgency of each
                              consignment.       CONTRACTOR shall liaise with COMPANY's nominated supply base
                              sufficiently in advance of each consignment to agree timing of collection and delivery.


                        5.3   CONTRACTOR shall at all times comply with appropriate regulations and guidelines for the
                              transportation of dangerous and hazardous goods. Copies of Material Safety Data Sheets
                              (MSDS) for all products shall be made available to COMPANY upon demand by COMPANY



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                              or its delegate.


                        5.4   All packaging is to be of suitable quality to withstand operating area climatic conditions. All
                              materials shall be palletized, strapped, and shrink-wrapped. COMPANY shall have the right
                              to reject any materials deemed unsuitably packaged for the conditions or where the
                              packaging is of poor quality.       Materials received by COMPANY without the required
                              packaging will not be accepted and will be returned to CONTRACTOR for CONTRACTOR's
                              account.

                              All pack.aged equipment shall be externally marked using suitable means so as to allow
                              ready identification of the enclosed items:

                              5.4.1   Parts and equipment shall have exposed metallic surfaces protected against
                                      corrosion.

                              5.4.2   Exposed seals, seal surfaces, threads, and operating parts shall be protected from
                                      mechanical damage during shipping.

                              5.4.3   Loose components shall be separately pack.ed and identified.

                              5.4.4   Exposed hydraulic end fittings shall be capped.

                              5.4.5   Special provisions for shipment and storage of electronic items in accordance with
                                      manufacturer instructions shall be made.

                              5.4.6   Units and assemblies shall be securely crated or mounted on skids to suit the
                                      proposed shipment method. These shall be designed to prevent damage and to
                                      facilitate handling.

                              5.4.7   Special provisions for transportation vibration protection for both land and sea shall
                                      be made to ensure no damage to equipment.

                              5.4.8   The packaging / shipment method shall take into account any limitations in maximum
                                      or minimum allowable temperature, UV, and humidity protection. This shall include
                                      storage for extended periods in the local climate.


                        5.5   CONTRACTOR will be responsible for loading equipment efficiently into its Cargo Carrying
                              Units (CCU) at its local facility and will endeavor to minimize the number of CCUs used.
                              Equipment transported within CCUs shall be adequately secured such that there is no risk of
                              injury through either opening the CCU or equipment falling out or through accessing
                              equipment within the CCU.


                 6.0    FACILITIES

                        6.1   CONTRACTOR shall support the WORK from local facilities that provide comprehensive
                              warehousing, laboratory, workshop, and service support. The services to be provided by
                              CONTRACTOR at the local facility will include but would not be limited to the storage,
                              preservation. handling, preparation, inspection, testing, maintenance, and repair of
                              CONTRACTOR's tools, equipment, and materials.


                        6.2   Where CONTRACTOR is unable to comply fully with the requirements of Clause 6.1 above,
                              CONTRACTOR shall identify the exceptions and provide details of alternative support
                              services to be offered to enable CONTRACTOR to perform the WORK in a manner



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                              satisfactory to COMPANY.


                 7.0    SPECIFICATIONS AND PROCEDURES

                        7.1   CONTRACTOR shall perform WORK as specified in Section 3, Appendix 6 - Functional and
                              Technical Specifications (for those Sub-Sectors where Functional and Technical
                              Specifications exist, including: Cementing Services; Stimulation Services; Coiled Tubing
                              Services; Well Placement; Wireline Services; and Completions).


                        7.2   CONTRACTOR, during the performance of WORK, shall adhere to the methods and
                              procedures as specified in Section 3, Appendix 7 - Technical Integrity and in Section 6 -
                              Quality Assurance and Quality Control.


                 8.0    COMPANY'S GENERAL OBLIGATIONS

                        The following items shall be for COMPANY's account for all offshore WORK:

                        8.1   Accommodation and messing for CONTRACTOR's personnel while onboard any COMPANY
                              offshore facility.


                        8.2   Installed services required to perform WORK, including diesel fuel, air, water, and electricity.


                        8.3   Marine and air transport of CONTRACTOR's materials, tools, equipment, and personnel
                              between COMPANY's designated marine and air supply bases and the offshore location.
                              COMPANY shall select type of transport.




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                 In accordance with Section 2, Clauses 32.1 through 32.7, performance management will be integral to
                 the WORK. The mandatory global Key Performance Indicators (KPls) includes metrics for HSSE, Cost,
                 Efficiency, Quality, and Incremental Benefit Delivered (IBO).


                 1.0    SUPPLIER PERFORMANCE MANAGEMENT

                        1.1.   Definition of Supplier Performance Management

                               Supplier Performance Management (SPM) is one of eight COMPANY common processes
                               and it is the process by which COMPANY gains assurance that CONTRACTOR's
                               performance is meeting or exceeding the CONTRACT requirements. The process, as more
                               fully described herein, comprises the measurement of CONTRACTOR's performance against
                               predefined targets, rating of performance, identification of gaps in performance, and
                               implementation of actions that are required in order to ensure CONTRACTOR's achievement
                               of the agreed performance levels. By implementing the SPM process and through working in
                               a cooperative manner, COMPANY and CONTRACTOR shall create the potential for
                               CONTRACTOR's performance to exceed COMPANY's expectations and targets.


                        1.2.   Key Objectives of SPM

                               The SPM process is implemented in order to deliver the following objectives:

                               1.2.1   To drive continuous performance improvement;

                               1.2.2   To ensure CONTRACTOR's alignment with COMPANY's business processes,
                                       objectives, drivers and expectations;

                               1.2.3   To encourage a culture of performance enhancement and assist in identifying
                                       performance gaps;

                               1.2.4   To create transparency of performance         allowing   COMPANY to    benchmark
                                       performance over a wider sector;

                               1.2.5   To ensure that focus is maintained on performance through regular, structured, and
                                       significant performance reviews;

                               1.2.6   To assist in the development of a long term relationship which promotes enhanced
                                       delivery; and

                               1.2.7   To allow management of the relationship between COMPANY and CONTRACTOR
                                       at the various levels of:

                                       (a)   Well Section

                                       (b)   Well;

                                       (c)   Project; and

                                       (d)   Product Line / Supply Market Sector




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                        1.3.   COMPANY Commitment to Supplier Performance Management

                               The SPM process is a key element of COMPANY's Procurement and Supply Chain
                               Management process. Accordingly, COMPANY places a high level of importance on
                               implementing a robust process that is designed to sustain and enhance the overall delivery.
                               COMPANY shall work cooperatively with CONTRACTOR in order to promote continuous
                               improvement.


                        1.4.   CONTRACTOR Commitment to Supplier Performance Management

                               CONTRACTOR shall work with COMPANY in order to implement SPM throughout the
                               various phases of each individual product line or sector. The measures described herein
                               shall be subject to ongoing monitoring and review by COMPANY in conjunction with
                               CONTRACTOR. As such, CONTRACTOR shall work in a cooperative manner with
                               COMPANY in order to implement appropriate changes to the measures and targets that may
                               be required in sustaining continuous improvement.


                 2.0    SUPPLIER PERFORMANCE MANAGEMENT PROCESS

                        2.1    General

                               In implementing a successful SPM process, three key elements require consideration:

                               2.1.1    Organizational Support and Competency

                                         A fundamental requirement of the SPM process is to develop a relationship between
                                         COMPANY and CONTRACTOR which enables the delivery of extraordinary
                                         performance. This relationship shall be developed at three levels:

                                        (a)   Management level within      the   individual Wells   programs   or   Strategic
                                              Performance Units (SPU);

                                        (b)   Management level within individual Projects; and

                                        (c)   Executive level beyond the Project to the Product Line I Supply Market Sector

                               2.1.2    Measures and Targets

                                        (a)   Clear and objective targets against which performance can be measured shall
                                              be set and where appropriate, corrective action taken. The key to successful
                                              implementation of SPM is to have clearly defined and agreed targets and a
                                              measurement system that will provide visibility of actual performance against a
                                              predefined benchmark. To this end COMPANY and CONTRACTOR have
                                              agreed a series of balanced score cards which are fed by the measurement
                                              and recording of perfonmance against lower level Key Performance Indicators
                                              (KPls); and

                                        (b)   The balanced score cards and KPls will be agreed between COMPANY and
                                              CONTRACTOR. From time to time, both the balanced score card and the
                                              KPls will be subject to change in order to improve performance monitoring to
                                              increase the quality of the results for subsequent analysis.

                               2.1 .3   Performance Review




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                                      Formal meetings to cover performance shall be held at the SPU level and executive
                                      level. The requirements and function of the performance reviews are detailed under
                                      Clause 3.2 and 3.3 herein.


                        2.2   Balanced Score Card

                              COMPANY and CONTRACTOR will agree on a balanced score card which shall be used by
                              the PARTIES to monitor and record CONTRACTOR's performance. The balanced score
                              card considers a range of metrics which are designed to provide an objective view of
                              CONTRACTOR's overall performance. Each element within the score card is assigned a
                              value which is a weighting that represents its importance in determining the overall standard
                              of performance of CONTRACTOR. The minimum performance metrics utilized within the
                              balanced score card are:

                              2.2.1   HSSE;

                              2.2.2   Quality;

                              2.2.3   The specific SPU and lor service line content;

                              2.2.4   Technical and Operational Performance;

                              2.2.5   Commercial;

                              2.2.6   People;

                              2.2.7   Innovation; and

                              2.2.8   Incremental Benefit Delivered (IBO)

                              The weightings of the balanced score card may be adjusted in order to represent changes in
                              risk and f or priorities. COMPANY and CONTRACTOR shall review the relevance of the
                              weightings during the scheduled Performance Reviews and prior to the commencement of
                              WORK. However, to ensure some level of consistency across all of COMPANY SPUs, score
                              cards will only be reviewed for material changes to the metrics, KPls, weightings, and I or
                              score card appearance on an annual basis. If such changes have a valid business case and
                              show a positive retum on the investment, and do not materially impact the SPM process at
                              other SPUs, they will be submitted for modification.


                        2.3   Key Performance Indicators (KPls)

                              2.3.1   At a level below the balanced score card as described under Clause 2.2 herein, a
                                      series of KPls will be developed to enable meaningful and accurate measurement.
                                      At the outset of the CONTRACT, the KPls will be established by COMPANY as being
                                      of importance in determining the overall standard of CONTRACTOR's performance.
                                      In agreeing to the KPls, each PARTY has given consideration to:

                                      (a) Identification of risks to the overall success of the individual Projects and
                                          mitigation of same;

                                      (b) What processes need to be measured in order to demonstrate that the identified
                                          risks are being managed and mitigated effectively;

                                      (c) What performance levels represent a benchmark for current performance;



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                                           Appendix 1 - Supplier Performance Management



                                      (d) What the performance target shall be;

                                      (e) Establishing a targeted balance of forward looking KPls and retrospective KPls;
                                          and

                                      (f) The contribution and relationship each individual KPI has in determining the
                                          performance rating at balanced score card level.

                              2.3.2   During the term of the CONTRACT the applicability, risks, and priority may change.
                                      Equally, as performance levels become visible it will be necessary for targets and
                                      benchmarks to be reset in order to drive continuous improvement. Accordingly the
                                      KPls will be subject to an ongoing process of review and refinement throughout the
                                      CONTRACT.

                              2.3.3   The relevance of the KPls shall be reviewed by COMPANY and CONTRACTOR
                                      during the scheduled Performance Reviews and prior to the commencement of each
                                      individual project.

                              2.3.4   Notwithstanding anything else contained herein, CONTRACTOR recognizes that the
                                      implementation of SPM is an integral part of COMPANY's business processes. As
                                      such, COMPANY seeks to ensure that a level of consistency is maintained across its
                                      CONTRACTORs working within the same sector. Accordingly, CONTRACTOR
                                      acknowledges and accepts that the establishment and agreement of KPls will be
                                      influenced by COMPANY's sector benchmarking requirements.            To this end,
                                      COMPANY has the right to implement such KPls with or without CONTRACTOR's
                                      explicit agreement. In these circumstances CONTRACTOR shall continue to provide
                                      COMPANY with such information, reporting, and support that it would otherwise have
                                      provided shall the KPI have been agreed to in advance by CONTRACTOR.


                        2.4   Weighting of Score Cards and KPls

                              Weightings are used to recognize the relationship and more particularly the importance of
                              individual aspects of the balanced score card and individual KPls. KPI weightings will be
                              established at the outset of the CONTRACT and may be adjusted during the term of the
                              CONTRACT.


                        2.5   CONTRACTOR Personnel

                              CONTRACTOR shall assign one member to assume overall responsibility for reporting
                              performance, liaising with COMPANY on SPM issues, developing action plans for continuous
                              improvement, and working with COMPANY in order to refine the KPls and balanced score
                              cards. Further, the individual shall have responsibility for increasing awareness of SPM
                              within CONTRACTOR's wider project team. Such an individual shall be classified as a
                              member of CONTRACTOR's key personnel and shall be assigned to SPM duties on a part-
                              time basis.

                              CONTRACTOR shall commit other appropriate personnel as may be required to support the
                              SPM process and to partiCipate in the appropriate performance review meetings. Such
                              personnel shall be at the appropriate management level.




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                                                      Section 3 - Scope of Work
                                            Appendix 1 - Supplier Performance Management


                        2.6   COMPANY Personnel

                              COMPANY shall notify CONTRACTOR of the specific roles and responsibilities of the
                              personnel appointed to implement and manage the SPM process on behalf of COMPANY.
                              General roles that may be performed may include, but not necessarily be limited to the
                              following:

                              2.6.1   Relationship Manager (REM) - Works at a high level with CONTRACTOR's senior
                                      management in order to ensure alignment with COMPANY's expectations and
                                      objectives for delivery;

                              2.6.2   Sector Team Lead (STL) f Sub-Sector Specialist - Provides input regarding sector
                                      strategy, performance targets, and achievements for the relevant sector and ensures
                                      SPM supports the business strategy;

                              2.6.3   Contract Accountable Manager (CAM)                   Responsible    for monitoring
                                      CONTRACTOR's performance and is the              focal point for   interaction with
                                      CONTRACTOR;

                              2.6.4   Specialists - Responsible for providing assistance in appropriate performance areas
                                      such as HSSE, Quality, Technical, Supply Chain Management, etc. Such personnel
                                      may be engaged to suit particu lar needs or focus.

                              2.6.5   Supplier Performance Management Champion - Each Strategic Performance Unit
                                      (SPU) may deSignate an individual that is accountable for providing support to the
                                      SPM process, liaising with the SPU Line and Management, ensuring efficacy of
                                      system and being the focal point for score card I metrics issues and improvements
                                      and communication of same to Drilling and Completions Wells Services;

                              2.6.6   Drilling and Completions Wells Services SPM Administrator - Accountable for
                                      system architecture and compliance to COMPANY Common Processes. Liaison
                                      between SPUs and software provider to troubleshoot, manage score card and
                                      system additions and changes and management of the KPI libraries. Responsible
                                      for improving user interfaces, relevant reporting output, and compliance to budgeted
                                      system maintenance and support costs.


                 3.0    PERFORMANCE REVIEW

                        3.1   KPI Scoring Process

                              3.1.1   At least every six months, COMPANY shall review and score CONTRACTOR
                                      performance against the KPls.       Where appropriate, the scoring shall be
                                      supplemented with information, documentation, and feedback from other COMPANY
                                      personnel.

                              3.1.2   CONTRACTOR's overall performance shall be assessed by collating and reviewing
                                      the individual score cards and KPls. COMPANY shall use this information in order to
                                      generate an overall balanced score card which shall be used to monitor
                                      CONTRACTOR's performance. CONTRACTOR's performance, trends, divergences
                                      in performance between projects and wells and any resultant action plans shall be
                                      discussed as part of the formal performance review meeting.


                        3.2   Performance Review Process




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                             COMPANY's relationships with CONTRACTORs occur at different levels of each party's
                             organization.   The Supplier Performance Management (SPM) process is focused at
                             operational and performance-based levels.    To manage the relationship at these
                             hierarchically higher levels the SPM process drives continuous performance through
                             Performance Review Meetings (PRM). The most important of those are described as
                             follows:

                              3.2.1   Performance Review Meetings (PRMs);

                                      (a) On a quarterly basis, or other frequency as mutually agreed, a performance
                                          review meeting shall be conducted where CONTRACTOR's performance shall
                                          be benchmarked for the prior KPI measurement period; and

                                      (b) The PRM meeting shall provide a forum to discuss issues related to
                                          performance, management, future workload and organizational issues. While
                                          COMPANY shall offer a summary view of CONTRACTOR's quarterly
                                          performance, the focus of the PRM is on identifying future actions required,
                                          misalignment between the PARTIES, corrective action, risk mitigation actions,
                                          performance improvement, or re-establishing KPls and targets in order to ensure
                                          that the performance standards are achieved if not exceeded.

                                      (c) The output from the PRM shall be a clear and concise action list, which shall
                                          include, but not be limited to, the following information: action description; action
                                          party; date raised; target date for completion; actual date completed; action
                                          status; and issues

                                      (d) CONTRACTOR shall be responsible for implementing, populating, updating and
                                          maintaining the action log and tracking system and provide COMPANY with
                                          unrestricted access to this information at all times. CONTRACTOR shall also
                                          prepare regular analysis of the entire system in order to identify recurring actions,
                                          trends, and common themes. This information will be presented at the PRM and
                                          will be used to demonstrate the effectiveness of the remedial actions
                                          implemented.

                              3.2.2   Global Business Reviews (GBR)

                                      For certain strategic CONTRACTORs, Global Business Reviews may be held in
                                      addition to the regular PRM. The GBR is conducted between the Senior Leadership
                                      of COMPANY and CONTRACTOR, either annual or biannually. The intent of these
                                      meetings is to create strategic alignment and drive performance-based relationships
                                      by considering local, regional, and global trends against globally consistent KPls and
                                      "best in class" performers.


                 4.0    KEY PERFORMANCE INDICATORS

                        In reference to Section 3 - Scope of Work, Appendix 1 - Supplier Performance Management,
                        Clause 2.3, above, Key Performance Indicators (KPls) have been developed for several Sub-
                        Sectors. This information is found in Section 3 - Scope of Work, Appendix 5 - Description of the
                        Work.




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                                                     Section 3 - Scope of Work
                                                     Appendix 2 - Work Order




                                                Appendix 2 - Work Order




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                                                        Section 3 - Scope of Work
                                                        Appendix 2 - Work Order


                 WORK ORDER

                 Date:

                 WORK ORDER requested by: _ _ _ _ _ _ _ _ _ __
                                                                (Name)

                 This WORK ORDER is subject to the terms and conditions of CONTRACT No. _ _
                 between COMPANY,                                      , and CONTRACTOR,
                 _ _ _ _ _ _ _ , effective (MMIDDNYVY). NOTHING CONTAINED IN THIS WORK
                 ORDER SHALL BE CONSTRUED AS AN AMENDMENT TO THE TERMS OF THE
                 REFERENCED CONTRACT.

                 CONTRACTOR:

                 WORK ORDER No:
                 Pay Key No, if applicable.
                 Project Identification:
                 Value of WORK ORDER:
                    Estimated Maximum Price: _ _ _ _ _ _ _ _ _ __
                 Expected completion date:
                 Description I Scope of Work: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                 Forward invoices I statements to: _ _ _ _ _ _ _ _ __


                                                     Attention:
                                                     WORK ORDER No . _ _ _ _ _ __
                                                     Pay Key No.

                 ACCEPTED BY: _ _---:--:--=---:-=-:--=-_ _            APPROVED BY: _ _ _-:--:-____- __- - -
                                   CONTRACTOR                                           COMPANY
                       Date: _ _ _ _ _ _ _ _ _ __                           Date: _ _ _ _ _ _ _ _ _ __

                 Notices:


                                  Attention:                                        Attention:
                                  Mail Code:                                        Mail Code:
                                  Office Phone: _ _ _ _ __                          Office Phone-:------
                                  Cell Phone: _ _ _ _ __                            Cell Phone :_ _ _ _ __
                                  Fax:                                              Fax:
                                  Email                                             Email




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                                                     Section 3 - Scope of Work
                                                     Appendix 3 - Change Order




                                              Appendix 3 - Change Order




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                                                        Section 3 - Scope of Work
                                                        Appendix 3 - Change Order


                 CHANGE ORDER

                 NOTHING CONTAINED IN THIS CHANGE ORDER SHALL BE CONSTRUED AS AN
                 AMENDMENT TO THE TERMS OF THE REFERENCED CONTRACT.

                                                                    CHANGE ORDER Number:              type number
                                                                      WORK ORDER Number:              type number
                                                                          CONTRACT Number:            type number
                                                     Project Code I Identification (if applicable):   type number
                                                                                             Date:
                                                                WORK ORDER requested by:
                                                                                                        (!Vame)


                 1.     DESCRIPTION OF CHANGE OF WORK

                        (A summary of clarification, modification, expansion, or reduction of Work will be stated,
                        and attachments, if any, will be listed.)



                 2.     COMPENSATION

                        (Any changes thereto will be stated.)



                 3.     COMPLETION DATE

                        (Any change to the Completion Date stated in the Work Order.)



                 4.     ORIGINAL WORK ORDER VALUE
                        VALUE OF APPROVED CHANGE ORDERS TO DATE
                        THIS CHANGE ORDER VALUE
                        TOTAL CURRENT WORK ORDER VALUE




                 COMPANY APPROVAL                             DATE      CONTRACTOR ACCEPTANCE                     DATE




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                                                   Section 3 - Scope of Work
                              Appendix 4 - Subcontractors, Suppliers and Contractor's Key Personnel




                   Appendix 4 - Subcontractors I Contractor's Key Personnel




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                                                     Section 3 - Scope of Work
                                Appendix 4 - Subcontractors, Suppliers and Contractor's Key Personnel


                                                                A. Cementing Services

                 1.0     SUBCONTRACTORs

                         CONTRACTOR intends to employ the following SUBCONTRACTORs, which, collectively, account
                         for a minimum of 80% of the WORK to be outsourced. This list of SUBCONTRACTORs must be a
                         rank-order of SUBCONTRACTORs in descending order of anticipated total payments.

                                                                                                                ...            ..

                                                                                                                      % Value of
                               Su bcontractot                                           Work to be Pelformed    ..
                                                                                                                ..      Work        ..




                                                     This table is not applicable to this CONTRACT.




                 2.0      CONTRACTOR KEY PERSONNEL

                         2.1   COMPANY designates the following as key positions of CONTRACTOR.

                                                                                                       ..
                        Position      Quantity                                    Minimum Competency Requirements
                                          ..   ...   ...   ..   ...   ...   ...    ..   ..             ...........................




                                Key Personnel are identified in Section 3, Appendix 5, Description of the Work




                         2.2   In the event that CONTRACTOR or COMPANY determines that Key Personnel need to be
                               replaced, CONTRACTOR shall provide and agree with COMPANY a management of change



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                                                   Section 3 - Scope of Work
                              Appendix 4 - Subcontractors, Suppliers and Contractor's Key Personnel


                             procedure. A replacement person shall work with the person to be replaced for a period of
                             time determined by COMPANY. All expenses associated with the replacement of key
                             personnel shall be for CONTRACTOR account. For the avoidance of any doubt, this means
                             that CONTRACTOR shall not charge COMPANY for any person's time or expenses while
                             they are being trained and lor assuming duties for any person being replaced.




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                                                    Section 3 - Scope of Work
                               Appendix 4 - Subcontractors, Suppliers and Contractor's Key Personnel


                                                          B. Fluids Services

                 1.0 SUBCONTRACTORs

                        CONTRACTOR intends to employ the following SUBCONTRACTORs which, collectively, account
                        for a minimum of 80% of the WORK to be outsourced. This list of SUBCONTRACTORs must be a
                        rank-order of SUBCONTRACTORs in descending order of anticipated total payments.
                                        ,
                                                                                                     ..      :'
                                                                                                          % Value of
                              Subcontractor                        Work to be Performed             ...
                                                                                                    ...     Work




                                               This table is not applicable to this CONTRACT.




                 2.0 CONTRACTOR KEY PERSONNEL

                        2.1   COMPANY designates the following as key positions of CONTRACTOR.


                              2.1.1 Gulf of Mexico



                                                                Minimum Competency Requirements

                                                     •   Bachelors degree in a science or engineering discipline, or have
                                                         commensurate industry experience.
                                                     •   Must have Drilling Fluids School
                                                     •   Proven ability to analyze drilling programs J operations and
                                                         integrate objectives into fluids programs.
                                                     •   Current knowledge of drilling fluid products, applications, and
                                                         Innovations.
                  Project Coordinator
                                                     •   Engineer has worked as an in-house offshore operations
                                                         engineer for a minimum of 7 years, of which 3 must have been in
                                                         the GoM.
                                                     •   Desired field experience 10 years
                                                     •   Familiar with COMPANY procedures for ordering, receiving,
                                                         shipping, and documenting.
                                                     •   Be capable of manage several PFM projects in GoM Deepwater.
                  Project DESC Engineer              •   Bachelors degree in a science or engineering discipline, or have



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                                                   Section 3 - Scope of Work
                              Appendix 4 - Subcontractors, Suppliers and Contractor's Key Personnel

                                             ...   ...   ...       ..   ..             ..                       .   .................•..




                             Position                                              Minimum Competency Requirements
                                                         ..•....

                                                                             commensurate industry experience.
                                                                   •         Must have Drilling Fluids School
                                                                   •         Proven ability to analyze drilling programs I operations and
                                                                             integrate objectives into fluids programs.
                                                                   •         Current knowledge of drilling fluid products, applications and
                                                                             Innovations
                                                                   •         Engineer has worked as an in-house offshore operations
                                                                             engineer for a minimum of 3 years of which 2 must have been in
                                                                             the GoM.
                                                                   •         Desired field experience - 9 years with 2 wells using Synthetic
                                                                             Based Mud system
                                                                   •         Good understanding of sub salt drilling practices in GoM, and is
                                                                             capable of discussion salt drilling issues with the team.
                                                                   •         Ability to use or willing to learn COMPANY DIMS reporting
                                                                             system.
                                                                   •         Have general knowledge of and actively contribute to
                                                                             COMPANY well planning tools (e.g., Risk Analysis Tool- RAT,
                                                                             Drilling & Completion Uncertainty Statement - DCUS, Well Plan,
                                                                             Well Control toolkit)
                                                                   •         Bachelors degree in a science or engineering discipline, or have
                                                                             commensurate industry experience.
                                                                   •         Must have Drilling Fluids School
                                                                   •         Proven ability to analyze drilling programs I operations and
                                                                             integrate objectives into fluids programs.
                                                                   •         Current knowledge of drilling fluid products, applications and
                                                                             Innovations
                                                                   •         Engineer has worked as field offshore fluids engineer for a
                                                                             minimum of7 years of which 4 must have been in the GoM.
                  Lead Mud Engineer                                •         Desired field experience - 7 years with 2 wells using Synthetic
                                                                             Based Mud system
                                                                   •         Good understanding of sub salt drilling practices in GoM, and is
                                                                             capable of discussion salt drilling issues with the team.
                                                                   •         Ability to use or willing to learn COMPANY DIMS reporting
                                                                             system.
                                                                   •         Proven knowledge of COMPANY deepwater well control
                                                                             procedures
                                                                   •         Ability to provide drilling hydraulics planning and real time
                                                                             analysis.
                                                                   •         Bachelors degree in a science or engineering discipline, or have
                                                                             commensurate industry experience.
                                                                   •         Must have Drilling Fluids School
                                                                   •         Proven ability to analyze drilling programs I operations and
                                                                             integrate objectives into fluids programs.
                                                                   •         Current knowledge of drilling fluid products, applications and
                  PFM Compliance Engineer
                                                                             Innovations
                                                                   •         Engineer has worked as field offshore compliance engineer for a
                                                                             minimum of3 years of which 1 must have been in the GoM.
                                                                   •         Desired minimum field experience - 5 years.
                                                                   •         Desired to have certified TFP training.
                                                                   •         Proven knowledge of Best Management Practices and Waste



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                                                   Section 3 - Scope of Work
                              Appendix 4 - Subcontractors, Suppliers and Contractor's Key Personnel

                                             ...   ...   ...       ..   ..             ..                       .   ..   ................ ..   ..



                             Position                                              Minimum Competency Requirements
                                                         ..•....

                                                                             Management Programs. Must have experience in regulatory
                                                                             discharge compliance.
                                                                   •         Should have sufficient industry experience to execute project
                                                                             requirements.
                                                                   •         Must have Basic Drilling Fluids School
                  Mud Engineer                                     •         Proven ability to analyze fluid programs I operations and identify
                                                                             potential for reducing waste stream.
                                                                   •         Must have worked as Mud Engineer or PFM Specialist for a
                                                                             minimum of3 years in GoM.
                                                                   •         Desired field experience - 5 years.
                                                                   •         Should have sufficient industry experience to execute project
                                                                             requirements.
                                                                   •         Must have Drilling Fluids and Completion Fluid School
                  Completions Fluid Engineer                       •         Proven ability to analyze brine programs I operations and identify
                                                                             potential for reducing waste stream.
                                                                   •         Must have worked as completion engineer for a minimum of 5
                                                                             years in GoM.
                                                                   •         Desired field experience - 7 years.




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                            Appendix 4 - Subcontractors, Suppliers and CONTRACTOR's Key Personnel


                                                            C. Well Placement

                 1.0 SUBCONTRACTORs

                        CONTRACTOR intends to employ the following SUBCONTRACTORs which, collectively, account
                        for a minimum of 80% of the WORK to be outsourced. This list of SUBCONTRACTORs must be a
                        rank-order of SUBCONTRACTORs in descending order of anticipated total payments.
                                            ,
                                                                                                       ..           :'
                                                                                                                  % Value of
                             Subcontractor                           Work to be Performed              ...
                                                                                                       ...          Work




                                                 This table is not applicable to this CONTRACT.




                 2.0 CONTRACTOR KEY PERSONNEL



                             Position                             Minimum Competency ReqUirementS
                                  ..   ..   ..
                                                       .                                    ..    ..         ..




                               Key Personnel are identified in Section 3, Appendix 5, Description ofthe Work




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                            Appendix 4 - Subcontractors, Suppliers and CONTRACTOR's Key Personnel


                                                         D. Wireline Services

                 1.0 SUBCONTRACTORs

                        CONTRACTOR intends to employ the following SUBCONTRACTORs which, collectively, account
                        for a minimum of 80% of the WORK to be outsourced. This list of SUBCONTRACTORs must be a
                        rank-order of SUBCONTRACTORs in descending order of anticipated total payments.

                                                                                                      ..      :'
                                                                                                            % Value of
                          SUBCONTRACTOR                            Work to be Performed               ...
                                                                                                      ...     Work




                                               This table is not applicable to this CONTRACT.




                 2.0 CONTRACTOR KEY PERSONNEL


                                                                                                ...   ...



                             Position                            Minim!Jm Competency e",pe(;tation

                                                     Bachelors degree in engineering or physical sciences or the
                                                     equivalent practical experience; minimum of 5 years experience in
                  Senior Logging Engineer
                                                     Open, Cased Hole and Perforating services; CONTRACTOR
                                                     sponsored formal training in all tools the Sr. Logging Engineer will
                                                     run on behalf of COMPANY

                                                     Minimum of 5 years experience in Open, Cased Hole and
                  Senior Logging Operator
                                                     Perforating services.




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                                                            E. Completions

                 1.0 SUBCONTRACTORs

                        CONTRACTOR intends to employ the following SUBCONTRACTORs which, collectively, account
                        for a minimum of 80% of the WORK to be outsourced. This list of SUBCONTRACTORs must be a
                        rank-order of SUBCONTRACTORs in descending order of anticipated total payments.
                                         ,
                                                                                                    ..       :'
                                                                                                          % Value of
                              Subcontractor                        Work to be Performed             ...
                                                                                                    ...     Work




                                               This table is not applicable to this CONTRACT.




                 2.0    CONTRACTOR KEY PERSONNEL

                        2.1   COMPANY designates the following as key positions of CONTRACTOR.

                              2.1.1   Gulf of Mexico



                              Position                          Minimum Competency Requirements

                                                       -   At the discretion of COMPANY, an Account Manager may be
                 Account Manager                           required. If required, candidate qualifications shall be
                                                           consistent with Section 3, Appendix 5
                                                       -   At the discretion of COMPANY, Technical and Engineering
                  Technical and Engineering
                                                           Support personnel may be required. If required, candidate
                  Support
                                                           qualifications shall be consistent with Section 3, Appendix 5
                                                       -   Expert knowledge of products, applications, and innovations
                                                           related to Upper Completions
                  Upper Completions Specialist         -   Must have worked as a lead Upper Completions Specialist for
                                                           a minimum of three (3) years
                                                       -   Desired minimum field experience five (5) years
                                                       -   Expert knowledge of products, applications, and innovations
                                                           related to Sand Face Tools
                  Sand Face Tool Specialist            -   Must have worked as a lead Sand Face Tools Specialist for a
                                                           minimum of three (3) years
                                                       -   Desired minimum field experience five (5) years




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                                                    Section 3 - Scope of WORK
                              Appendix 4 - Subcontractors, Suppliers and CONTRACTOR's Key Personnel

                                              ...   ...   ...       ..       ..           ..                       .   ..   ................ ..   ..



                              Position                                                Minimum Competency Requirements
                                                          ..•....

                                                                         -        Expert knowledge of products, applications, and innovations
                                                                                  related to Tubing Conveyed Perforating I Drill Stem Testing
                  TCP I DST Tool Specialist                              -        Must have worked as a lead TCP / DST Specialist for a
                                                                                  minimum of three (3) years
                                                                         -        Desired minimum field experience five (5) years
                                                                         -        Expert knowledge of products, applications, and innovations
                                                                                  related to Pumping
                  Pumping Supervisor                                     -        Must have worked as a lead Pumping Supervisor for a
                                                                                  minimum of three (3) years
                                                                         -        Desired minimum field experience five (5) years
                                                                         -        Expert knowledge of products, applications, and innovations
                                                                                  related to Offshore Laboratory activities I work
                  Offshore Laboratory Technician
                  (Sand Control Services)
                                                                         -        Must have worked as a lead Offshore Laboratory Technician
                                                                                  for a minimum of three (3) years
                                                                         -        Desired minimum field experience five (5) years
                                                                         -        Expert knowledge of products, applications, and innovations
                                                                                  related to Coordinator for single trip gravel pack systems
                  Coordinator (Single Trip Gravel
                                                                         -        Must have worked as a lead Coordinator for single trip gravel
                  Pack Systems)
                                                                                  pack systems for a minimum of three (3) years
                                                                         -        Desired minimum field experience five (5) years



                        2.2   In the event that CONTRACTOR or COMPANY determines that Key Personnel need to be
                              replaced, CONTRACTOR shall provide and agree with COMPANY a management of change
                              procedure. A replacement person shall work with the person to be replaced for a period of
                              time determined by COMPANY. All personnel time and personnel expenses associated with
                              the replacement of key personnel shall be for CONTRACTOR account. Forthe avoidance of
                              any doubt, this means that CONTRACTOR shall not charge COMPANY for any person's time
                              or expenses while they are being trained and I or assuming duties for any person being
                              replaced.




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                                                        A. Cementing Services
                 1.0    GENERAL

                        1.1   CONTRACTOR shall as requested by COMPANY provide cementing materials, engineering,
                              mixing and pumping services, hereinafter referred to as "Cementing Services" as defined
                              herein, which shall include but not be limited to:

                              1.1.1 Primary cementing of all casing strings,

                              1.1.2 Placement of cement plugs,

                              1.1.3 Placement of loss circulation material,

                              1.1.4 FIT or LOT operations remedial cementing,

                              1.1.5 Pressure testing of equipment as required,

                              1.1.6 Well control pumping services,

                              1.1.7 Contingency slurry injection for the purpose of cuttings injection wells,

                              1.1.8 Well intervention work,

                              1.1.9 Real time data transmission and analysis using COMPANY's bandwidth on the rig
                                    communication system with CONTRACTOR's software and interface equipment in
                                    combination with software and interface equipment provided by others.

                              1.1.10 CONTRACTOR's cement unit pumps shall only be used as rig pumps if requested by
                                     COMPANY in the event of a critical well condition.


                        1.2   Provide onshore engineering support to the operation, with a full and comprehensive
                              technical back up to the operation. This shall include as a minimum:

                              1.2.1 Development and update the cement Basis of Design (BOD),

                              1.2.2 Slurry and spacer design,

                              1.2.3 Job planning and design,

                              1.2.4 Engineering simulations (pressures I temperatures I placement I mechanical failure),

                              1.2.5 Operational management I supervision, and

                              1.2.6 Job evaluation and reporting.


                        1.3   Provide and maintain fully operational cementing and pumping package suitable for all
                              required cementing, pumping and pressure testing (surface and subsurface) and make
                              immediate provision of cementing bulks and additives suitably bulked, sacked, or drummed
                              necessary to provide all slurries and spacers as to COMPANY specification.




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                        1.4   Provide cement and additives suitably bulked, sacked, or drummed which are necessary for
                              all slurries and spacers.


                        1.5   Provide tools, equipment, spares, or material as agreed by COMPANY either as rental or
                              procurement item. These items shall include, but not be limited to the following:

                              1.5.1   Casing consumables (floats, plugs, darts, etc.), and

                              1.5.2 Dedicated cementing equipment (sub sea cement heads, plug launchers etc and
                                    related pipe work);

                                      The above shall be available for transport by such means as mutually agreed by
                                      COMPANY and CONTRACTOR. Where CONTRACTOR cannot supply such tools,
                                      equipment, spares or materials from its own inventory, it shall offer to COMPANY an
                                      alternative tool, equipment, spare or material;


                        1.6   Provide services for a complete range of cement and slurry testing requirements;


                        1.7   Establish a program to provide (24) twenty-four hour technical support in order to provide an
                              immediate response to problems arising during operations;


                        1.8   Provide access to COMPANY for audit of all services, equipment, materials, personnel,
                              procedures, facilities. Where action items are identified during an audit, these shall be
                              monitored using an action tracker and closed out in a timely manner;


                        1.9   Ensure the WORK is performed in accordance with COMPANY's Drilling and Well
                              Operations Policy and Engineering Technical Practices and aligned with COMPANY
                              Recommended Practices where available;


                        1.10 Propose alternate equipment and materials at the WORKSITE with the understanding that it
                             has been previously approved by COMPANY and received written acceptance to a level to
                             allow inclusion in the CONTRACT;


                        1.11 COMPANY reserves the right to request substitution of any material or service provided by
                             CONTRACTOR which COMPANY deems unacceptable. CONTRACTOR shall ensure that
                             such substituted material or service is compatible with the material and services supplied by
                             CONTRACTOR;


                        1.12 Availability at the WORKSITE of the following which shall be provided to COMPANY and
                              drilling unit contractor in respect to performance of the WORK:

                              1.12.1 All pertinent plans and recommendations;

                              1.12.2 Operating manual and laminated MSDS and product data sheets for all tools,
                                       equipment and materials;

                              1.12.3 All shipping manifests for equipment and chemicals.



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                 2.0    PERSONNEL AND ENGINEERING

                        2.1   Account Coordinator

                              2.1.1   Roles and Responsibilities

                                       CONTRACTOR shall deSignate an Account Coordinator to provide technical
                                       assurance regarding the quality of the service provided, and provide input to
                                       performance reviews as required by COMPANY. The Account Coordinator shall be
                                       required to review all programs to ensure standardization of engineering design and
                                       to ensure the best and appropriate technology is supplied. Responsibilities shall
                                       include, but not limited to:

                                       (a) Coordination of the WORK across the SPU;

                                       (b) Preparation and submission of the performance data;

                                       (c) Utilization of standardized     processes   minimizing   the   approaches   being
                                           implemented;

                                           The Account Coordinator shall be the primary point of contact for Contractual
                                           issues, and serve as a primary point for coordination of the WORK with
                                           COMPANY REPRESENTATIVE;

                                           Prior to replacement of the Account Coordinator, a management of change
                                           document shall be submitted to COMPANY REPRESENTATIVE detailing the
                                           agreed upon handover of all responsibilities and timeline;

                              2.1.2    Competencies

                                       A competency assessment for any proposed Account Coordinator or onshore
                                       engineering personnel shall be completed by CONTRACTOR as per Attachment A -
                                       Competence Assessment for Onshore Engineers.        The assessment shall be
                                       completed and approved by COMPANY, prior to performing work on COMPANY's
                                       behalf.   In the event the proposed individual does not meet the assessment
                                       requirements, CONTRACTOR shall comply with COMPANY's rectification plan.

                                       The minimum requirements for this position are as follows:

                              2.1.3    Five years office based engineering experience, including experience in a
                                       development drilling project. A minimum of 50% of this experience shall have been
                                       as a lead account engineer on a drilling project;

                              2.1.4    Six years total experience in well cementing services industry;

                              2.1.5    Educated to University standards in science or engineering or posses sufficient
                                       industry equivalency as determined by COMPANY;

                              2.1.6    Fluent in English both written and oral;

                              2.1.7    Fully competent in all offered CONTRACTOR cement software modeling packages;

                              2.1.8    Understanding of management systems used to control service quality;



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                              2.1.9    Capable of performing all reporting requirements as designated by COMPANY;

                              2.1.10 STOP or Observation system trained;

                              2.1.11   Capable of performing behavior based safety audits;


                        2.2   Onshore Engineering

                              2.2.1 Roles and Responsibilities

                                       CONTRACTOR shall provide to COMPANY an Onshore Engineer to work either in
                                       COMPANY's or CONTRACTOR's offices as required by COMPANY. This individual
                                       shall be a member of COMPANY's well planning team and:

                                       (a) Provide Safety Leadership  training   to   all   CONTRACTOR                  and
                                           SUBCONTRACTORs personnel performing work under the CONTRACT;

                                       (b) Participate in all COMPANY's safety initiatives and setting of safety targets and
                                           goals for all CONTRACTOR's and SUBCONTRACTORs personnel performing
                                           work under the CONTRACT;

                                       (c) Take full accountability for the technical quality, safety and environmental
                                           performance of all sub-contracted services managed by CONTRACTOR;

                                       (d) Ensure all CONTRACTOR or third party supplied equipment; bulks, chemicals,
                                           consumables and laboratory testing comply with agreed Quality Assurance and
                                           Quality Control standards;

                                       (e) Ensure that all produced documentation pertaining to COMPANY resides in a
                                           document control system where signatory authorities shall be described through
                                           the Responsible, Accountable, Consulted, Informed (RACI) process. Digital
                                           copies of all documentation shall be required, copies of which shall reside with
                                           COMPANY;

                                       (f)   Produce and update a BOD document for the project. The objective of this
                                             document is to record the major decisions and their process of determination.
                                             The document shall be controlled and auditable;

                                       (g) Apply risk based engineering processes to prepare the BOD, individual well
                                           programs and all associated engineering and documentation;

                                       (h) Produce cost estimates for all services supplied by CONTRACTOR for individual
                                           wells or a time related program. The estimates shall be based on P lO , P50 and a
                                           P90 durations supplied by COMPANY. All such cost estimations shall include all
                                           associated costs for the project. This shall include as a minimum, personnel,
                                           (pump) equipment utilization and consumables;

                                       (i)   Provide engineering support for all aspects of the service provided and fully
                                             competent in running all engineering software models offered to support the
                                             service, including the ability to run CONTRACTOR's cementing software from
                                             COMPANY's office;




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                                     (j)   Provide solutions where conventional cement design and procedures are not
                                           suitable, such as blend and foam cement;

                                     (k) Make recommendations on fit for purpose slurry designs to meet agreed
                                         specification;

                                     (I)   Participate in the review of the previous days drilling activities with COMPANY's
                                           onsite and offsite drilling management as required;

                                     (m) Work with other service providers such as drilling/completion fluids and
                                         directional drilling;

                                     (n) Provide technical input to the selection and operation of cementing equipment
                                         provided by CONTRACTOR;

                                     (0) Conduct a review with COMPANY and other CONTRACTOR personnel for BOD
                                         and the final program on critical wells;

                                     (p) Participate in risk assessments as required by COMPANY;

                                     (q) Participate in pre-spud and well close out meetings, including the presentation of
                                         the cement part of well program highlighting critical issues;

                                     (r) Perform rig visits on an ad-hoc basis but as a minimum once per 6 months. The
                                         purpose of the visit is to ensure that CONTRACTOR's personnel are working in a
                                         safe and workmanlike manner. An inspection system is to be developed which
                                         shall cover as a minimum chemical storage and handling, equipment
                                         maintenance, record keeping, bulk transfer procedures, quality of service
                                         provided to COMPANY and interface skills with the rig contractor;

                                     (s) Provide and maintain close out of inspection and failure J problem analysis
                                         reports as agreed by COMPANY and CONTRACTOR. CONTRACTOR shall
                                         provide full details on problems and issues in order to ensure capture of
                                         successes, lessons learned and continuous improvement;

                                     (t) Develop project I study reports as necessary upon identification of issues by
                                         COMPANY or CONTRACTOR. Such projects I studies shall have an agreed
                                         scope of work, objective, and deliverable prior to commencement. This type of
                                         work shall be part of CONTRACTOR's commitment to improve drilling
                                         performance. As mutually agreed between CONTRACTOR and COMPANY, this
                                         work will be paid for by COMPANY at the agreed hourly rate for laboratory
                                         support only when the work is considered to be outside that as described as
                                         "normal" for CONTRACT support;

                                     (u) Supervise all onshore make-up and loading of cementing and equipment as
                                         required by COMPANY (e.g., installation of plug and darts in wellhead and
                                         casing hanger running tools and cement heads);

                                     (v) Submit COMPANY PERFORMANCE SCORE CARDS within 28 days of well
                                         completion (or suspension of well if longer than 30 days);

                                     (w) CONTRACTOR's Onshore Engineer shall ensure the equipment is fit to perform
                                         the planned work;

                                     (x) Produce or ensure the following documents are prepared, approved, and issued:




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                                         Cement Program
                                         Cement program including:
                                               Specific well details which impact cementing design (depths/casing
                                               sizes/temperatures (static and circulating), hole sizes, proposed excess)
                                               Agreed Drilling and Completions SPM score card objectives as found in
                                               Attachment D - Global Drilling and Completions SPM Score Card.
                                               Slurry designs and expected properties
                                               Proposed spacers (volumes/formulations/properties)
                                               Assumed mud properties
                                               Temperature simulation results
                                               Predicted circulating densities and pressures at any potential loss zones
                                               Centralizer details (type and placement)
                                               Logistical, bulk and additive requirement
                                               Cementing hardware needed on location (cement head/water bushings
                                               etc.)
                                               Commercial breakdown of program covering:
                                                     i.       Cement and chemicals
                                                     ii.      Rental equipment
                                                     iii.     Consumables
                                                     iv.      Third party equipment being supplied
                                                     v.       Personnel charges
                                               Recommended procedures and techniques
                                               Agreed contingencies

                                         Detailed Cement Report
                                                 Actual well details
                                                 Slurry recipes
                                                 Laboratory test results on rig materials
                                                 Spacer design, volumes and recommended properties
                                                 Equipment requirements
                                                 Job execution procedures, including chemical handling bulk transfers
                                                 and surface lines pressure testing
                                                 Pumping schedule
                                                 Displacement simulation and ECD prediction
                                                 Frequency - Per cement job - 24 hours prior to execution


                                         End of Well Reports
                                                A well synopsis (summary on well drilled, highlights and lowlights)
                                                Section job reports
                                                Detailed     section    discussion    (what      was     achieved/lessons
                                                learnt/recommended changes)
                                                Discussion of any NPT or any incremental benefit
                                                Commercial Analysis/Reconciliation by section (all elements provided by
                                                CONTRACTOR shall be reported)
                                                Regional reporting requirements (e.g., legislative requirements including
                                                environmental reporting)
                                                Evaluation of cement jobs (TOC achieved, cement quality etc)
                                                Service breakdown
                                                Personnel breakdown
                                                Chemical breakdown
                                                Equipment breakdown
                                                Performance Measures
                                                Service quality during execution using a Quality Assessment



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                                                 Frequency - Per well or batch program within four weeks of completion

                                         Basis of Design
                                                Objectives - What needs to be achieved (e.g., what objective would incur
                                                cementing NPT if not achieved?)
                                                Boundaries - What are the design limits that need to be considered (e.g.,
                                                fracture gradient or local legislative requirements?)
                                                Assumptions - What engineering decision have already been made
                                                (e.g., mud weightlcasing size and setting depths?)
                                                Risks - What are key risks?
                                                Mitigations - How can the major risks be managed?
                                                Options - What cement design options exist?
                                                Selection - Based on technical! HSSE I commercial and identified risks,
                                                what are the best options forthe project?
                                                Measurement - How can we evaluate cementing operation met
                                                objectives successfully?
                                                Frequency - Per well or batch program within four weeks of completion
                                                Project f Study Updates as required


                                                 Notes:

                                                 Depending on the volume of work, these duties may be performed by the
                                                 Account Coordinator.

                                                 For new-to-CONTRACTOR engineering personnel being considered for
                                                 work at COMPANY's locations, an induction system based on
                                                 CONTRACTOR's and COMPANY's standards of performance shall be
                                                 provided to and complied with by said personnel;

                                                 Service Company personnel shall complete a (2) two year term on
                                                 COMPANY account and shall remain as a CONTRACTOR's resource to
                                                 COMPANY for purposes of internal transfer and shall not be removed
                                                 without mutual agreement by CONTRACTOR and COMPANY. Prior to
                                                 any move a management of change document shall be submitted to
                                                 COMPANY detailing the signed handover of all responsibilities and time
                                                 line for move.

                             2.2.2 Onshore Engineer Competency

                                    The minimum requirements for this position are but not limited to the following:

                                     (a) Three years office based engineering experience, including experience in a
                                         development project. A minimum of 50% of this shall have been spent as a lead
                                         account engineer on an offshore project

                                     (b) Six years total experience in cementing with at least three years working in a
                                         technically complex area with a major operator.

                                     (c) Educated to University standard in science or engineering or possess sufficient
                                         industry equivalency as determined by COMPANY.

                                     (d) Fluent in English verbal and writing

                                     (e) Be capable of performing all reporting in a highly proficient manner.




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                                       (f)   STOP or Observation system trained.

                                       (g) Be capable of performing behavior based safety audits.

                                             All proposed engineers shall be required to complete a competency assessment
                                             as per Attachment A - Competency Assessment Onshore Engineer; suitability
                                             may be further assessed via interview by COMPANY.


                        2.3   Offshore Engineering

                              2.3.1   Roles and Responsibilities

                                      CONTRACTOR shall provide dedicated cementers assigned to each rig as requested
                                      by COMPANY. Prior to the start of the WORK on any rig, the cementer shall be
                                      thoroughly inducted into operational and technical functions and processes of the rig
                                      and also the technical issues associated with the WORK on the rig. It shall be the
                                      responsibility of CONTRACTOR to provide this induction. The process should include
                                      an induction pack, the Basis of Design and Guide Book for the project plus a thorough
                                      briefing on the program of work to be carried out.

                                      During the term of CONTRACT nominated lead cementers shall serve a minimum of
                                      (18) eighteen months at an agreed location. No CONTRACTOR personnel shall be
                                      removed from WORKSITE for purposes of intemal transfer without mutual agreement
                                      by CONTRACTOR and COMPANY. Prior to any move a management of change
                                      document shall be submitted to COMPANY detailing the signed handover of all
                                      responsibilities and time line.

                                      The number of CONTRACTOR's personnel shall be dictated by operational need as
                                      required by COMPANY. The role of the offshore cementer shall include but not be
                                      limited to the following responsibilities:

                                       (a) Safety Leadership role - Rig site engineers shall be expected to take an active
                                           part in all aspects of safety on the drilling rig including STOP/Observation card
                                           system or other such campaigns, risk assessments and safety auditing. All
                                           engineers shall be STOP/Observation system trained. No engineers shall be
                                           allowed to work on COMPANY operations unless this has been completed. In
                                           addition, all Lead cementers shall attend safety training to ensure compliance
                                           with COMPANY's standard on Integrity Management. If this has not been
                                           completed prior to the Lead cementer starting to work offshore, the time frame by
                                           which this shall be completed shall be agreed at the competency assessment
                                           interview;

                                       (b) All SUBCONTRACTOR personnel shall report through the Lead cementer as
                                           their first line of reporting in addition to having a reporting line to COMPANY's
                                           representative on the drilling rig. The Lead cementer shall be accountable for
                                           the safety, technical and environmental performance of any SUBCONTRACTOR
                                           personnel working for CONTRACTOR on the drilling rig;

                                       (c) Competent operation of CONTRACTOR supplied equipment on the rig;

                                       (d) Routine/preventative maintenance of all CONTRACTORS supplied equipment;

                                       (e) Execution of all cementing programs;



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                                     (f)   Pressure testing and pumping;

                                     (g) Pre-job tests and checks of CONTRACTOR, COMPANY and Drilling Contractor
                                         supplied equipment where this applies to the cement unit and its associated
                                         systems;

                                     (h) Plan all cement jobs delivering detailed procedures in written format to
                                         COMPANY, including all cementing calculations, chemical handling, bulk transfer
                                         and specialist equipment procedures;

                                     (i)   Provide expertise for all operational cementing issues on the rig;

                                     (j)   Accurately prepare and or supervise the preparation of cement mix water and
                                           CONTRACTOR supplied spacers. All spacers shall have density and rheology
                                           confirmed prior to pumping and information recorded in job report;

                                     (k) Ensure a chloride analysis is completed on any fresh water used for cementing
                                         offshore;

                                     (I)   Supervise acquisition, handling, packaging, labeling and shipping of samples of
                                           all slurry ingredients to CONTRACTOR laboratory for testing in timely manor;

                                     (m) Be capable of performing offshore cement tests when required by COMPANY;

                                     (n) Take the following samples using "best practices";

                                           i.     Bulk cement

                                           ii.    Spacer for onsite verification

                                           iii.   Slurry and component materials pumped.

                                     (0) In the event of multi service operators, deploy down hole tools in all well types;
                                         including but not limited to:

                                           i.     Bridge plugs

                                           ii.    Cement retainers

                                           iii.   Retrievable packers

                                           iv.    Competent in all the calculations necessary for setting and testing all down
                                                  hole tools;

                                     (p) Produce service reports and pressure test charts after each service job including
                                         those of sub-contracted services as per COMPANY specification in a timely and
                                         professional manner. This shall be using CONTRACTOR's reporting system or
                                         as specified:

                                     (q) Maintain a daily job record of activities during his period on the rig;

                                     (r) Provide inventory management and daily reporting;




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                                       (s) Make regular recommendations for continuous performance improvement and
                                           reporting lessons learned, good and bad, with respect to the well program, the
                                           implementation of the program, equipment and logistics;

                                       (t) Provide economical management of costs;

                                       (u) Provide service related "Tool Box" talks to the rig crew covering services
                                           provided by CONTRACTOR;

                                       (v) Compile a rig specific historical document to capture all rig specific working
                                           practices and project lessons learned to be made available to new
                                           CONTRACTOR personnel assigned to the operation.

                              2.3.2 Offshore Cementing Competency

                                       CONTRACTOR shall supply CV and job history for proposed offshore cementing
                                       operators and where possible verification of competence by an industry or
                                       CONTRACTOR qualification.

                                       The following are the minimum requirements for an offshore cementing position:

                                       (a) Eight years cement field experience, four years of which should have on semi
                                           submersibles, a minimum of three years as a lead cementer including one year
                                           on a deep water project.;

                                       (b) Experience with low density blend slurries and nitrogen cementing; experience of
                                           pre job preparation and calculations associated with both options and mixing
                                           and pumping of them;

                                       (c) Rated within the top quartile of CONTRACTOR's cementers;

                                       (d) Trained and experienced with operating automatic Liquid Additive System if
                                           installed.


                        2.4   Other Personnel

                              CONTRACTOR personnel working offshore shall carry a documented record with them
                              detailing the following items: technical/operational training; experience; safety and
                              environmental training; and specific areas of competence (e.g., high pressure testing,
                              operating down-hole tools)

                              2.4.1   Pump Operator

                                      COMPANY shall from time to time, require on the rig, a Pump Operator with auditable
                                      competency for high pressure pumping and testing.

                              2.4.2 Ad Hoc Specialists

                                      CONTRACTOR, shall as required by COMPANY, provide technically competent and
                                      experienced specialist personnel on an ad-hoc basis. Additional personnel may
                                      include but are not limited to: additional cement operator; cementing helper; bulk
                                      operators; mechanics; down-hole tool engineer; instrument technicians; HSSE
                                      professionals; laboratory technicians; and cementing supervisor




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                 3.0    EQUIPMENT

                        3.1   Cement Mixing and Pumping Package - General

                              A cement mixing and pumping package shall available from CONTRACTOR suitable for all
                              required cementing, pumping and pressure testing (surface and subsurface) as required by
                              COMPANY.


                        3.2   Cement Mixing and Pumping Package - Specifications

                              3.2.1   Unit minimum requirements - Offshore

                                      Cementing and Pumping Package shall have all necessary certification of compliance
                                      with local environmental regulations. Free placement units shall be capable of
                                      meeting the original design specifications for pressure and mixing rate. Cement units
                                      shall have the following minimum following componentsirequirements:

                                       (a) Re-circulating mixer with minimum 6 bbl capacity

                                       (b) Data recording pressure, rate and flow (real time and a permanent copy)

                                       (c) Automatic density controlled mixing with control better than +/- 0.2 ppg

                                       (d) Martin Decker recorder

                                       (e) Pipe work valves and connections necessary for cement mixing and pressure
                                           testing

                                       (f) A contingency mixing system (e.g., jet mixer)

                                       (g) Displacement tanks shall be calibrated and a plate affixed showing true volumes
                                           including sump volume

                                       (h) Displacement tanks shall be fitted with Lightning mixers or some equivalent
                                           agitation system.

                                       (i)   All power units shall conform to the applicable zoning specifications detailed in
                                             the rig-operating manual. All such systems shall be correctly installed to
                                             applicable certification standards.

                                       (j)   Twin pump skid

                                       (k) Liquid Additive System (LAS)

                                       (I)   Minimum pressure rating 10,000psi

                                       (m) A pumping capability of: 2 bpm @ 10,000 psi; 3.6 bpm @ 4900 psi; and 18 bpm
                                           @ 1000 psi

                                       (n) Mixing performance of: 12 bpm @ 11 ppg; 6 bpm @ 16 ppg; and 2 bpm @22
                                           ppg

                                       (0) Low pressure gauge (O-500psi)




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                                     (p) Solid fraction analyzer when slurries <12.6 ppg are to be used

                                     Notes:

                                     All recording devices on the cement unit or associated cementing equipment e.g.,
                                     Martin-Decker units, flow meters, gauges, densitometers etc. shall be maintained
                                     and calibrated according to manufacturers recommendations. Documentation of
                                     calibration shall be submitted to COMPANY on request.

                                     Where a Liquid Additive System (LAS) is provided, it shall be fully calibrated and the
                                     calibration record retained at the Rig fixed to the unit. The LAS shall have the
                                     capability to meter at least (4) four additives into either displacement tank through
                                     dedicated pipe work. There should be the ability to agitate the additives in the
                                     storage tanks and allow heating if necessary in cold weather. The LAS shall be
                                     configured to prevent overfilling of any dump tank or to ensure any spillage is
                                     contained. Dump tanks shall not allow filling and emptying to occur at the same time.
                                     Where an automated LAS has been installed prior to each job CONTRACTOR shall
                                     supply evidence that LAS system has been programmed and shall accurately add
                                     the recommended additive concentrations within +/- 5% of the required rate irrelevant
                                     of mixing rate.

                                     Where the cement unit is a Free Placement item, CONTRACTOR shall assume all
                                     cost for installation and removal of the unit.

                                     Density calibration of any automatic density mixing and recording system shall occur
                                     prior to every job with water and a heavier fluid than the antiCipated slurry weight.

                                     Where lightweight blend slurries are pumped with a density of <12.6ppg an
                                     alternative method of controlling density based on solids shall be available.

                             3.2.2   CONTRACTOR shall have written maintenance procedures and schedules for all
                                     cement units and associated equipment used in provision of the WORK. These
                                     procedures and schedules should be based on recommendations of equipment
                                     manufacturers. Records of maintenance kept up to date shall be available for
                                     inspection by COMPANY.

                             3.2.3   CONTRACTOR shall ensure that adequate spare parts, required for the cementing
                                     equipment, are held at the rig.

                             3.2.4   Where a batch mixer is supplied a minimum of 100 bbl of pump able slurry is
                                     required having two (2) separate compartments with paddles and are-circulating
                                     pump. Mixing directly into either side of the batch tank should be possible. It should
                                     be possible to mix from big bags into the batch tank through a mixing system.

                             3.2.5   Where a surge canister is provided as part of the cementing package, it shall be
                                     fitted with a weight indicator and shall be fully compatible with existing rig bulk
                                     system.

                             3.2.6   Where bulk tanks are also provided they shall be capable of supplying cement in an
                                     uninterrupted flow to the surge tank and shall not adversely affect the cement
                                     properties through aeration.

                             3.2.7   CONTRACTOR and rig contractor shall jOintly develop low risk plans for the transfer
                                     of base oil, glycol and diesel fuel to the unit for pumping downhole.



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                              3.2.8   CONTRACTOR shall review pressure testing and pumping procedures to ensure
                                      alignment with COMPANY and owner installation policies.

                              3.2.9 Unit shall be equipped with suitable pressure relief valves.


                 4.0    CEMENT AND ADDITIVES

                        Cementing bulks and additives may be supplied by CONTRACTOR suitably containerized, sacked,
                        or in tote tanks necessary to provide all slurries and spacers as to COMPANY specification.

                        4.1   Bulk Cement and Blends

                              CONTRACTOR shall supply bulk cement and prepare proprietary blends. The cement and
                              blending processes are expected to meet the following minimum standards:

                              4.1.1   Air supply shall produce oil free air and air intakes shall be positioned to prevent
                                      damage to the cement due to draw in of CO2 . The dry bulk facilities shall have a dust
                                      collection system;

                              4.1.2   Air dyers shall be used for all air on the plant; these must be appropriate for the
                                      volume of air being used and have maintenance records available to confirm efficient
                                      operation;

                              4.1.3   Blending tanks should be appropriately sized for the amount of blend to be prepared
                                      with a suitably sized weight indicator accurate to +/- 2.5% of the smallest component
                                      of the blend to be added to the blender;

                              4.1.4   Permanent bulk silos shall have weight indicators with scales; these shall be suitable
                                      for size of the tanks on which they are installed. These shall be calibrated as a
                                      minimum on an annual basis and evidence of calibration shall be available on
                                      request of COMPANY;

                              4.1.5   CONTRACTOR shall provide an automatic in-line sampling device (or approved Y
                                      sampler) for use while transferring cement and blends. Samples of all cements
                                      taken shall be held for a minimum of 28 days prior to disposal. Samples should be
                                      sent to the laboratory in a sample kit to the same standard as referred to in Clause
                                      5.2 of this Part A. Cementing Services of Appendix 5;

                              4.1.6   When providing blended product containing silica flour, not more than twelve percent
                                      (12%) by weight of silica shall be retained on 200 mesh. Approval for other blended
                                      products shall be required with COMPANY;

                              4.1.7   Blending procedures for proprietary lightweight blends must be agreed to by
                                      COMPANY. These blends shall meet the specifications outlined in Attachment B -
                                      Lightweight Proprietary Blends;

                              4.1.8   The bulk cement selected shall take into account service and service quality e.g.,
                                      degradation due to high sulfate groundwater, strength retrogression due to exposure
                                      to high temperature during production, minimal batch to batch variability to ensure
                                      reliable performance, materials supplied as meeting an API/ISO Specification shall
                                      have all manufacturer supplied batches checked according to the appropriate
                                      API/ISO SpeCification, and a retarder response test is to be agreed to by COMPANY
                                      and used as an additional QAlQC check on bulk supplied.




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                              4.1.9    No additions shall be made to bulk cements supplied apart from the additive required
                                       to meet the agreed slurry specification without prior approval of COMPANY,

                              4.1.10 CONTRACTOR shall have a suitable facility to accept returned unused cement; the
                                     acceptability of this repository for re-supply shall be determined by COMPANY, if a
                                     cement is supplied out of specification by CONTRACTOR this shall be returned for
                                     full credit, and

                              4.1.11   CONTRACTOR shall confirm the acceptability and cleanliness of the bulk tanks and
                                       verify volumes prior to transferring to and from marine vessel, drilling rig, and cement
                                       unit. CONTRACTOR shall ensure that a comprehensive updated procedure for the
                                       transfer of bulks is available at the relevant transfer points.

                              4.1.12 Bulk facilities shall be located quay side to allow direct transfer to the supply vessel.
                                     The air compressor shall be of sufficient capacity to fully discharge the silos to within
                                     5 percent of the nominal capacity. The compressor shall be capable of achieving
                                     discharge to the boat in a reasonable time (minimum acceptable rate 60 Ton/hour).


                        4.2   Additives and Chemicals

                              For offshore locations COMPANY's preferred approach will be using liquid additives
                              wherever possible. Dry blends for offshore locations shall only be accepted where no
                              equivalent liquid additive is available.

                              4.2.1    COMPANY reserves the right to specify any supplementary third party products in
                                       conjunction with the products supplied by CONTRACTOR. These products shall be
                                       those for which COMPANY deems CONTRACTOR does not have a suitable
                                       alternative. CONTRACTOR shall check that those products are compatible with
                                       CONTRACTOR's products by testing prior to their use.

                              4.2.2    All additives supplied under the CONTRACT shall comply with all local regulation
                                       and in any case, shall have been environmentally tested and found to be acceptable
                                       under the USA Chemical control system.

                              4.2.3    CONTRACTOR is to have in place a QA system for chemicals supplied to
                                       COMPANY. All supplied chemicals are to have a QA performance test prior to
                                       shipment to WORKSITE.

                              4.2.4    For additives loaded on the rig in bulk, a QA/QC check shall be performed upon
                                       return onshore to determine acceptability for restocking or for load out to next
                                       COMPANY location.

                              4.2.5 All supplied chemicals shall have traceability and batch coding.


                 5.0    FACILITIES, LOGISTICS, LABORATORY, AND TESTING

                        5.1   Onshore Base, Materials, and Logistics

                              5.1.1    CONTRACTOR shall provide an onshore warehousing and service support facility as
                                       mutually agreed by COMPANY and CONTRACTOR. The services to be provided by
                                       CONTRACTOR shall include but shall not be limited to the storage, handling, and
                                       preparation and restocking of equipment, chemicals, blends, bulks, and fluids.




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                              5.1.2    CONTRACTOR shall be responsible for ensuring that competent CONTRACTOR
                                       supervision is present when shipping or taking receipt of COMPANY materials and
                                       equipment at CONTRACTOR premises. CONTRACTOR shall ensure that said
                                       Supervision is available to suit operational requirements and shall be available seven
                                       (1) days a week, twenty-four (24) hours a day.            COMPANY will not accept
                                       responsibility for supervising loading or off loading operations within the confines of
                                       CONTRACTOR premises. COMPANY shall retain the right to refuse to accept or
                                       return CONTRACTOR equipment when supervision is not provided. CONTRACTOR
                                       equipment shall be returned to COMPANY premises and shall be the responsibility
                                       for CONTRACTOR to arrange collection at CONTRACTOR cost. COMPANY shall
                                       reserve the right to incur no additional rental costs when CONTRACTOR equipment
                                       is returned to COMPANY premises due to no supervision.

                              5.1.3    CONTRACTOR shall be responsible for providing to COMPANY prior to shipment,
                                       listings I manifests quoting volumes, descriptions, serial I identification numbers on
                                       all equipment and material delivered to COMPANY's nominated supply base or
                                       heliport.

                              5.1.4    CONTRACTOR shall ensure that it has made appropriate provIsion for back-up
                                       materials, equipment, spare parts, and tools to ensure the WORK is not disrupted
                                       due to equipment failures or other problems associated with CONTRACTOR's
                                       processes.

                              5.1.5    CONTRACTOR shall continuously examine all steps of the supply chain to identify
                                       methods to reduce costs relating to logistics, transportation, handling, storage,
                                       inspection, and repair.

                              5.1.6    HSSE and competence audits shall be performed at CONTRACTORS facilities
                                       described above at least once per year during the course of the CONTRACT term,
                                       the findings made available to COMPANY. These audits should be performed by
                                       CONTRACTOR's competent personnel preferably from outside the region.

                              5.1.7    CONTRACTOR shall ensure that all equipment and materials are pre-slung, banded,
                                       packaged or containerized and protected, where necessary, ready for transportation
                                       and shipment by open deck supply boat or by air in accordance with the current
                                       shipping and or COMPANY requirements.

                              5.1.8    This Clause intentionally left blank.

                              5.1.9    CONTRACTOR shall ensure that all equipment and material deliveries identify the
                                       CONTRACT, Purchase Order or Call-Off reference numbers as applicable on 100%
                                       of packing lists and on material and equipment where practical.

                              5.1.10 CONTRACTOR shall provide Materials Safety Data Sheet (MSDS) for all applicable
                                     materials offered for shipment to the WORKSITE. Laminated copies shall be
                                     provided for use at the WORKSITE. CONTRACTOR shall ensure that a hard copy of
                                     the MSDS accompanies shipments to WORKSITE. CONTRACTOR shall ensure the
                                     MSDS is provided to COMPANY.

                              5.1.11   MSDS must be retained by CONTRACTOR on location for all offshore WORK.


                        5.2   Cement and Spacer Sampling and Testing




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                              The final results supplied to COMPANY prior to each job shall be available to COMPANY
                              more than 24 hours before pumping cement and tests shall be completed using actual rig
                              samples and not load out samples unless previously agreed with COMPANY.
                              CONTRACTOR shall be responsible for the following:

                              5.2.1    For all cementing operations CONTRACTOR shall take, and protect from
                                       deterioration, representative field samples of cement, additives and mix water for
                                       confinmation testing. Correct packaging and dispatch of samples, in good time for
                                       testing is required. CONTRACTOR shall provide kit for the purpose of sampling and
                                       the transporting of samples of cement, mud, water, and additives for testing (relevant
                                       sections of the API Specification 10 stress the importance of correct sampling and
                                       protection of samples in transit and are a minimum requirement). CONTRACTOR
                                       shall ensure that sufficient samples and sample kits are available at all times to allow
                                       timely slurry design recommendations. Sample kits shall have airtight bottles
                                       specifically manufactured for transportation and protection of chemical samples.
                                       Cement shall be sent in air and moisture tight plastic bags in a container, which
                                       prevents damage to the bag containing the cement. Water samples shall be
                                       transported in bottles which have not been used for anything other than transport I
                                       storage of water. All samples for transportation by air must comply with FFA
                                       requirements, all regulatory requirements, and COMPANY regulations.

                              5.2.2    Bulk samples shall be taken at all relevant pOints by CONTRACTOR when
                                       transferring bulks to ensure quality is maintained during transport from
                                       CONTRACTOR base to the WORKSITE.

                              5.2.3    During job execution, representative samples of mix water; additives and dry cement
                                       shall be taken. These samples shall be retained until it is confirmed that all the
                                       objectives of the cementing operation have been achieved. Failure to provide these
                                       samples in the event of a post cementing investigation will prevent the root cause of
                                       the problems to be determined and inappropriate NPT allocation.

                              5.2.4    Where CONTRACTOR has supplied the cement spacer materials, CONTRACTOR is
                                       responsible for verifying that spacer systems are correctly made up and tested prior
                                       to pumping. The density determined using a pressurized mud balance and the 6-
                                       speed rheology of the spacer shall be reported either on COMPANY's and
                                       CONTRACTOR's Cement Report or the database on the rig.


                        5.3   Laboratory Testing and Reporting

                              5.3.1   CONTRACTOR shall have facility to perform the following tests in accordance with the
                                      latest APIIISO Specifications (as found in Appendix 6 - Functional and Technical
                                      Specifications, 2. The Minimum Testing for Cementing Operations) or COMPANY
                                      specific procedures.

                                      Ultrasonic Cement Analyzers are permitted; however, cube strengths shall be reported
                                      when requested by COMPANY. Any deviations from API procedure are to be
                                      discussed and agreed to by COMPANY

                                      Equipment shall be available to enable testing of slurries up to 500 0 F and 40,000 psi

                              5.3.2 Additional equipment shall be available to:

                                       (a) Measure densities of liquid        additives   and   to   determine   chloride   ion
                                           concentrations in mix waters;



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                                      (b) Measure the density of all cement blends to confirm blend constituents,

                                      (c) Determine the content of extender in a light weight pre-blend,


                                      (d) Complete COMPANY's settlement test (details available as requested by
                                          Company,

                                      (e) Assess cement mechanical properties undertri-axial conditions


                              5.3.3   From time to time there may be a requirement to supply equipment for testing of
                                      cement slurries offshore which will be detailed in a WORK ORDER. Sufficient
                                      laboratory equipment should be available to provide this offshore testing capability
                                      without impacting onshore service. The following testing (as per API/ISO procedures
                                      unless agreed differently) may be required at the rig site.

                                      (a) Rheology

                                      (b) Free Water

                                      (c) Fluid Loss

                                      Tests for Thickening Time and tests for Compressive Strength will be completed in
                                      onshore laboratory facilities.

                              5.3.4   Bottom Hole Circulating Temperatures (BHCT) shall be determined from the best
                                      estimate of Bottom Hole Static Temperature available. For Deep Water, High
                                      Pressure High Temperature wells and where well measured depth> twice the true
                                      vertical depth the BHCT shall be determined using a temperature simulation using a
                                      COMPANY approved model. Bottom hole static temperature will be determined
                                      based on existing business unit data or using seabed temperature and a linear
                                      gradient to depth of interest using reservoir temperature as reference.       After
                                      simulation the cement test temperatures will be agreed to by COMPANY. Test
                                      pressures should also reflect actual bottom-hole pressures and not those in API
                                      Schedules. For other wells API BHCT equations are acceptable.

                              5.3.5   A full set of calibration records for all laboratory testing equipment and procedures
                                      are to be kept and made available to COMPANY as required.


                 6.0    JOB EXECUTION, EVALUATION, AND PERFORMANCE

                        6.1   Job Execution

                              6.1.1   CONTRACTOR shall update the proposal in the program prior to execution, taking
                                      into account as a minimum:

                                      (a) Deviations in expected casing points

                                      (b) New temperature data

                                      (c) Hole condition




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